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                      Exhibit 30
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 1                  IN THE UNITED STATES DISTRICT COURT
 2              FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
 3                         CHARLESTON DIVISION
 4
 5    _____________________________
                                   )
 6    B.P.J. by her next friend and)
      mother, HEATHER JACKSON,     )
 7                                 )
                Plaintiff,         )
 8                                 )                 No. 2:21-cv-00316
         vs.                       )
 9                                 )
      WEST VIRGINIA STATE BOARD OF )
10    EDUCATION, HARRISON COUNTY   )
      BOARD OF EDUCATION, WEST     )
11    VIRGINIA SECONDARY SCHOOL    )
      ACTIVITIES COMMISSION, W.    )
12    CLAYTON BURCH in his official)
      capacity as State            )
13    Superintendent, DORA STUTLER,)
      in her official capacity as )
14    Harrison County              )
      Superintendent, and THE STATE)
15    OF WEST VIRGINIA,            )
                                   )
16              Defendants.        )
                                   )
17            And                  )
                                   )
18    LAINEY ARMISTEAD,            )
                                   )
19            Defendant-Intervenor.)
      _____________________________)
20
                        REMOTE VIDEOTAPED DEPOSITION OF
21                           GREGORY BROWN, Ph.D.
                            Friday, March 25, 2022
22                                 Volume I
23    Reported by:
      ALEXIS KAGAY
24    CSR No. 13795
      Job No. 5122856
25    PAGES 1 - 282

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1                 IN THE UNITED STATES DISTRICT COURT
2       FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA CHARLESTON
3                              DIVISION
4
5     _____________________________
      B.P.J. by her next friend and)
6     mother, HEATHER JACKSON,      )
                                    )
7                Plaintiff,         )
                                    )
8        vs.                        ) No. 2:21-cv-00316
                                    )
9     WEST VIRGINIA STATE BOARD OF )
      EDUCATION, HARRISON COUNTY    )
10    BOARD OF EDUCATION, WEST      )
      VIRGINIA SECONDARY SCHOOL     )
11    ACTIVITIES COMMISSION, W.     )
      CLAYTON BURCH in his official)
12    capacity as State             )
      Superintendent, DORA STUTLER,)
13    in her official capacity as )
      Harrison County               )
14    Superintendent, and THE STATE)
      OF WEST VIRGINIA,             )
15                                  )
                 Defendants.        )
16                                  )
              And                   )
17                                  )
      LAINEY ARMISTEAD,             )
18                                  )
              Defendant-Intervenor.)
19    _____________________________)
20             Videotaped deposition of GREGORY BROWN, Ph.D.,
21    Volume I, taken on behalf of Plaintiff, with all
22    participants appearing remotely, beginning at 7:02 a.m.
23    and ending at 4:03 p.m. on Friday, March 25, 2022,
24    before ALEXIS KAGAY, Certified Shorthand Reporter
25    No. 13795.

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1     APPEARANCES (via Zoom Videoconference):
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1     APPEARANCES (Continued):
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1     APPEARANCES (Continued):
2
3     For The Plaintiff, B.P.J.:
4          COOLEY
5          BY:     ANDREW BARR
6          BY:     ELIZABETH REINHARDT
7          BY:     KATELYN KANG
8          BY:     ZOE HOLSTROM
9          BY:     KATHLEEN HARTNETT
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1     APPEARANCES (Continued):
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3     For Plaintiff:
4          LAMBDA LEGAL
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6          BY:     AVATARA SMITH
7          BY:     CARL CHARLES
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1     APPEARANCES (Continued):
2
3     For defendants Harrison County Board of Education and
4     Superintendent Dora Stutler:
5         STEPTOE & JOHNSON PLLC
6         BY:    JEFFREY M. CROPP
7         Attorney at Law
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12
13
14    For West Virginia Board of Education and Superintendent
15    Burch, Heather Hutchens as general counsel for the
16    State Department of Education:
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18        BY:    MICHAEL TAYLOR
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21        Suite 600
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25

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1     Also Present:
2          LINDSAY DUPHILY - VERITEXT CONCIERGE
3
4     Videographer:
5          KIMBERLEE DECKER
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 1                      Friday, March 25, 2022

 2                              7:02 a.m.

 3

 4               THE VIDEOGRAPHER:   Good morning.     We are on

 5     the record at 9:02 a.m. on March 25th of 2022.         All      07:02:02

 6     participants are attending remotely.

 7               Audio and video recording will continue to

 8     take place unless all parties agree to go off the

 9     record.

10               This is media unit 1 of the recorded                  07:02:20

11     deposition of Gregory A. Brown, Ph.D., taken by counsel

12     for the plaintiff, in the matter of B.P.J., by her next

13     friend and mother, Heather Jackson, versus

14     West Virginia State Board of Education, et al., filed

15     in the United States District Court, for the Southern           07:02:36

16     District of West Virginia, Charleston Division, Case

17     Number 2:21-cv-00316.

18               My name is Kimberlee Decker from Veritext

19     Legal Solution (sic), and I am the videographer.         The

20     court reporter is Alexis Kagay.      I am not related to        07:02:57

21     any party in this action, nor am I financially

22     interested in the outcome.

23               Counsel and all present will now state their

24     appearances and affiliations for the record.         If there

25     are any objections to proceeding, please state them at          07:03:10

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 1     the time of your appearance, beginning with the

 2     noticing attorney.

 3              MR. BLOCK:     Good morning.     My name is

 4     Josh Block from the ACLU.     My pronouns are he/him.        And

 5     I am here on behalf of the plaintiff, B.P.J.                       07:03:26

 6              And I'll let my co-counsel introduce

 7     themselves.

 8              MS. HARTNETT:     Good morning.     This is

 9     Kathleen Hartnett from Cooley for plaintiff.

10              MR. BARR:    Good morning.     Andrew Barr from           07:03:38

11     Cooley, also for plaintiff.

12              MS. KANG:    Good morning.     Katelyn Kang from

13     Cooley, also for plaintiff.

14              MS. REINHARDT:     Good morning.     Elizabeth

15     Reinhardt with Cooley for plaintiff.                               07:03:52

16              MS. HELSTROM:     Hello.    This is Zoe Helstrom

17     with Cooley, also for plaintiff.

18              COUNSEL SWAMINATHAN:       Good morning.      This is

19     Sruti Swaminathan from Lambda Legal on behalf of

20     plaintiff.                                                         07:04:04

21              MR. CHARLES:     Good morning.     Carl Charles,

22     he/him, with Lambda Legal for plaintiff.

23              MS. SMITH-CARRINGTON:       Good morning.      Avatara

24     Smith-Carrington from Lambda Legal on behalf of

25     plaintiff.                                                         07:04:18

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 1                MR. FRAMPTON:     I -- I think that's everyone

 2     for plaintiff, but if not, correct me.

 3                This is Hal Frampton with Alliance Defending

 4     Freedom for the intervenor.

 5                MS. CSUTOROS:     This is Rachel Csutoros from     07:04:29

 6     Alliance Defending Freedom for the intervenor.

 7                MR. TRYON:    This is David Tryon with

 8     West Virginia state attorney general's office on behalf

 9     of the State of West Virginia.

10                MR. CROPP:    This is Jeffrey Cropp on behalf of   07:04:45

11     defendants Harrison County Board of Education and

12     Superintendent Dora Stutler.

13                MS. GREEN:    This is Roberta Green, Shuman

14     McCuskey Slicer, here on behalf of WVSSAC.

15                MR. TAYLOR:     This is Michael Taylor, law firm   07:05:04

16     of Bailey & Wyant, on behalf of the West Virginia State

17     Board of Education and W. Clayton Burch,

18     superintendent.

19                THE VIDEOGRAPHER:     Thank you.

20                Will the court reporter please swear in the

21     witness.

22

23                         GREGORY BROWN, Ph.D.,

24     having been administered an oath, was examined and

25     testified as follows:

                                                                      Page 15

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 1

 2                                   EXAMINATION

 3     BY MR. BLOCK:

 4          Q      Good morning, Dr. Brown.          How are you today?

 5          A      I'm doing fine.        Thank you.                      07:05:38

 6                 How are you today, Mr. Block?

 7          Q      I'm good.    I'm good.

 8                 This is our second time seeing each other

 9     virtually for a deposition, isn't it?

10          A      It is.   It is.                                        07:05:48

11          Q      Well, could you state your name for the

12     record, please.

13          A      My name is Gregory Allen Brown.

14          Q      And have you had your deposition taken before?

15          A      Yes, I have.                                           07:06:04

16                 MR. FRAMPTON:      Josh, real -- real quick, just

17     before we get too far, I just want to memorialize for

18     the record, are we proceeding under the same agreement

19     that all objections except to form and scope are

20     reserved?                                                          07:06:16

21                 MR. BLOCK:     Yes.     And -- and I'd like to

22     actually also propose that, of course, any party is

23     free to object on their own, but it is also not

24     necessary for multiple parties to object to the same

25     question that -- an objection from one defendant or                07:06:33

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 1     intervenor will preserve the objections for everyone

 2     else as well.

 3              Is that also acceptable?

 4              MR. FRAMPTON:     That -- that's acceptable to

 5     the intervenor.                                                   07:06:51

 6              MR. TRYON:     This is David Tryon.      That is

 7     acceptable to the State.

 8              MS. GREEN:     This is Roberta Green.         That's

 9     acceptable to WVSSAC.

10              MR. CROPP:     This is Jeffrey Cropp.         That's     07:07:03

11     acceptable to the Harrison County Board of Education

12     and Dora Stutler.

13              MR. TAYLOR:     This is Michael Taylor.         That's

14     acceptable for the State Board of Education and

15     Superintendent Burch.                                             07:07:14

16              MR. BLOCK:     Excellent.

17     BY MR. BLOCK:

18          Q   So other than your deposition with me, have

19     you had any other depositions taken?

20          A   No, I have not.                                          07:07:27

21          Q   All right.     Great.

22              So I'll just review with you some ground rules

23     again, which you're -- you're probably familiar with,

24     and I have three of them.

25              You know, the first is that -- actually, it's            07:07:35

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 1     less applicable for a video deposition, but it's

 2     important that all of your responses be verbal instead

 3     of head nods so that we can have a -- a transcript of

 4     your responses.

 5              Does that sound good to you?                            07:07:53

 6          A   Yes.     Thank you.

 7          Q   Sure.     The second is that we need to make sure

 8     not to speak over each other.         So if you could wait for

 9     me to complete my question before answering and I'll

10     wait for you to complete your answer before I ask                07:08:06

11     another question.

12              Does that sound fair?

13          A   I'll do my best.

14          Q   So will I.

15              And the third is that, you know, as always,             07:08:16

16     it's my job to ask questions that you understand.         So

17     if there's anything about my question you don't

18     understand, I'm going to rely on you to explain to me

19     that you don't understand it, and I will do my best to

20     rephrase it.     But if you answer the question, I'm going       07:08:32

21     to assume that meant that you understood what I was

22     saying, okay?

23          A   Sounds fair.

24          Q   Terrific.

25              All right.     How did you prepare for the              07:08:44

                                                                         Page 18

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 1     deposition today?

 2          A   Reviewed what I had written for my

 3     declaration, the expert report.       I had a good

 4     breakfast, got a good night's sleep.        I have met with

 5     attorneys for Alliance Defending Freedom and                  07:09:03

 6     David Tryon to brief me on, you know, what happens in a

 7     deposition, what I should expect.

 8              MR. FRAMPTON:     I'm going to instruct the

 9     witness, you don't -- anything that we discussed is

10     privileged.     So you can certainly tell him that you met    07:09:16

11     with us, but the substance of that discussion should

12     not be told.

13              THE WITNESS:     Okay.

14     BY MR. BLOCK:

15          Q   Did -- in preparation for the deposition, did        07:09:25

16     you review anything that was not cited in your report?

17          A   Yes.     Like previous exercise physiology

18     textbooks, lots of other things that probably weren't

19     cited in there, just in the course of general

20     knowledge.                                                    07:09:47

21          Q   And -- and you -- you've reviewed those to

22     refresh your understanding of them in preparation for

23     today's deposition?

24          A   Yes.     And also in preparation for teaching my

25     classes and those types of things.                            07:10:00

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 1          Q   Did you conduct any additional research to

 2     prepare for today's deposition?

 3          A   Can you explain what you mean by "research"?

 4          Q   Well, I guess, did you look for new articles

 5     in the field or anything like that in preparation for       07:10:17

 6     the deposition?

 7          A   Yes.     In preparation for the deposition, I

 8     have looked to see if there have been any relevant new

 9     publications, and I haven't come up with any that I

10     haven't cited in the deposition.                            07:10:33

11          Q   Great.     Have you been retained as an expert

12     witness before?

13          A   Yes.

14          Q   I want to get a complete list of all of the

15     times you've been retained as an expert witness.            07:10:46

16              So could you tell me, to the best of your

17     recollection, the first time you were retained as an

18     expert witness?

19          A   That would be for the case of Soule versus the

20     Connecticut Interscholastic Athletic Association (sic).     07:11:05

21          Q   And who retained you for that case?

22          A   Alliance Defending Freedom.

23          Q   Great.     What is the next case in which you

24     were retained as an expert witness?

25          A   The next case is Hecox versus Little in the        07:11:17

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 1     state of Idaho.

 2          Q   And who retained you as an expert witness in

 3     that case?

 4          A   That was the Idaho attorney general's office.

 5          Q   And what's the next case where you were            07:11:31

 6     retained as an expert witness?

 7          A   The next case is in Florida, and I apologize,

 8     I cannot remember the names and initials on that versus

 9     State of Florida.

10          Q   And what's the general subject of that             07:11:42

11     litigation?

12          A   Similar to this one, State of Idaho, as

13     regarding a state law on women's participation in

14     women's sports.

15          Q   A Florida state law?                               07:11:57

16          A   Yes.

17          Q   And who retained you in that case?

18          A   Andy Bardos, if I remember correctly on his

19     last name.    I apologize if I don't get the

20     pronunciation correctly.    And that is -- they're          07:12:16

21     working for the State of Florida.

22          Q   Is there any other case in which you've been

23     retained as an expert witness?

24          A   I have agreed to serve as an expert witness in

25     the state of Arkansas if there is a case that were to       07:12:35

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 1     come forth there.

 2          Q   Related to sports?

 3          A   Yes.    Yeah, same topic.

 4          Q   But not as an expert in any other litigation

 5     in Arkansas about other types of legislation; right?         07:12:47

 6          A   That's correct.

 7          Q   Is there any other case in which you've been

 8     retrained as an expert witness?

 9          A   Just want to verify that I said them.        So

10     Soule versus CIAC, Idaho, Florida, Arkansas and then         07:13:05

11     the current case.

12          Q   Okay.    How about in Tennessee, are you an

13     expert witness in Tennessee?

14          A   No.

15          Q   Have you been retained as a nontestifying           07:13:27

16     expert witness in connection with any litigation?

17          A   No.

18          Q   Okay.    All right.   So I'm going to just review

19     with you some previous expert reports you filed.

20              Actually, before I do that, have you filed an       07:13:43

21     expert report yet in the Florida litigation?

22          A   No.

23          Q   Okay.    All right.   So -- so this is going to

24     be the moment of truth.    I'm going to attempt to move a

25     document into Exhibit Share, and we'll see -- we'll see      07:13:57

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 1     how that -- that works.     All right.

 2              All right.     Let's see.

 3              Actually, first, I'm going to try to get

 4     your -- your current expert report into here.           Just

 5     give me half a second.                                              07:14:26

 6          A   Take your time.

 7          Q   Yeah, no, I might need to take my time.

 8              All right.     No, here's the one in your case.

 9              All right.     Moving it into our "Marked

10     Exhibits" folder.     And in a moment, like when you                07:14:40

11     refresh, you should hopefully see a document.

12          A   So is the document 2022.02.23 Brown Expert

13     Report PDF?

14          Q   Yes.   And -- and just --

15              MR. BLOCK:     Lindsay, does that automatically            07:15:09

16     get marked as a -- a sequential exhibit number?

17              MS. DUPHILY:     It -- I -- I'll fix it.        And

18     I'll show you -- you need to mark it as a -- introduce

19     it as an exhibit.     You just moved it.

20              MR. BLOCK:     I just moved it.     Okay.     So sorry.    07:15:22

21     How -- how do we --

22              MS. DUPHILY:     I can -- I can correct it.           Go

23     ahead and continue, and I will correct it.

24              MR. BLOCK:     Okay.   And -- thanks.

25              Will you be able to do that for the subsequent             07:15:28

                                                                            Page 23

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 1     ones, too?

 2                  And sorry for my incompetence.

 3                  MS. DUPHILY:     Why don't I just -- I will input

 4     the next ones and then show you on the break how to do

 5     it.                                                              07:15:39

 6                  (Exhibit 64 was marked for identification

 7               by the court reporter and is attached hereto.)

 8                  MR. BLOCK:     Terrific.   Thank you so much.

 9     BY MR. BLOCK:

10           Q      All right.     Do you recognize this document?      07:15:41

11           A      Yes, I do.

12           Q      What is it?

13           A      It is my expert declaration for the case of

14     B.P.J. versus West Virginia.

15           Q      And when is it -- when is it dated?                 07:16:01

16           A      It states:     "Executed on February 23, 2022."

17           Q      And that's your signature next to it?

18           A      Yes, that is.

19           Q      Okay.    So now I'm just going to take you

20     through some previous reports that you filed.                    09:16:18

21                  So if you hit refresh, you should see another

22     document titled "Brown PI decl."

23           A      Yes.

24           Q      Great.    Do you recognize that document?

25           A      Yes, I do.                                          09:17:01

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 1          Q      What is it?

 2          A      That is my expert declaration in the case of

 3     Soule versus Connecticut Association of Schools.

 4          Q      Great.   And when is that dated?

 5          A      Dated February 12th, 2020.                        09:17:22

 6          Q      Terrific.     Let me take a look at that.

 7                 All right.     Let me show you another one, I'm

 8     sorry.

 9                 MS. DUPHILY:     Maybe -- maybe we should

10     quickly, it's up to you --                                    09:17:40

11                 MR. BLOCK:     Yeah, let's do a little bit --

12     let's go off the record, and you can give me a

13     tutorial, and then we can be -- save time.

14                 THE VIDEOGRAPHER:     We are off the record at

15     9:18 a.m.                                                     09:17:49

16                 (Recess.)

17                 THE VIDEOGRAPHER:     We are on the record at

18     9:21 a.m.

19     BY MR. BLOCK:

20          Q      All right.     Dr. Brown, during our break, we    09:21:05

21     sort of recorrected and marked the exhibits we

22     previously looked at.

23                 Could you, just for the record, look at the

24     document marked Exhibit 64, please.

25          A      All right.     Exhibit 064.                       09:21:26

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 1          Q      And what is that exhibit?

 2          A      That is my expert declaration for B.P.J.

 3     versus West Virginia.

 4                 (Exhibit 65 was marked for identification

 5              by the court reporter and is attached hereto.)            09:21:35

 6     BY MR. BLOCK:

 7          Q      Terrific.    And -- now, can you look at the

 8     document marked Exhibit 65, please.

 9          A      All right.    065.

10          Q      And what is that --                                    09:21:52

11          A      Yes --

12          Q      What -- what -- what is that document?

13          A      That is my declaration in the case of

14     Soule versus Connecticut Association of Schools.

15                 MR. BLOCK:    Great.     All right.      And now I'm   09:22:10

16     going to give you another document to look at in a

17     minute.     In your folder should be appearing a document

18     marked Exhibit 66.

19                 (Exhibit 66 was marked for identification

20              by the court reporter and is attached hereto.)            09:22:16

21     BY MR. BLOCK:

22          Q      Could you let me know when you see that

23     document?

24          A      Exhibit 066 - WV AG?

25          Q      Yes.                                                   09:22:29

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 1          A      And on the first page of that, it's got, in

 2     large bold capital letters, "Exhibit B"?

 3          Q      Uh-huh.

 4          A      Okay.

 5          Q      Could you go to the second page?                   09:22:46

 6          A      Yes.

 7          Q      All right.    And could -- do you recognize this

 8     document?

 9          A      Yes, I do.

10          Q      And what is it?                                    09:22:50

11          A      That is my expert declaration for the case of

12     Hecox versus Little.

13          Q      Terrific.    And if you scroll down to -- to

14     near the end, which I -- if we can find the date on

15     which that one was executed.         It should be on page 69   09:23:05

16     of the PDF.

17                 Are you -- do you see it?

18          A      I'm still scrolling.

19          Q      All right.    You can also type in "69" in

20     the -- the -- the top box, if that make it easier too.         09:23:33

21          A      Sorry.    Sorry, I tried to type in "69," and I

22     accidentally Google searched for that.

23          Q      Oh, well.    Have you gotten to it yet?

24          A      Still scrolling.

25          Q      All right.                                         09:24:19

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 1                    MS. DUPHILY:     If you download these exhibits,

 2     you can also access them easier with your software.

 3                    MR. FRAMPTON:     I think he's almost there.

 4                    THE WITNESS:     All right.    I see my signature

 5     page.        Well, yeah, executed 3rd June 2020.                      09:24:34

 6     BY MR. BLOCK:

 7             Q      Terrific.    And then for this litigation of

 8     B.P.J., at the PI stage, you also submitted a copy of

 9     this Hecox declaration; is that right?

10             A      Yes.                                                   09:24:53

11                    MR. BLOCK:     Okay.   And then I want to show you

12     another document in a second.

13                    So this document is going to be marked, as

14     soon as I'm able to mark it, as Exhibit 67.                  Let me

15     know when it's visible for you.                                       09:25:36

16                    (Exhibit 67 was marked for identification

17                 by the court reporter and is attached hereto.)

18                    THE WITNESS:     All right.    Exhibit 067 -

19     Gregory Brown Male Athletic --

20     BY MR. BLOCK:                                                         09:25:49

21             Q      Yes.

22             A      Yes.

23             Q      What is this document?

24             A      That is a "White Paper Concerning Male

25     Physiological and Performance Advantages in Athletic                  09:25:58

                                                                              Page 28

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 1     Competition and The Effect of Testosterone Suppression

 2     on Male Athletic Advantage."

 3          Q   And it's dated December 14th, 2021; correct?

 4          A   That is correct.

 5          Q   Now, this document was not prepared as an          09:26:11

 6     expert report in -- in any litigation, was it?

 7              MR. FRAMPTON:     Object to the form.

 8     BY MR. BLOCK:

 9          Q   Why did you prepare this document?

10          A   I was asked by Alliance Defending Freedom to       09:26:25

11     prepare a white paper.

12          Q   Okay.   And what is a -- a white paper as

13     opposed to an expert report?

14              MR. FRAMPTON:     Same objection.

15              Go ahead.                                          09:26:36

16              THE WITNESS:    White paper is often used by an

17     organization, a company, something like that, for

18     gaining insight or information on a topic.

19     BY MR. BLOCK:

20          Q   Okay.   So did you -- what did you understand      09:26:48

21     to be the -- the purpose of this white paper?

22          A   My understanding was that this was for

23     Alliance Defending Freedom and affiliated and interest

24     organizations to be able to review the research that I

25     summarize in that paper.                                    09:27:10

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 1          Q    Okay.   And did you -- did you have an

 2     understanding that this white paper would be used for

 3     any lobbying purposes?

 4               MR. FRAMPTON:    Object to the form.

 5     BY MR. BLOCK:                                               09:27:25

 6          Q    You can answer, if you understand.

 7          A    My understanding was that Alliance Defending

 8     Freedom could do it with what they wanted and people

 9     could ask them for it for purposes that people want to

10     use it for.                                                 09:27:38

11          Q    But did you -- so did you know one way or

12     another whether the -- the document would be used for

13     purposes of lobbying?

14          A    I assumed that it would be introduced to

15     people who are interested in what the science says on       09:27:57

16     the matter of transgender athletes competing in women's

17     sports.

18          Q    And those would include legislators?

19          A    Yes.

20          Q    Okay.   And, in fact, you have testified in       09:28:11

21     support of legislation to restrict the ability of

22     transgender girls and women to participate in women's

23     sports; is that right?

24               MR. TRYON:    Objection --

25               MR. FRAMPTON:    Object to the form.              09:28:26

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 1               MR. TRYON:     -- terminology.

 2               MR. FRAMPTON:     Josh, real quick, could we do

 3     our usual standing objection on terminology so that we

 4     don't have to jump in on that every time?

 5               MR. BLOCK:     You know -- yes.     Yes, you can.      09:28:37

 6     I -- I will have some questions on that, and you can --

 7     you -- you can -- if we could -- I'll give you that

 8     standing objection, but the witness has also used some

 9     of these terms himself in written reports, so I'm -- I

10     want to have a little colloquy with him about that.              09:28:57

11     BY MR. BLOCK:

12          Q    But -- but in the meantime, you -- you have in

13     fact testified in support of legislation similar to

14     the -- the legislation at issue in this case; is that

15     right?                                                           09:29:13

16               MR. FRAMPTON:     Object to the form.

17               Go ahead.

18               THE WITNESS:     Yes, I have testified in front

19     of legislative bodies regarding legislation clarifying

20     the participation of biological females in women's               09:29:25

21     sports.

22     BY MR. BLOCK:

23          Q    The participation of biological females, or

24     did you mean -- did you mean to say transgender females

25     or, to use your language, biological males?             I just   09:29:36

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 1     want to know the -- want to make sure you spoke

 2     correctly.

 3             A   The legislation was to limit the participation

 4     in girls and women's sports to biological females.

 5             Q   Great.    And so where -- which states did you       09:29:50

 6     testify in -- in support of legislation?

 7             A   I may not be able to remember all of them.       I

 8     will give you my best recollection.

 9                 Ohio, Pennsylvania, Texas, South Dakota,

10     Maine, North Carolina are ones that I think I testified          09:30:14

11     either in person or through Zoom.

12             Q   And who asked you to testify in each of those

13     states?

14             A   That would vary from one state to the next.

15             Q   Okay.    So let -- let's take them one at a          09:30:36

16     time.

17                 In Ohio, who asked you to testify?

18             A   Center for Christian Virtue.

19             Q   And in Texas, who asked you to testify?

20             A   Texas Values, if I remember correctly, is            09:30:50

21     their name.

22             Q   And in North Carolina, who asked you to

23     testify?

24             A   I can't remember their name exactly, but it

25     was something along North Carolina Family Values,                09:31:04

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 1     something like that.

 2          Q    In Pennsylvania, who asked you to testify?

 3          A    Pennsylvania Family Alliance, if I remember

 4     correctly.

 5          Q    And in Maine, who asked you to testify?           09:31:17

 6          A    That, I think, was Save Women's Sports.

 7          Q    And do you know whether the legislatures in

 8     any of those states received copies of your white

 9     paper?

10          A    I do not know if they received copies of my       09:31:32

11     white paper.

12          Q    When you testified in those states, did you

13     refer to any of the analysis or research you conducted

14     in the white paper?

15          A    I -- many of those were testified last year       09:31:47

16     before I had completed the white paper.

17          Q    So what about the ones that were after you had

18     completed the white paper?

19          A    After completing the white paper, I know I had

20     referred to my previous expert declaration in               09:32:04

21     Connecticut and Idaho.   I don't remember if I referred

22     specifically to the white paper.

23          Q    So in Pennsylvania, you don't know if the

24     Pennsylvania legislature had a copy of your white paper

25     or not?                                                     09:32:21

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 1          A   No.     That was before I had written the white

 2     paper.

 3          Q   So when did you -- during what period of time

 4     did you write the white paper?

 5          A   Well, I started working on it essentially as        09:32:30

 6     soon as I had finished the declaration for Idaho, just

 7     as -- you know, trying to update as new research or new

 8     information became available.      And so it was over the

 9     course of a year and a half, year and three-quarters

10     that I was working on the -- the white paper.                09:32:50

11          Q   And had ADF asked you to -- to create the

12     right -- excuse me -- the white paper a year and a half

13     before the publication date?

14              MR. FRAMPTON:     Object to the form.

15              THE WITNESS:     No.   I was just updating the      09:33:05

16     information so that I would be current on the topic.

17     BY MR. BLOCK:

18          Q   And so when were you asked to -- to write down

19     that information in the form of a white paper?

20          A   Sometime this last fall.       I can't remember.    09:33:19

21     September, October, somewhere in those lines, but I

22     cannot remember exactly.

23          Q   Okay.     Were you paid for -- to write the white

24     paper?

25          A   No, I was not.                                      09:33:40

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 1          Q   So you have disclosed in your report that your

 2     hourly rate for preparing your expert report; is that

 3     right?

 4          A   That is correct.

 5          Q   But is it fair to say that a substantial           09:33:56

 6     portion of the expert report was based on the white

 7     paper?

 8              MR. FRAMPTON:    Object to the form.

 9              THE WITNESS:    That would be fair to say that.

10     BY MR. BLOCK:                                               09:34:05

11          Q   Okay.   So to the extent that any of the work

12     in the expert report was already conducted for the

13     white paper, then that was essentially done for free;

14     is that fair?

15              MR. FRAMPTON:    Same objection.                   09:34:19

16              Go ahead.

17              THE WITNESS:    Yes, it would be fair to say

18     that the white paper was not paid for, for my work on

19     that, and so overlap between the white paper and the

20     expert report was primarily volunteer work.                 09:34:30

21     BY MR. BLOCK:

22          Q   And when you first became interested in the

23     topic of the participation of transgender people in

24     sports, you were the person who reached out to ADF; is

25     that right?                                                 09:34:46

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 1            A   That is correct.

 2            Q   And why did you do that?

 3            A   I had seen a news report about the Soule

 4     versus Connecticut case and -- well, a -- a report.       I

 5     guess I shouldn't say "news" because I can't remember         09:35:00

 6     where I saw it.    And so I reached out to Alliance

 7     Defending Freedom to see if I could be of help.

 8            Q   So you -- you personally feel strongly about

 9     this issue; is that fair?

10                MR. FRAMPTON:    Object to the form.               09:35:16

11                THE WITNESS:    I don't know that I would

12     characterize my interest as a feeling so much as an

13     intellectual and professional interest.

14     BY MR. BLOCK:

15            Q   Is there any other circumstance in which           09:35:25

16     you've reached out to an organization to volunteer

17     yourself as an expert source?

18            A   Yes.

19            Q   What -- can you tell me what those situations

20     are?                                                          09:35:47

21            A   I have reached out to legislators in the state

22     of Nebraska to state that I am an exercise physiologist

23     and would be willing to help if they have questions on

24     litigation in this -- or legislation in this area, not

25     just trans women's -- transgender individuals in              09:36:07

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 1     sports, but relative to my professional expertise in

 2     exercise physiology.

 3          Q      Okay.   Any other instance?

 4          A      I am trying to remember.

 5                 I -- I can't remember others.        They may have   09:36:30

 6     happened, where I reached out and did not get a

 7     response.

 8          Q      But sitting here today, you can't remember

 9     what those other instances were?

10          A      That is correct.                                     09:36:41

11          Q      Okay.   And you -- you're not sure that there

12     were other instances; is that right?

13          A      That is correct.

14          Q      All right.     So that -- that's all my questions

15     on that topic.                                                   09:36:56

16                 I do have some questions just about

17     terminology here.

18                 You know what the term "cisgender" means;

19     right?

20                 MR. FRAMPTON:     Object to the form.                09:37:05

21                 THE WITNESS:     Cisgender means a person whose

22     gender identity aligns with their biology.

23     BY MR. BLOCK:

24          Q      And you don't have any objection to using the

25     word "cisgender," do you?                                        09:37:17

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 1           A   Yes, I do.

 2           Q   You've used the word "cisgender" in other

 3     publications, haven't you?

 4           A   I have.

 5           Q   Okay.     Why did you use the word "cisgender" in   09:37:28

 6     those publications?

 7           A   Because it is a frequently used term in the --

 8     in this field, and so it is probably the appropriate

 9     term to use.

10           Q   So why do you have an objection to using that       09:37:42

11     term in the deposition if -- if that's the appropriate

12     term to use?

13               MR. FRAMPTON:     Object to the form.

14               THE WITNESS:     I know of individuals who do not

15     like the term "cisgender" because when it is applied in       09:38:00

16     the term such as "cis male" or "cis female," they

17     consider it to be infringing upon their identity as

18     male or female and the "cis" is unnecessary.

19     BY MR. BLOCK:

20           Q   Do you consider the word -- the term                09:38:20

21     "cisgender male" to be infringing upon your identity as

22     a male?

23               MR. FRAMPTON:     Object to the form.

24               THE WITNESS:     No, I do not.

25     ///

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 1     BY MR. BLOCK:

 2          Q   Okay.     Who are the individuals that -- that

 3     you know that view the term "cisgender" as infringing

 4     on their own identity?

 5          A   I could not tell you every person I know that       09:38:43

 6     states that.     I have colleagues and coworkers that have

 7     stated that to me in private conversations, family

 8     members that have stated that to me in private

 9     conversations.     Even students have stated to me that

10     they do not like being referred to as cisgender.             09:39:02

11          Q   And have any of those people, to the best of

12     your knowledge, been directly referred to as being

13     cisgender?

14          A   To my knowledge, yes, they have.

15          Q   Okay.     So -- but you -- you personally don't     09:39:19

16     view the term "cisgender male" as infringing on your

17     own identity; correct?

18          A   That is correct.

19          Q   Okay.     So if I use the term "cisgender" during

20     this deposition, you'll understand what I'm talking          09:39:34

21     about; correct?

22          A   Yes, I understand it is the term commonly used

23     in this type of matter, legally and professionally.

24          Q   Okay.     And if -- if I ask you to clarify

25     whether a particular statement that you made is              09:39:50

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 1     referring to cisgender males, you -- you would be able

 2     to clarify that for me; correct?

 3              MR. FRAMPTON:    Object to the form.

 4              THE WITNESS:    Yes, it is my understanding that

 5     a cisgender male is an individual who is biologically       09:40:04

 6     male and their gender identity is male.

 7     BY MR. BLOCK:

 8          Q   And you know what the term "transgender"

 9     means; right?

10              MR. FRAMPTON:    Same objection.                   09:40:15

11              THE WITNESS:    Yes.

12     BY MR. BLOCK:

13          Q   What does it mean?

14          A   Transgender is for someone whose gender

15     identity does not align with their biological sex.          09:40:25

16          Q   And you don't have any objection to using the

17     word "transgender" in this deposition, do you?

18          A   No, I do not.

19          Q   Okay.   And you've used the word "transgender"

20     in your own writings, haven't you?                          09:40:38

21          A   That is correct.

22          Q   Okay.   Do you know what the term "transgender

23     woman" means?

24              MR. FRAMPTON:    Same objection.

25              THE WITNESS:    I get confused with transgender    09:40:45

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 1     woman sometimes because I'm not sure if that means a

 2     trans woman or someone who is transgender that

 3     identifies as a woman.

 4                Does that make sense?

 5     BY MR. BLOCK:                                               09:41:00

 6          Q     Yeah.   Well, so do you know what the term

 7     "trans woman" means?

 8          A     Yes, I do.

 9          Q     Okay.   What -- what does the word "trans

10     woman" mean to you?                                         09:41:09

11          A     A trans woman is an individual who is

12     biologically male but whose gender identity is that of

13     a woman.

14          Q     And you've used the term "trans woman" in your

15     writings, haven't you?                                      09:41:19

16          A     That is correct.

17          Q     Okay.   So if I ask you to clarify whether the

18     people you refer to in a question are trans women,

19     you'll be able to clarify that for me?

20                MR. FRAMPTON:    Object to the form.             09:41:34

21                THE WITNESS:    Yes, I will do my best.

22     BY MR. BLOCK:

23          Q     Okay.   And do you know what the term

24     "transgender girl" means?

25          A     Same as with transgender woman, it is            09:41:42

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 1     sometimes confusing to me if they mean if this is a boy

 2     that identifies as girl or a girl that identifies as

 3     boy.

 4            Q   How about if I use the term "trans girl,"

 5     will -- do you understand what that would mean?              09:42:01

 6            A   Yes, I understand "trans girl."

 7            Q   Okay.   And what does trans girl mean to you?

 8            A   A trans girl is a juvenile/youth/child whose

 9     biological sex is male but who identifies as a girl.

10            Q   Okay.   You've been using the phrase              09:42:18

11     "biological sex"; correct?

12            A   That is correct.

13            Q   What is your understanding of what the term

14     "biological sex" means?

15            A   So sex is a biological variable.         Sex is   09:42:29

16     determined at conception with the conferral of sex

17     chromosomes.

18            Q   And is it your understanding that "biological

19     sex" refers to anything other than chromosomes?

20            A   Yes.                                              09:42:53

21            Q   So what else besides chromosomes does the term

22     "biological sex" refer to?

23            A   So if we are referring to a person who is a

24     biological male, they would have sex chromosomes of

25     male and their body system of organization,                  09:43:08

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 1     anatomically and physiologically, would be around the

 2     production of small gametes, which means sperm.

 3             Q     And how would you refer to the biological sex

 4     of someone with complete androgen insensitivity

 5     syndrome?                                                         09:43:32

 6                   MR. FRAMPTON:     Object to the form.

 7                   THE WITNESS:     My understanding of someone with

 8     complete androgen insensitivity syndrome is they are

 9     biologically male, but they are not receptive to

10     androgens, but their body is still organized around the           09:43:43

11     production of sperm.

12     BY MR. BLOCK:

13             Q     And how would you refer to the biological sex

14     of someone with XXY chromosomes?

15             A     If I remember correctly --                          09:43:59

16                   MR. TRYON:     I would like to just object to the

17     scope.

18                   Thank you.

19                   MR. FRAMPTON:     Objection; form, scope.

20                   THE WITNESS:     If I remember correctly, XXY is    09:44:08

21     Turner syndrome, in which a person is biologically

22     male.       They have an extra X chromosome, but they are

23     still male.

24     BY MR. BLOCK:

25             Q     So you define biological sex as male if there       09:44:22

                                                                          Page 43

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 1     is a Y chromosome present?

 2              MR. FRAMPTON:     Object to the form, scope.

 3              THE WITNESS:     That is the beginning of sex

 4     determination, is if there is a Y or an X chromosome.

 5     BY MR. BLOCK:                                                09:44:44

 6          Q   Right.     So as to -- to clarify, so as long as

 7     there's a Y chromosome, you, in your understanding of

 8     the term "biological sex," would view that person as

 9     being biologically male?

10              MR. FRAMPTON:     Same objections, form and         09:44:56

11     scope.

12              Go ahead.

13              THE WITNESS:     That is my understanding, yes.

14     BY MR. BLOCK:

15          Q   Okay.     And when -- do you have any opinions on   09:45:02

16     whether a person with complete androgen insensitivity

17     syndrome should be allowed to play on sports teams for

18     girls and women?

19              MR. FRAMPTON:     Objection; form and scope.

20              Go ahead.                                           09:45:28

21              THE WITNESS:     So situations such as complete

22     androgen insensitivity syndrome is very debated in the

23     sports science community right now on how best to

24     handle those individuals and where they should

25     participate in sports.                                       09:45:41

                                                                     Page 44

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 1     BY MR. BLOCK:

 2          Q   And what's your opinion?

 3              MR. FRAMPTON:     Same objections.

 4              THE WITNESS:     So I have been retained as an

 5     expert witness in this matter primarily dealing with        09:45:49

 6     biological male and biological female and not as an

 7     expert on disorders or differences of sexual

 8     development.     And so I would say I probably would not

 9     be the best person to offer a statement on where

10     someone with CAIS should participate.                       09:46:05

11     BY MR. BLOCK:

12          Q   But you just testified earlier that you view

13     someone with -- with CAIS as being a biological male,

14     isn't that so?

15          A   That is correct.                                   09:46:18

16          Q   And so if you're providing expert testimony on

17     the participation of biological males, wouldn't that

18     include testimony about a biological male with -- in

19     your words -- with CAIS?

20              MR. FRAMPTON:     Objection; form and scope.       09:46:33

21              THE WITNESS:     If I had been asked to provide

22     expert information on that matter, I could perhaps look

23     more into it, but I have not been asked to provide

24     expert witness, expert statement on where individuals

25     with disorders/differences of sexual development should     09:46:52

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 1     participate.

 2     BY MR. BLOCK:

 3          Q   Okay.   So you -- you have no expert opinion on

 4     the participation of people with DSDs in sports for

 5     girls and women; right?                                       09:47:05

 6              MR. FRAMPTON:     Objection; form and scope.

 7              Go ahead.

 8              THE WITNESS:     In my declaration, there is a

 9     small statement in there about DSDs, and I will stand

10     by that statement.                                            09:47:15

11     BY MR. BLOCK:

12          Q   All right.     Well, let's look to that.

13              If you could turn to that -- that exhibit

14     and -- and identify for me the statement about DSDs.

15          A   Which exhibit number is that?                        09:47:34

16          Q   That's a good question.       I think it's Exhibit

17     Number -- separate windows are tough.        I believe it's

18     the first one up there, Exhibit 64.

19              So it might be in paragraph 4 of your report,

20     if you could look at that.                                    09:48:20

21          A   All right.     I am looking at paragraph 4.

22          Q   Okay.   Is this the reference to DSDs that

23     you're -- that you were referring to just now?

24          A   That is correct.

25          Q   Okay.   So the -- the first sentence -- the          09:48:31

                                                                      Page 46

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 1     first two sentences of that paragraph say (as read):

 2                 "Although disorders of sexual

 3                 development (DSDs) are sometimes

 4                 confused with discussions of

 5                 transgender individuals, the two are              09:48:43

 6                 different phenomena.      DSDs are

 7                 disorders of physical development.

 8                 Many DSDs are 'associated with genetic

 9                 mutations that are now well known to

10                 endocrinologists and geneticists.'"               09:48:57

11                 Did I read that correctly?

12          A      Yes, you did.

13          Q      Okay.   And so that's the extent of your expert

14     testimony about DSDs?

15          A      That is correct.                                  09:49:07

16          Q      Okay.   Do you know if complete androgen

17     insensitivity syndrome is associated with a genetic

18     mutation?

19                 MR. FRAMPTON:    Object to the form.

20                 THE WITNESS:    I will stand by that statement    09:49:24

21     which is a quote from the endocrinology --

22     Endocrine Society.

23     BY MR. BLOCK:

24          Q      But sitting here today, you don't know whether

25     CAIS is associated with a genetic mutation, do you?           09:49:32

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 1                 MR. FRAMPTON:    Same objection.

 2                 THE WITNESS:    I do not know off the top of my

 3     head.

 4     BY MR. BLOCK:

 5             Q   Okay.   So -- so to the best of your knowledge,   09:49:44

 6     does H.B. 3293 make any distinction between people with

 7     DSDs and people who are transgender?

 8                 MR. FRAMPTON:    Objection; form and scope.

 9                 THE WITNESS:    I would need to refresh my

10     reading on that bill to see what it states on that            09:50:06

11     matter.

12     BY MR. BLOCK:

13             Q   So -- but the scope of your expert testimony,

14     when you provide opinions about people who, in your

15     language, are biological males, you are limiting your         09:50:14

16     expert opinion to people who are biological males

17     who -- who are either cisgender males or trans girls

18     and trans women; is that right?

19                 MR. FRAMPTON:    Same objections.

20                 THE WITNESS:    Can you please restate the        09:50:39

21     question for me?

22     BY MR. BLOCK:

23             Q   Yeah.   So -- so you're providing testimony

24     about, quote, biological males; correct?

25             A   Biological males and biological females.          09:50:46

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 1          Q    Okay.   So in terms of biological males, the

 2     only biological males you're addressing in your

 3     testimony, to -- to use your phrase, biological males,

 4     are cisgender boys and men and trans girls and women,

 5     but not any biological males, in your language, that         09:51:07

 6     have DSDs; is that fair?

 7               MR. FRAMPTON:     Objection; form and scope.

 8               Go ahead.

 9               THE WITNESS:     Yes, I was not asked to offer

10     expert opinion on differences or disorders of sexual         09:51:17

11     development.

12     BY MR. BLOCK:

13          Q    All right.     Including people who you consider

14     to be biological males who have DSDs; correct?

15               MR. FRAMPTON:     Same objection.                  09:51:28

16               THE WITNESS:     That is correct.

17     BY MR. BLOCK:

18          Q    Okay.   Do you know what the term "sex assigned

19     at birth" refers to?

20          A    Yes, I understand the term "sex assigned at        09:51:47

21     birth."

22          Q    Okay.   So -- so if I use the term "sex

23     assigned at birth," you can understand what I'm saying?

24          A    Yes, I can understand what you're saying.

25          Q    Okay.   Great.                                     09:51:56

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 1              I have some questions just about your

 2     education and research background, but, you know, I'd

 3     prefer not to belabor them by going through your CV

 4     line by line.     So I'm going to ask you questions, and

 5     if you think you need to refer specifically to your CV,             09:52:20

 6     we can do that, but I'm hoping that's not necessary.

 7              So as part of your formal education, you never

 8     took any courses regarding transgender people; is that

 9     right?

10          A   I did not take a course where the title of the             09:52:34

11     course was "Transgender Individuals."

12          Q   Okay.     And did you take a course where

13     transgender individuals were discussed?

14          A   Yes.

15          Q   And how many courses?                                      09:52:52

16          A   That would be difficult to say.         To give a

17     number, I mean, I would be speculating right now.            It's

18     been 20 years.

19          Q   Do you -- do you have any specific

20     recollection of any courses where transgender people                09:53:10

21     were discussed?

22          A   I am pretty sure that transgender individuals

23     were discussed in the undergraduate Abnormal Psychology

24     class I took.     Very possibly in General Psychology.

25     Possibly discussed in any of the numerous physiology                09:53:25

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 1     classes as an undergraduate or graduate student.

 2     Possibly in the endocrinology class as a graduate

 3     student.

 4          Q     This is all just possibly; right?             You don't

 5     have a specific recollection?                                        09:53:44

 6          A     Just thinking, also some of the sociology

 7     classes may have included it.        But, again, it might

 8     have; it might not have been.        And also, whether that

 9     was a discussion that the instructor initiated or the

10     students initiated, I couldn't testify at this point.                09:54:00

11          Q     Okay.   You received your undergrad degree in

12     1997; right?

13          A     That is correct.

14          Q     Do you -- do you think it's -- it's plausible

15     that you had a lot of discussions about transgender                  09:54:11

16     people from 1993 to 1997?

17          A     Yes, it's very plausible.

18          Q     Okay.   Have you ever -- as part of your --

19     obtaining any -- any of your degrees, did you ever

20     conduct any research concerning transgender people?                  09:54:32

21          A     Can you clarify what you mean by "research"?

22          Q     I -- I mean original research, where you have

23     a hypothesis and you test it.

24          A     So, no, I did not conduct any primary research

25     on transgender individuals.                                          09:54:55

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 1          Q      Okay.   Did you conduct any other form of

 2     research other than what you referred to as primary

 3     research?

 4          A      I probably looked for research papers or maybe

 5     saw research papers on transgender individuals.                Again,   09:55:07

 6     it may have been as part of an assigned reading in a

 7     class, or it may have been something come across in

 8     other reading for general knowledge.

 9          Q      You're just saying that this could have

10     happened, but you don't have a specific recollection of                 09:55:20

11     it, do you?

12          A      That is correct.     I did not write down in a

13     diary when I would read a paper.

14          Q      Well, no, but you -- sitting here today, you

15     don't have any recollection of ever reading a paper on                  09:55:30

16     transgender people as part of obtaining your

17     undergraduate, your Master's or your Ph.D. degrees;

18     correct?

19          A      I don't think that's what I said.

20          Q      Well, so --                                                 09:55:44

21          A      I think I said I -- I might have.             I didn't

22     say that I did not.

23          Q      Well, but you don't have any affirmative

24     memory of doing so?

25                 MR. FRAMPTON:   Object to the form.                         09:55:55

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 1                 THE WITNESS:    What do you mean by "affirmative

 2     memory"?

 3     BY MR. BLOCK:

 4          Q      Well, by -- by saying you might have, that --

 5     that's different to me than saying you remember doing          09:56:04

 6     it in some form, but don't remember the exact time or

 7     place.     So I'm trying to clarify whether you remember

 8     doing it, but can't, you know, put your finger on

 9     exactly when it happened, or whether you're saying you

10     can't rule out the possibility that you did it.                09:56:20

11                 So are you saying that you can't rule out the

12     possibility that you did it?

13          A      So I am saying that it's very likely that I

14     had discussions in classes on transgender individuals.

15     It's very likely that there was a paper that I read or         09:56:35

16     more than one paper regarding transgender individuals,

17     possibly even a textbook chapter.

18          Q      Okay.    And do you consider reading a textbook

19     chapter or paper for class to be academic research?

20          A      Reading a scholarly paper would be considered      09:56:56

21     academic research as it could lead to something like a

22     literature review, a meta-analysis, and it is an

23     essential part of the research process.

24          Q      Right.    But you didn't do any reading as part

25     of preparing for literature review or meta-analysis;           09:57:11

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 1     correct?

 2          A     I did not include any in my literature review

 3     or meta-analysis.     I may have done reading as part of

 4     my Master's thesis and doctoral dissertation.

 5                I know for a fact, because of the topic of my     09:57:38

 6     Master's thesis and doctoral dissertation, I had to

 7     read very widely on steroid hormone, biogenesis and

 8     actions.

 9          Q     So we had a discussion about some of this two

10     years ago.    Do you think your memory about what -- your    09:57:59

11     readings was more accurate two years ago or more

12     accurate today?

13                MR. FRAMPTON:    Object to the form.

14                THE WITNESS:    I would say more accurate today

15     because I have -- since you asked me this two years          09:58:14

16     ago, I've thought about it more to remember, okay, did

17     this happen in Abnormal Psychology, in Sports

18     Psychology, something like that.

19     BY MR. BLOCK:

20          Q     Okay.   So I just want to be clear about a        09:58:23

21     distinction between conducting reading as in a -- as a

22     class assignment and conducting reading as part of your

23     research process.     All right?    Does that distinction

24     make sense to you?

25          A     Yes.                                              09:58:41

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 1             Q   Okay.   So you've -- you've talked about maybe

 2     reading a paper or a chapter as part of a class

 3     assignment; correct?

 4             A   Yes.

 5             Q   Okay.   So in terms of reading as part of your    09:58:52

 6     own independent research process, do you have any

 7     recollection of doing any reading about transgender

 8     people as part of your own independent research process

 9     while obtaining your degrees?

10             A   I don't have a specific recollection of doing     09:59:09

11     that independently while reading my -- while performing

12     my Master's and doctoral research, but, again, I might

13     have.

14             Q   Okay.   So since receiving your doctorate until

15     the time when you first reached out to ADF, have you --       09:59:28

16     had you ever conducted any research concerning

17     transgender people?

18             A   Once again, please clarify what you mean by

19     "research."

20             Q   All right.   Well, let's do primary research.     09:59:42

21             A   No, I had not done primary research of

22     transgender individuals.

23             Q   Had you ever conducted any literature review

24     regarding transgender people?

25             A   I have not formally written a literature          09:59:56

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 1     review.

 2           Q   Had you ever written a meta-analysis about

 3     transgender people?

 4           A   No, I had not performed a meta-analysis

 5     regarding transgender individuals.                           10:00:07

 6           Q   Okay.    So what other professional research

 7     might you have done regarding transgender people?

 8           A   Trying to keep up with the legislation in

 9     sports regarding the participation of transgender

10     individuals and then on seeing the legislation, out of       10:00:25

11     my own curiosity, looking to see what research was

12     informing that legislation.

13           Q   Okay.    In terms of original research that

14     you've done, have any of the subjects in your original

15     research been transgender, to the best of your               10:00:41

16     knowledge?

17           A   To the best of my knowledge, none of any

18     subjects have been transgender.

19           Q   Okay.    Have you worked with transgender people

20     in any capacity?                                             10:00:52

21               MR. FRAMPTON:    Object to the form.

22               THE WITNESS:    I -- I think there are

23     individuals at the university that are transgender that

24     I have worked with on committees or other things.

25     ///

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 1     BY MR. BLOCK:

 2          Q     Okay.    How many transgender people do you

 3     think you've met?

 4                MR. FRAMPTON:    Same objection.

 5                THE WITNESS:    I can think of two by name and     10:01:22

 6     others that I've met, but -- I've met a lot of people,

 7     and so to try and come up with a number that were

 8     transgender is going to be very, very difficult.

 9     BY MR. BLOCK:

10          Q     Have you ever appeared on any podcasts?            10:01:41

11          A     Yes.

12          Q     Which ones?

13          A     I probably can't name all of them.

14          Q     Okay.

15          A     I can do my best.                                  10:01:55

16          Q     Great.

17          A     So there was a podcast Muscle for Life with --

18     with Mike Matthews, I think.       I was on the Megyn Kelly

19     podcast.    I was on Munk Debates podcast.        I was on

20     Governor Ricketts' podcast.      There's another one out      10:02:18

21     there that I remember the podcast.        I don't remember

22     the name of it.

23          Q     Do you remember approximately when the

24     Megyn Kelly podcast was?

25          A     A little less than a year ago, if I remember       10:02:39

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 1     right.

 2             Q   And what was the topic of that podcast?

 3             A   That was regarding the participation of

 4     biological males in female sports.

 5             Q   And what was the Munk Debates podcast?                  10:02:51

 6             A   That was also about biological males

 7     participating in female -- in women's sports.

 8             Q   And when -- when was that podcast?

 9             A   Last summer, maybe late last summer.

10             Q   Okay.   And when you refer to biological males          10:03:12

11     in these podcasts, did you discuss at all people with

12     DSDs?

13             A   If we did, it was not a major topic of

14     discussion.

15             Q   Okay.   So your -- your podcast with                    10:03:24

16     Governor Ricketts, that's on his show "The Nebraska

17     Way"; is that -- is that correct?

18             A   That is correct.

19             Q   Okay.   And you appeared on September 1st,

20     2021?                                                               10:03:42

21             A   I will trust you on the date on that.         I don't

22     remember myself.

23             Q   All right.   Does that sound around the time?

24             A   That sounds like the right time period.

25                 MR. BLOCK:   Okay.    Great.                            10:03:53

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 1                    So I'm going to introduce an exhibit marked 68

 2     and if you can open it up.

 3                    The concierge -- it's an -- it's a video clip,

 4     and the concierge is going to have to play it for us.

 5                    But let me know what appears on -- on your            10:04:18

 6     screen before -- before I ask the concierge to -- to

 7     play it.

 8                    Do you see a file?

 9                    (Exhibit 68 was marked for identification

10                 by the court reporter and is attached hereto.)           10:04:28

11                    THE WITNESS:    I see Exhibit 068 - Clip, space,

12     2005.

13     BY MR. BLOCK:

14             Q      Okay.   I'm going to have -- I'm going to ask

15     the concierge to play the clip now.             And it's -- it's a   10:04:37

16     little bit over a minute long.           I didn't want to -- you

17     to think that I've cut anything off here.              And then

18     after the clip plays, I'll ask you a few questions

19     about it.

20                    Does that sound okay?                                 10:04:50

21             A      Will the clip show up in the -- in this Zoom

22     meeting, or is it going to be a different window?

23             Q      It's going to show up as a screen share --

24             A      Okay.

25             Q      -- right now.                                         10:05:05

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 1              Can you see the screen share?

 2          A   Yes.

 3          Q   Great.

 4              (Video clip played.)

 5              MR. BLOCK:     Thank you to the concierge.         10:06:32

 6     BY MR. BLOCK:

 7          Q   Does -- does this video clip appear to be an

 8     accurate excerpt of your interview with

 9     Governor Ricketts?

10          A   Yes, that's me.                                    10:06:41

11          Q   Okay.     Do you still agree with everything you

12     said in that video clip?

13              MR. FRAMPTON:     Objection; form and scope.

14              MR. TRYON:     Objection; scope.

15     BY MR. BLOCK:                                               10:06:50

16          Q   You can answer.

17          A   Can you repeat your question, please?

18          Q   Do you still agree with everything you said in

19     that video clip?

20          A   Yes, I do.                                         10:06:58

21          Q   Okay.     You're not a mental health expert;

22     right?

23          A   That is correct.

24          Q   You don't have any education or training

25     that -- that would provide a basis for you to offer an      10:07:10

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 1     expert opinion on the proper healthcare for transgender

 2     youth, do you?

 3              MR. FRAMPTON:     Objection; form and scope.

 4              Go ahead.

 5              THE WITNESS:     No, I would not be called upon    10:07:19

 6     to offer treatment for transgender individuals.

 7     BY MR. BLOCK:

 8          Q   But my question is, to offer an expert opinion

 9     on treatment for transgender individuals, you don't

10     have any, you know, credentials that would allow you to     10:07:34

11     provide an expert opinion on that topic, do you?

12              MR. FRAMPTON:     Same objection.

13              Go ahead.

14              THE WITNESS:     I have not been asked to offer

15     an expert opinion on the psychological or psychiatric       10:07:44

16     care of transgender individuals.

17     BY MR. BLOCK:

18          Q   But my question is, do you have the

19     credentials and training that would allow you to offer

20     such an opinion, if you were asked?                         10:07:52

21              MR. FRAMPTON:     Same objection.

22              THE WITNESS:     No, I do not have those

23     credentials or degrees.

24     BY MR. BLOCK:

25          Q   Okay.   In this clip, you used the word            10:08:07

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 1     "transgenderism"; right?

 2          A     That is correct.

 3          Q     Is that a medical term?

 4                MR. FRAMPTON:    Objection; form and scope.

 5                THE WITNESS:    I'm not sure what you mean, is    10:08:19

 6     it a medical term?

 7     BY MR. BLOCK:

 8          Q     What does transgenderism mean?

 9          A     An individual who is transgender.

10          Q     Okay.   In any of the -- the scholarly articles   10:08:28

11     that you've read about transgender people, have any of

12     them used the term "transgenderism"?

13          A     I cannot recall, to answer that question, if

14     they have or have not.

15          Q     Okay.   In the clip, you mentioned Ben Shapiro;   10:08:45

16     correct?

17          A     That is correct.

18          Q     Who is Ben Shapiro?

19          A     Ben Shapiro is an individual that does a lot

20     of podcasts, news clips, news interviews, speaking at        10:09:00

21     organizations on social and political matters.

22          Q     Do you -- do you think he's a reliable source

23     of authority on mental healthcare for transgender

24     youth?

25                MR. FRAMPTON:    Objection; form and scope.       10:09:19

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 1              THE WITNESS:    In the role that he is filling,

 2     I think Ben Shapiro is able to provide reliable

 3     information on what has been written in these matters.

 4     BY MR. BLOCK:

 5          Q   Okay.   And reliable enough that you -- you        10:09:32

 6     thought it was worth repeating to the audience of the

 7     podcast; correct?

 8              MR. FRAMPTON:    Same objections.

 9              THE WITNESS:    That is correct.

10     BY MR. BLOCK:                                               10:09:49

11          Q   Okay.   In what context have you heard his

12     opinions about transgender youth?

13          A   Do you mean context or format?

14          Q   Let's start with format.

15          A   So in a number of videos and radio clips and       10:10:02

16     seeing on the news, I have seen Ben Shapiro make

17     statements regarding transgender individuals.

18          Q   And has that affected your own opinion on

19     these issues?

20              MR. FRAMPTON:    Objection; form and scope.        10:10:21

21              THE WITNESS:    No, I don't think what he has

22     said has affected my opinion.

23     BY MR. BLOCK:

24          Q   Has it affected your opinion on mental

25     healthcare for transgender youth?                           10:10:37

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 1                MR. FRAMPTON:    Same objection.

 2                THE WITNESS:    I don't think it has affected my

 3     opinion on healthcare for transgender youth.

 4     BY MR. BLOCK:

 5          Q     Okay.   Is new toy syndrome a medical term?        10:10:47

 6                MR. FRAMPTON:    Same objections.

 7                THE WITNESS:    No.

 8     BY MR. BLOCK:

 9          Q     Okay.   Do you think that receiving

10     gender-affirming care is analogous to playing with a          10:10:56

11     new toy?

12                MR. FRAMPTON:    Objection; form and scope.

13                THE WITNESS:    I'm sorry, can you state the --

14     restate the question?

15     BY MR. BLOCK:                                                 10:11:13

16          Q     Yeah.   Do you -- do you think transgender

17     youth receiving gender-affirming care is analogous to a

18     person playing with a new toy?

19                MR. FRAMPTON:    Same objections.

20                THE WITNESS:    In the context that I quoted       10:11:22

21     Ben Shapiro, in that interview, it is a good analogy.

22     BY MR. BLOCK:

23          Q     How is it a good analogy?

24          A     As I explained in that, also as it was

25     explained by Ben Shapiro, when people get a new toy,          10:11:37

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 1     they're often very happy with it, and then the newness

 2     wears off.     That is drawn as an analogy to what has

 3     been demonstrated in scholarly literature about

 4     transgender individuals.

 5             Q   What scholarly literature?                       10:11:53

 6                 MR. FRAMPTON:    Objection; form and scope.

 7                 THE WITNESS:    The research is cited on the

 8     SEGM web page.

 9     BY MR. BLOCK:

10             Q   What's SEGM?                                     10:12:05

11             A   I may not be able to tell you precisely, but

12     it is something like Society for Evidence-Based Gender

13     Medicine.

14             Q   And why have you been reading the SEGM web

15     page?                                                        10:12:25

16                 MR. FRAMPTON:    Objection; form and scope.

17                 THE WITNESS:    It is a good place to find

18     information about transgender individuals to help make

19     sure that I am staying current on the information in

20     this area.                                                   10:12:34

21     BY MR. BLOCK:

22             Q   How is information about the mental healthcare

23     of transgender individuals relevant to you in your

24     work?

25                 MR. FRAMPTON:    Same objections.                10:12:48

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 1                THE WITNESS:    The mental healthcare is often

 2     associated with the use of either puberty blockers,

 3     testosterone suppression, estrogen administration,

 4     which then has physiological effects.

 5     BY MR. BLOCK:                                                 10:13:06

 6          Q     So -- so you read about -- well, I -- I guess,

 7     could you explain further?      How -- how is utility of

 8     the mental healthcare relevant to your opinion about

 9     physiological issues and athletic advantages?

10                MR. FRAMPTON:    Same objection, form and scope.   10:13:27

11                THE WITNESS:    If an individual is being given

12     a physiologically active medicine, such as a puberty

13     blocker, such as testosterone suppression or

14     administration of estrogen, that will affect their

15     physiology, which then may or may not have an affect on       10:13:47

16     their ability to compete in athletics.

17                So it is important to know what is being done.

18     BY MR. BLOCK:

19          Q     Does -- does the mental health impacts of

20     those treatments matter in terms of the physiological         10:14:04

21     effects?

22          A     If the mental health treatment includes the

23     administration of physiological substances, then it

24     affects physiological responses.

25          Q     Yeah, so, I guess, that's not really answering     10:14:25

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 1     my question.

 2              So you -- you -- you talked about how, in your

 3     opinion, the positive mental effects of

 4     gender-affirming care for some people would -- are like

 5     a new toy, that they have a positive effect and then         10:14:39

 6     that positive mental health effect wears off, and my

 7     question is whether the -- the fact that you alleged

 8     that positive mental health effect would wear off has

 9     any implication for the physiological results of having

10     taken that medication.                                       10:15:04

11              Does that make sense?

12              MR. TRYON:     Objection --

13              MR. FRAMPTON:     Objection; form.

14              MR. TRYON:     -- form.

15              THE WITNESS:     I would ask you to try and break   10:15:11

16     that question down a little more.

17     BY MR. BLOCK:

18          Q   Sure.

19          A   I'm not sure where you're going.

20          Q   Sure.   So the -- if -- if -- assuming that --      10:15:17

21     taking it as an assumption, that puberty blockers and

22     gender-affirming hormones had no positive health

23     effects for mental health, how would that assumption

24     impact your opinion on the physiological effects of

25     taking those medications?                                    10:15:43

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 1              MR. FRAMPTON:     Objection; form and scope.

 2              Go ahead.

 3              THE WITNESS:     Well, puberty blockers and

 4     testosterone suppression and estrogen administration

 5     are physiological active substances.        What they do for      10:15:57

 6     mental health compared to what they do for athletic

 7     performance and physiological responses might be

 8     separate issues.

 9     BY MR. BLOCK:

10          Q   Okay.     So if they're separate issues, why do          10:16:08

11     you read about the mental health effects of taking

12     those medications?

13              MR. FRAMPTON:     Same objections.

14              THE WITNESS:     I think I previously answered

15     this question, to know what are the treatments that are           10:16:27

16     being used that could then affect physiological

17     responses to exercise.

18     BY MR. BLOCK:

19          Q   Okay.     So what other sources of information do

20     you consult on the -- the mental health effects of                10:16:39

21     puberty blockers and gender-affirming hormones?

22              MR. FRAMPTON:     Objection; scope.

23              THE WITNESS:     So I will find scholarly

24     articles and read those to find information.           A lot of

25     the information, if I find it on a web page, I will               10:17:01

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 1     look to see if it is to a scholarly journal, scholarly

 2     article that's reputable, but then I can verify that

 3     the information on the web page is valid, at least

 4     based on what has been presented in scholarly

 5     literature.     Of course, you see things in the news as        10:17:18

 6     well; right?

 7     BY MR. BLOCK:

 8          Q      Is there any scholarly article that -- that

 9     likens gender-affirming care to a new toy?

10                 MR. FRAMPTON:     Objection; form and scope.        10:17:32

11                 THE WITNESS:     I could not say.

12     BY MR. BLOCK:

13          Q      Okay.   What scholarly articles, sitting here

14     today, can -- can you think of having read on the topic

15     of mental healthcare for transgender youth?                     10:17:46

16                 MR. FRAMPTON:     Same objection; form and scope.

17                 THE WITNESS:     So there was a review on the

18     effects of puberty blockers that was put out by Sweden,

19     Karolinski Institute, and so I read that article and

20     looked up a number of the articles that were referenced         10:18:11

21     in there.     Similar type of thing came out of

22     Great Britain, their national health organization,

23     something like that.        And so I looked at a lot of those

24     articles.

25                 I -- I have also, again, coming across some on      10:18:24

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 1     PubMed or Google Scholar.     I've seen other articles

 2     looking at the effects of hormone treatment in

 3     transgender individuals and measures of mental health.

 4     BY MR. BLOCK:

 5          Q   And can you remember any of the articles on             10:18:39

 6     PubMed or Google Scholar?

 7          A   I cannot remember them by author or title.

 8          Q   Okay.    Have you read the Endocrine Society

 9     guidelines on providing gender-affirming care to

10     transgender people?                                              10:18:58

11          A   I --

12              MR. FRAMPTON:    Objection; scope.

13              Go ahead.

14              THE WITNESS:    I have read the information on

15     the web page.    I have read the article.       I cannot         10:19:04

16     remember which journal it's published in.

17     BY MR. BLOCK:

18          Q   Well, I'm sorry, what -- what -- what are you

19     referring to when you say a web page and an article?

20          A   So the Endocrine Society has a web page                 10:19:22

21     regarding the administration of puberty blockers and

22     estrogen -- or testosterone suppression, estrogen

23     administration for -- for transgender individuals.         And

24     so I have read through that web page, and there is an

25     article associated with the information on that web              10:19:42

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 1     page that was published in a scholarly journal.

 2           Q   Okay.     And -- and that -- that would be the --

 3     the -- the 2017 guidelines for care of people with

 4     gender dysphoria and gender incongruence?

 5           A   That is my recollection, yes.                       10:19:57

 6           Q   When did you read that?

 7           A   Sometime in the past year.

 8           Q   So at the time of our past deposition, you

 9     hadn't read that yet; is that correct?

10           A   As I recall, that is correct.                       10:20:14

11           Q   Okay.     But -- but since then, you have read

12     it?

13           A   Yes.     You seem to make a strong suggestion

14     that I should read that.

15           Q   Okay.     Did you learn anything from reading it?   10:20:26

16           A   Yes, I did.

17           Q   What did you learn?

18           A   I learned that the recommendations of the

19     Endocrine Society for testosterone suppression result

20     in much, much lower testosterone concentration than           10:20:39

21     those recommended by world -- or, sorry, by world sport

22     or by the Olympics.

23           Q   Great.     Just to close the loop, can you think

24     of any other source of information or political

25     commentator you've heard and talk about transgender           10:21:05

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 1     youth who you think provides a good description of the

 2     science?

 3                 MR. FRAMPTON:     Objection; form and scope.

 4                 THE WITNESS:     So I've cited a number of papers

 5     in my article -- or, sorry, in my expert declaration.           10:21:25

 6     So I've read those articles of scholars.

 7                 As far -- as far as political commentary, it's

 8     all over the place these days, so it's hard to identify

 9     who has or has not opined on that.

10             Q   All right.     Do you -- I'm going to turn to a     10:21:42

11     new line of questions.        Do you need a break before

12     then?

13             A   Yeah, let's take five.

14             Q   Okay.   Great.

15                 THE VIDEOGRAPHER:       We are off the record at    10:21:59

16     10:22 a.m.

17                 (Recess.)

18                 THE VIDEOGRAPHER:       We are on the record at

19     10:29 a.m.

20                 MR. BLOCK:     Great.                               10:29:11

21     BY MR. BLOCK:

22             Q   I want to go back in time and ask you about

23     the time that you first reached out to ADF on this

24     issue of the participation of transgender athletes.

25                 Do you remember who you contacted at ADF?           10:29:30

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 1          A   I do not remember who I contacted.

 2          Q   And do you remember why you knew that ADF was

 3     the organization to contact?

 4          A   I saw a news clip or information online about

 5     the Soule versus CIAC case, and it identified Alliance      10:29:57

 6     Defending Freedom as representing Selina Soule.

 7          Q   Okay.     And, you know, at the time you first

 8     contacted ADF, had you done any research on the -- the

 9     effects of puberty blockers or gender-affirming

10     hormones on transgender people?                             10:30:19

11          A   Once again, what do you mean by "research"?

12          Q   Have you -- had you read anything on the -- on

13     the physiological effects of gender-affirming care at

14     the time you first reached out to ADF?

15          A   Yes, I had.                                        10:30:39

16          Q   What had you read?

17          A   I had read some articles on the effects of

18     gender-affirming hormone therapy, to use your

19     terminology on that, on various physiological factors,

20     such as muscle size or strength or muscle mass, those       10:30:55

21     types of things.

22          Q   You -- you had already read that research

23     before you reached out to ADF?

24          A   I had read some.

25          Q   Okay.     And had you read that research before    10:31:10

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 1     you saw the news item about the transgender runners in

 2     Connecticut?

 3          A      Yes.

 4          Q      Okay.   So -- so you -- you had previously had

 5     occasion to read research on the effects of                   10:31:26

 6     gender-affirming hormones on muscle mass, and then you

 7     saw the news clip about the runners in Connecticut, and

 8     then you contacted ADF?       That's the chronology of how

 9     it went?

10                 MR. FRAMPTON:    Objection; form.                 10:31:39

11                 THE WITNESS:    Yes, that sounds like a correct

12     timeline.

13     BY MR. BLOCK:

14          Q      Okay.   And what -- what would have prompted

15     you to -- to do any research specifically on the              10:31:48

16     effects of gender-affirming hormones before seeing the

17     news item about transgender people in Connecticut?

18          A      As I had mentioned previously, staying up to

19     date on what the laws are or the rules, I guess would

20     be a more appropriate way to say it, regarding the            10:32:10

21     participation of transgender women in women's sports or

22     trans women in women's sports.        Student questions,

23     asking about that.      Particularly after 2019, when

24     Cecé Telfer won the 400-meter hurdles in Division II,

25     because I had some students that were there and had           10:32:35

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 1     questions.

 2             Q   What do you mean, that were there?

 3             A   I have students that are student athletes that

 4     compete in Division II women's track and field and were

 5     at that national championship where Cecé Telfer won the      10:32:53

 6     400-meter hurdles.

 7             Q   And were those students upset that Cecé Telfer

 8     had won?

 9                 MR. FRAMPTON:    Form.

10                 THE WITNESS:    The students had questions and   10:33:05

11     many of them stated questions such as how can that be

12     fair.

13     BY MR. BLOCK:

14             Q   So were they upset?

15                 MR. FRAMPTON:    Same objection.                 10:33:20

16                 THE WITNESS:    I guess I would need more

17     clarification on "upset."

18     BY MR. BLOCK:

19             Q   So they didn't think it was fair?

20             A   That would be correct.                           10:33:32

21             Q   And so in response to those student questions,

22     you -- you started doing research; is that right?

23             A   I had been looking it prior to the student

24     questions, but in response to the student questions, I

25     suppose you could say I tried to dig deeper.                 10:33:52

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 1          Q    Okay.   So what -- what -- how had you been

 2     looking into it before the student questions?

 3          A    Before the student questions, I would look at

 4     the policies as put out by the NCAA, put out by the

 5     N -- IOC and tried to look at research that informed        10:34:08

 6     those policies by searching Google Scholar, PubMed,

 7     reading news articles about it and see if they had

 8     links or information on research.

 9          Q    And what about Cecé's participation did the

10     students think were unfair?                                 10:34:26

11          A    Cecé is a biological male and was competing in

12     women's sports.

13          Q    And why did they think that was unfair?

14          A    They thought it was unfair for a biological

15     male to compete in women's sports.                          10:34:43

16          Q    And when you say you did earlier research on

17     NCAA policy and the IOC, you know, what had prompted

18     you to do that research?

19          A    It's an important topic in sports, in my

20     field.   It's possible that the textbook I was using at     10:35:03

21     the time had a statement on it.

22          Q    Had you done any research on the participation

23     of Caster Semenya in the IOC?

24          A    I have read some news articles on

25     Caster Semenya and probably heard some things on            10:35:20

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 1     podcasts about Caster Semenya.

 2             Q   Okay.   But you didn't do any research about

 3     that?

 4             A   I -- again, more than news articles, I cannot

 5     recall a specific article that said this was                     10:35:37

 6     Caster Semenya's medical condition in the scholarly

 7     literature.

 8             Q   Okay.   But you were more interested in doing

 9     research on transgender athletes than on athletes like

10     Caster Semenya; is that fair?                                    10:35:54

11                 MR. FRAMPTON:    Objection; form.

12                 THE WITNESS:    That would be fair to say.

13     BY MR. BLOCK:

14             Q   Okay.   And why is that?

15             A   We are dealing with separate issues.                 10:36:06

16     Disorders of sexual development are not the same as a

17     transgender individual.

18             Q   And so why were you more interested in the

19     participation -- researching the participation of

20     transgender individuals as opposed to individuals with           10:36:20

21     DSDs?

22                 MR. FRAMPTON:    Same objection.

23                 THE WITNESS:    The policies seem to, if I

24     recall, state "transgender individuals."           The student

25     questions were about transgender individuals.            The     10:36:35

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 1     stuff I was seeing in the news was about transgender

 2     individuals.

 3     BY MR. BLOCK:

 4          Q   When did the topic of the participation of

 5     transgender individuals in -- in sports first come to       10:36:45

 6     your attention?

 7          A   That would be very challenging to say, but I

 8     would say sometime after 2004.

 9          Q   Why sometime after 2004?

10          A   That seems to be the first IOC policy I            10:37:04

11     remember that addressed transgender individuals.

12          Q   And when did a transgender individual first

13     participate in the Olympics?

14          A   I don't know.

15          Q   You have no idea?                                  10:37:23

16          A   No.

17          Q   Do you know if it was, like, before 2010?

18          A   I don't know.

19          Q   Okay.    You have no -- do you have any

20     knowledge or recollection of any transgender people         10:37:45

21     participating in the Olympics?

22          A   Would you consider the participation of

23     Bruce Jenner to be a transgender individual

24     participating in the Olympics?

25          Q   About a -- a -- a transgender person competing     10:38:01

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 1     post transition.

 2          A   So I do know of someone that has done that.

 3          Q   Who?

 4          A   Laurel Hubbard.

 5          Q   Okay.     Anyone before her?                       10:38:19

 6          A   I cannot recall anyone before that.

 7          Q   Okay.     When did you first -- when did you

 8     first become -- well, let me -- I'll -- I'll -- I'll

 9     come back to that.

10              When -- when is the first time a transgender       10:38:42

11     person -- a transgender woman competed in women's

12     tennis events?

13          A   I -- I don't know.

14          Q   You -- you have no idea?

15          A   There's something I seem to recall of a            10:39:05

16     situation that was in the '70s or '80s, but I can't

17     recall off the top of my head more specifics.

18          Q   Does the name Renée Richards refresh your

19     recollection about it?

20          A   So as you mention that, yes, the name              10:39:24

21     Renée Richards playing tennis -- again, I couldn't, at

22     this point in time, put it in a timeframe other than I

23     think it was probably before I was even in college.

24          Q   Okay.     And when did you first become aware

25     that that had happened?                                     10:39:40

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 1          A   Sometime in the past 15 or so years.          In my

 2     readings, I remember seeing something about

 3     Renée Richards.

 4          Q   Okay.    And did the readings -- what did the

 5     readings say about her?                                        10:39:55

 6          A   I can't recall at this point in time.

 7          Q   Okay.    And did you have any feelings about

 8     whether it was fair for her to be participating in

 9     women's tennis in the '70s?

10              MR. FRAMPTON:     Objection; form and scope.          10:40:06

11              Go ahead.

12              THE WITNESS:     I -- I would, once again, go

13     back to my statement that if Renée Richards was a

14     biological male, then biological males have advantages

15     over biological females in sports.                             10:40:23

16     BY MR. BLOCK:

17          Q   Yeah, but I'm just -- I'm asking about, sir,

18     when you formed an opinion about -- about

19     Renée Richards, if you do -- if you did form an opinion

20     about Renée Richards, like when you -- when you first          10:40:35

21     heard about it, did you have an opinion about it being

22     fair or unfair?

23              MR. FRAMPTON:     Same objection.

24              MR. TRYON:     Objection.

25              THE WITNESS:     So I -- I think I answered that      10:40:46

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 1     when I stated that biological males should not be

 2     competing in women's sports.

 3     BY MR. BLOCK:

 4           Q   Okay.    So -- but you had that opinion the

 5     first time you heard about Renée Richards; right?            10:40:58

 6               MR. FRAMPTON:    Same objections.

 7               THE WITNESS:    Again, where I can't put in a

 8     specific timeframe when I first heard about

 9     Renée Richards, I can't say if Renée Richards

10     influenced my opinion one way or another or what my          10:41:15

11     opinion was before reading that article.

12     BY MR. BLOCK:

13           Q   So did you have an opinion about the

14     participation of transgender athletes in women's sports

15     before you did further research on the topic?                10:41:32

16               MR. FRAMPTON:    Objection; form and scope.

17               THE WITNESS:    Well, as long as I can recall,

18     sports has been separated.     So you have sports for men,

19     meaning biological men, and sports for women, meaning

20     biological women, and that separation has been there.        10:41:51

21     Again, as long as I can recall, my knowledge of anatomy

22     and physiology, since I have been involved in study of

23     anatomy and physiology as a student, indicates there

24     are differences.

25     ///

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 1     BY MR. BLOCK:

 2          Q   Okay.     And so -- so that was your -- that was

 3     your sort of baseline assumption before you conducted

 4     research, that -- that it would be unfair to allow a

 5     transgender woman to participate in women's sports?         10:42:16

 6              MR. FRAMPTON:     Objection --

 7              MR. TRYON:     Objection.

 8              MR. FRAMPTON:     -- form.

 9              THE WITNESS:     I think it would be fair to say

10     that based on the experience that sports have been          10:42:26

11     separated by sex and knowing of the differences between

12     biological males and biological females, there's a --

13     they should be separated on sex.

14     BY MR. BLOCK:

15          Q   All right.     Just going to -- going on to a --   10:42:47

16     a new topic now.

17              In your report, you say that even before

18     puberty, prepubertal boys outperform prepuberto --

19     prepubertal girls in athletic competition; right?

20          A   Yes, I state that in my report.                    10:43:08

21          Q   Okay.     And you -- and you attribute those

22     differences in performances to biological factors

23     instead of social ones?

24              MR. FRAMPTON:     Objection; form.

25              You can --                                         10:43:17

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 1               THE WITNESS:   Yes, biological factors are the

 2     primary reason that boys outperform girls in athletic

 3     events.

 4     BY MR. BLOCK:

 5          Q    Yeah, so -- but for prepubertal boys and            10:43:29

 6     prepubertal girls, you attribute their difference in

 7     performance to biological factors?

 8          A    That is correct.

 9          Q    Okay.   What biological factors provide an

10     advantage to prepubertal boys over prepubertal girls?         10:43:48

11          A    Boys have more lean body mass, which includes

12     more lean muscle mass, than girls.        There are perhaps

13     other factors that contribute to that more lean body

14     mass and more muscle mass.

15          Q    What does that -- what does that mean, there        10:44:09

16     other factors that contribute to the more lean body

17     mass and lean muscle mass?

18          A    Well, having a Y chromosome compared to being

19     XX chromosome, there are a multitude of genes in

20     muscles that respond to the Y chromosome differently          10:44:30

21     than they do to X chromosomes.

22          Q    And is there any research on how they respond

23     before puberty?

24          A    The research is focused on the fact that there

25     is a difference in lean body mass before puberty.             10:44:50

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 1           Q   Okay.    So besides --

 2           A   To the best of my knowledge.

 3           Q   Sorry, I didn't mean to cut you off.

 4               Besides lean body mass and lean muscle mass,

 5     are there any other physiological differences connected     10:45:01

 6     to athletic performance between boys and girls --

 7               MR. FRAMPTON:    Same objection.

 8     BY MR. BLOCK:

 9           Q   -- before puberty?

10           A   Yes.    There are differences in overall growth   10:45:12

11     between boys and girls, as evidenced by the CDC and the

12     World Health Organization having separate growth charts

13     for both male and female fetuses and for boys and

14     girls.

15           Q   But -- but in terms of physiological              10:45:25

16     characteristics associated with athletic performance,

17     what other physiological differences besides 10 percent

18     difference in lean body mass and lean muscle mass?

19               MR. FRAMPTON:    Objection; form:

20               THE WITNESS:    I would say -- that is the one    10:45:43

21     that we will focus on because that is the one that has

22     been fairy well demonstrated.      There has to be

23     something else that contributes that lean body mass

24     biologically.

25     ///

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 1     BY MR. BLOCK:

 2             Q    Okay.   Do you -- but you can't think of any

 3     other measurable factor besides lean body mass that is

 4     tied to athletic performance advantages for prepubertal

 5     boys over prepubertal girls; right?                             10:46:21

 6                  MR. FRAMPTON:    Objection; form.

 7                  Go ahead.

 8                  THE WITNESS:    Well, the paper by Eiberg that's

 9     cited in my report demonstrated differences in VO2 max,

10     even when controlled for lean body mass, it seemed like         10:46:33

11     the boys' VO2 max was higher.

12     BY MR. BLOCK:

13             Q    Okay.   Did the McManis article also confirm

14     those findings?

15             A    I would need to look at the McManis article to     10:46:46

16     refer.      I cannot remember if McManis -- it was written

17     after Eiberg, I think, but I cannot remember if they

18     cite Eiberg.

19             Q    Okay.   Well, we might -- we might come back to

20     that.                                                           10:47:33

21                  The difference in lean body mass and lean

22     muscle mass that you refer to in your report is a

23     10 percent difference?

24                  MR. FRAMPTON:    Objection; form.

25                  Go ahead.                                          10:47:40

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 1                THE WITNESS:     The 10 percent number is stated

 2     in the article by McManis.

 3     BY MR. BLOCK:

 4          Q     Do you have any other knowledge of the

 5     difference besides 10 percent?                                10:47:49

 6          A     I cite several articles demonstrating

 7     difference in body composition in children prepuberty.

 8     I would need to look at those articles to either

 9     calculate the difference myself or see if they specify

10     the difference.                                               10:48:05

11          Q     But in your report, you -- you quoted the

12     10 percent figure; correct?

13          A     That is correct.

14          Q     Okay.   If you could turn to your report, which

15     I believe is -- is Exhibit 46 -- 64.          I got that      10:48:24

16     flipped.

17          A     All right.

18          Q     Thank you.     I'm going to point you to a

19     specific paragraph in a second.

20                Paragraph 42 on page 17.                           10:49:27

21          A     Sorry, the page numbering on the document is

22     different than the page number that Acrobat --

23          Q     No.

24          A     -- is taking me to, so it will take me a

25     second, sorry.                                                10:49:59

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 1          Q   Sure thing.

 2          A   All right.     Paragraph 42.

 3          Q   You say (as read):

 4              "No -- No single physiological

 5              characteristic alone accounts for all              10:50:05

 6              or any one of the measured advantages

 7              that men enjoy in athletic

 8              performance."

 9              Do you see that?

10          A   Yes, I do.                                         10:50:13

11          Q   Okay.   So does a difference in lean body mass

12     account for all or any one of the measured advantages

13     that men enjoy in athletic performance?

14          A   Lean body mass is a major factor that provides

15     men -- males with athletic advantages over females.         10:50:34

16          Q   Does it -- does it alone account for all or

17     any one of the measured advantages that men enjoy in

18     athletic performance?

19              MR. FRAMPTON:     Objection; form.

20              THE WITNESS:     I think I've answered your        10:50:57

21     question by stating it's a major factor, but not the

22     only factor.

23     BY MR. BLOCK:

24          Q   Is -- are there any studies about the -- a

25     difference -- about the effect of a 10 percent              10:51:04

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 1     difference in lean body mass on athletic performance?

 2          A      I'm going to say yes, I'm sure there's studies

 3     that are correlating lean body mass with performance.

 4          Q      But my question is a 10 percent difference in

 5     lean body mass.                                               10:51:26

 6                 MR. FRAMPTON:    Objection; form.

 7                 THE WITNESS:    Again, there are -- I -- I will

 8     say there are studies that are correlating percent lean

 9     body mass with athletic performance in all sorts of

10     different events, and so that would include a                 10:51:42

11     10 percent difference, along with other differences,

12     probably.

13     BY MR. BLOCK:

14          Q      You -- you don't cite anything in your report

15     that purports to study the effect of a -- a 10 percent        10:51:51

16     difference in lean body mass in athletic performance,

17     do you?

18                 MR. FRAMPTON:    Same objection.

19                 THE WITNESS:    Can you clarify what you're

20     trying to ask me there?                                       10:52:05

21     BY MR. BLOCK:

22          Q      In your report, do you cite any studies

23     reflecting what affect a difference in -- I'll say that

24     again, sorry.

25                 Do you, in your report, cite any studies          10:52:21

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 1     measuring the effect of a 10 percent difference in lean

 2     body mass on athletic performance?

 3              MR. FRAMPTON:      Objection; form.

 4              THE WITNESS:      I don't recall citing any

 5     studies that specifically identify how much a               10:52:35

 6     10 percent advantage enhances performance.

 7     BY MR. BLOCK:

 8          Q   Okay.    Thank you.

 9              Are you aware of any study proving that

10     differences in athletic performance between prepubertal     10:53:01

11     boys and girls are caused by biological factors and not

12     social ones?

13              MR. FRAMPTON:      Objection; form.

14              THE WITNESS:      From a scientific standpoint,

15     science does not prove.                                     10:53:19

16     BY MR. BLOCK:

17          Q   Science does not prove what?

18          A   Science doesn't prove anything from a

19     scientific standpoint.

20          Q   Well, do you have -- are there any articles        10:53:31

21     that purport to exclude social factors as a cause of

22     difference in performance between prepubertal boys and

23     prepubertal girls?

24          A   Yes.    Eiberg.

25          Q   How does that purport to exclude social            10:53:47

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 1     factors?

 2          A     So Eiberg measured six- to seven-year-old boys

 3     and girls, very objectively measured physical activity

 4     in those children, measured very objectively VO2 max in

 5     those children and body composition in those children       10:54:09

 6     and found that even for the children of the same amount

 7     of physical activity, boys have higher fitness.

 8          Q     And what -- what do you mean, even for

 9     children of the same physical activity?

10          A     So boys and girls that engage in the same        10:54:24

11     amount of physical activity -- running, jumping,

12     whatever constitutes physical activity -- the boys had

13     higher fitness.

14          Q     So -- but does this mean physical activity in

15     terms of what was measured, like for a particular           10:54:40

16     event, or -- or physical activity in all aspects of

17     their life?

18          A     This was physical activity as measured by an

19     accelerometer which measures the quantity and intensity

20     of physical activity during the time period the             10:54:54

21     accelerometer is worn.

22          Q     Okay.   So can you just explain to me how that

23     can give you information about, you know, whether these

24     boys and girls, as a general matter, like, were equally

25     physically active, like, outside of the laboratory?         10:55:16

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 1          A   Sure.     So an accelerometer is a small device

 2     that is typically worn on your belt, usually on your

 3     right hip, aligned over your knee, and then that

 4     accelerometer, because of the scientific engineering --

 5     okay, I'll call it voodoo magic, but that's not really      10:55:37

 6     the right way to say it.     The way the accelerator

 7     works, it measures the movement of the body, and then

 8     it quantifies that movement as far as intensity.

 9              And then after your study period, you have the

10     person wear the accelerometer for the period of time        10:55:54

11     you want, typically free living, you put it on the

12     children and ask them to wear it for a week or two

13     weeks or however long, then you come back, you connect

14     the accelerometer to the computer, it downloads the

15     information from the accelerometer, gives you what are      10:56:07

16     known as counts.     And again, you can quantify those

17     counts as sedentary, light, moderate or vigorous

18     intensity physical activity.

19              So between the two, you get an amount of

20     physical activity, an intensity of physical activity        10:56:22

21     for the given time period of study.

22          Q   And so what -- what this study found is that

23     people who were similarly -- like, just active during

24     the period in which they were wearing this device, the

25     boys were more physically fit than the girls?               10:56:45

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 1          A      Yes, for boys and girls with the same quantity

 2     of physical activity, same intensity, as equal as

 3     possible could be measured, the boys were more fit than

 4     the girls.

 5          Q      And how was fitness measured?                           10:57:02

 6          A      Fitness was measured for body composition and

 7     VO2 max.

 8          Q      Got it.     Did the study measure any athletic

 9     performances?

10          A      This was not a study of competitive athletic            10:57:23

11     performances.

12          Q      Got it.     So it just -- it was about body

13     composition, meaning like percentage of fat?              Is that

14     what you meant by "body composition"?

15          A      That would be a measure of how much of your             10:57:40

16     body is fat, how much of your body is lean body mass.

17          Q      Got it.     And -- and VO2 is the other thing

18     measured?

19          A      So VO2 max is maximal aerobic capacity, which

20     accounts for 30 to 40 percent of the performance in                 10:57:55

21     endurance-type activities.

22          Q      Okay.     So if what's being measured is the

23     percentage of lean body mass and we already know

24     that -- that prepubertal boys, on average, would have

25     10 percent more lean body mass than -- than girls, what             10:58:12

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 1     does the study add to that, in terms of translating

 2     that into an athletic advantage?

 3              MR. FRAMPTON:    Objection; form.

 4              THE WITNESS:    What the study is doing is

 5     quantifying and clarifying the differences between boys     10:58:29

 6     and girls that -- well, for the same amount of physical

 7     activity, boys have a higher VO2 max than girls.

 8          Q   Anything else besides the VO2 max?

 9              MR. FRAMPTON:    Objection; form.

10              THE WITNESS:    And again, body composition,       10:58:51

11     which, again, lean body mass is another determinant of

12     potential for athletic performance and performance in

13     sorts.

14     BY MR. BLOCK:

15          Q   But -- but that's just confirming something        10:59:02

16     that we already know, that -- that prebertal boys --

17     prepubertal boys have, on average, 10 percent more lean

18     body mass?

19              MR. FRAMPTON:    Objection; form.

20              THE WITNESS:    If I recall, the study also        10:59:17

21     validated that for the same body composition, the boys

22     had a higher VO2 max.    I would need to refer to the

23     study to verify if that was in there.

24          Q   Okay.   Anything else that -- that you think

25     purports to exclude social causes as a difference in        10:59:41

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 1     measured athletic performance --

 2              MR. HAMPTON:    Objection; form.

 3     BY MR. BLOCK:

 4          Q   -- between prepubertal boys and prepubertal

 5     girls?                                                      10:59:56

 6              MR. FRAMPTON:    Sorry, same objection.

 7              Go ahead.

 8              THE WITNESS:    So again, those papers that I

 9     cite showing the differences in body composition

10     between prepubertal boys and prepubertal girls because      11:00:03

11     lean body mass is a biological factor.

12     BY MR. BLOCK:

13          Q   Right.   But besides body composition, I'm

14     talking about athletic performance.       And is there

15     anything else that purports exclude social causes for       11:00:17

16     differences in athletic performance as opposed to body

17     composition?

18              MR. FRAMPTON:    Same objection.

19              THE WITNESS:    To the best of my knowledge,

20     there are no studies quantifying the effects of social      11:00:30

21     causes on differences in athletic performance or

22     physiological factors of athletic performance between

23     boys and girls.

24     BY MR. BLOCK:

25          Q   In preparation for your report, did you            11:00:41

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 1     conduct original research on the athletic performance

 2     of prepubertal boys and prepubertal girls?

 3            A    I have --

 4                 MR. FRAMPTON:     Objection; form.

 5                 Go ahead.                                          11:00:59

 6                 THE WITNESS:     I have downloaded, as stated in

 7     my report, data from Athletic.net, looking at the

 8     performance of seven-and eight-year-old children, of

 9     nine- and ten-year-old children, which are presumed to

10     be prepubertal, and not just the numbers in the report,        11:01:14

11     but other data, I have analyzed it statistically, and

12     the boys outperform the girls in all of the track

13     events that I analyzed.

14     BY MR. BLOCK:

15            Q    Have you tried to have your analysis published     11:01:25

16     anywhere?

17            A    The analysis is being presented at UNK Student

18     Research Day Thursday of next week.           After

19     presentation, the student author and I will probably

20     explore publication opportunities.                             11:01:39

21     BY MR. BLOCK:

22            Q    All right.     But you haven't so far?

23            A    No, I have not submitted it for publication

24     yet.

25            Q    Okay.   You've been writing on this topic in       11:01:46

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 1     the form of white papers and expert reports for over

 2     two years now; right?

 3          A   That is correct.

 4          Q   Have you ever attempted to submit any of your

 5     analysis for publication?                                   11:02:02

 6          A   I have not submitted these papers for

 7     publication.

 8          Q   But your -- have you ever, like, tried to

 9     submit your research on this topic in -- in general for

10     publication?                                                11:02:18

11              MR. FRAMPTON:     Objection; form.

12              THE WITNESS:     So in general, do you mean

13     differences between boys and girls?

14     BY MR. BLOCK:

15          Q   I mean on the participation of transgender         11:02:27

16     girls and women.

17          A   So as stated in my declaration, I have the

18     Physiology Educator (sic) Community of Practice blog

19     post that I have written, that was reviewed prior to

20     being published on the web, and I have the presentation     11:02:43

21     I made at the American Physiological Society Sex and

22     Gender conference.

23          Q   Okay.     Anything else?

24          A   Those are the only two that I can remember

25     that I have put out for public dissemination.               11:02:58

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 1          Q     Okay.   And were -- were either of those two

 2     examples peer reviewed?

 3          A     They were both peer reviewed.

 4          Q     Okay.   Have you had -- well, we'll look at --

 5     we'll look at those in -- in a minute, but there's no       11:03:16

 6     other example of you attempting to submit work on this

 7     topic to a peer-reviewed publication?

 8          A     I have reached out to a journal editor about a

 9     possible letter to the editor, but the journal said

10     they don't publish letters to the editor.                   11:03:40

11          Q     Okay.   Why didn't you attempt to have your

12     white paper, you know, published by a peer-reviewed

13     journal?

14          A     Well, quite honestly, because Emma Hilton,

15     Tommy Lundberg, Joanna Harper and FIMS have all already     11:03:59

16     published on this and have done a pretty good job

17     reviewing the literature, so I'm not sure that another

18     review of the literature is going to add to the

19     scholarly knowledge.

20          Q     What did the letter to the editor that you       11:04:12

21     wanted to write say?

22          A     I just asked the editor if they would accept a

23     letter regarding the participation of trans women in

24     women's sports.

25          Q     What publications was that?                      11:04:27

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 1          A   I cannot remember if it was Medicine & Science

 2     in Sports & Exercise or the Journal of Strength and

 3     Conditioning Research.

 4          Q   Okay.    And did you say what the letter would

 5     opine about?                                                11:04:43

 6          A   No.

 7              MR. FRAMPTON:     Objection; form.

 8              THE WITNESS:     Sorry.

 9              I just asked if they would accept a letter on

10     the topic.                                                  11:04:52

11     BY MR. BLOCK:

12          Q   Okay.    Are you aware of any studies that

13     specifically examine the athletic performance of

14     prepubertal transgender girls?

15              MR. FRAMPTON:     Objection; form.                 11:05:07

16              THE WITNESS:     I am not aware of any studies

17     evaluating the performance of prepubertal biological

18     gir- -- biological boys competing in girls' sports.

19     BY MR. BLOCK:

20          Q   Okay.    So let's -- we agreed before that if I    11:05:18

21     say the term, you know, "trans girls," you understand

22     what I'm saying; right?

23          A   Yes.    I just am speaking to make sure I'm

24     clear to myself in what I'm saying.

25          Q   Okay.    So, you know, I -- I understand that      11:05:31

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  1    there's physical fitness data on -- on prepubertal boys

  2    versus prepubertal girls, and my question is, are you

  3    aware of any data that specifically breaks out

  4    prepubertal trans girls and reports on their

  5    performance?                                                 11:05:53

  6         A      I am not aware of any data analyzing trans

  7    girls.

  8         Q      Okay.   So are you aware of any data comparing

  9    the performance of prepubertal trans girls to

 10    prepubertal cis girls?                                       11:06:12

 11         A      I am not aware of any research on that topic.

 12         Q      Okay.   If you could turn to page -- sorry --

 13    paragraph 114 of your report again.

 14         A      Yes, paragraph 114, page 37.

 15         Q      Okay.   I have to pull it up, too.               11:06:38

 16                All right.   And it -- it continues from page

 17    37 to 38.     You say (as read):

 18                "While boys exhibit some performance

 19                advantages even before puberty, it is

 20                both true and" --                                11:06:52

 21                Sorry, my -- my PDF -- I'll read this again

 22    for the record.      I apologize.   (As read):

 23                "While boys exhibit some performance

 24                advantages even before puberty, it is

 25                both true and well known to common               11:07:03

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  1              experience that the male advantage

  2              increases rapidly, and becomes much

  3              larger, as boys undergo puberty and

  4              become men.     Empirically, this can be

  5              seen by contrasting the modest                    11:07:17

  6              advantages reviewed immediately above

  7              against the large performance

  8              advantages enjoyed by men that I have

  9              detailed in Section II."

 10              Did I read that right?                            11:07:26

 11         A    It sure seemed like you read it word for word.

 12         Q    All right.     Thanks, I did my best.

 13              So even though you contend that boys have a

 14    performance advantage before puberty, you believe those

 15    advantages are modest when compared with the large          11:07:41

 16    performance advantages resulting from puberty?

 17              MR. FRAMPTON:     Objection; form.

 18              THE WITNESS:     Yes, they are smaller than the

 19    advantages that occur after puberty.

 20    BY MR. BLOCK:                                               11:07:55

 21         Q    Okay.   And -- and "modest" was your word;

 22    right?

 23         A    Yes, "modest" was my word.

 24         Q    Okay.   And do you think it's unfair for

 25    prepubertal boys and girls in elementary school to --       11:08:11

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  1    to play on coed or mixed teams?

  2              MR. FRAMPTON:    Objection; form, scope.

  3              THE WITNESS:    Before puberty, boys have

  4    athletic advantages compared to girls.

  5    BY MR. BLOCK:                                                11:08:29

  6         Q    Do you think it's unfair for prepubertal boys

  7    and girls in elementary school to play on coed or mixed

  8    teams?

  9              MR. FRAMPTON:    Same objections.

 10              THE WITNESS:    I really haven't been retained     11:08:38

 11    as an expert witness to state fair or unfair in this

 12    matter as much as to provide the information and allow

 13    the policymakers to determine fair versus unfair.

 14    BY MR. BLOCK:

 15         Q    Okay.   So you're not, in your expert report,      11:08:50

 16    providing an opinion on whether it's fair for trans

 17    girls and women to compete on women's sports teams; is

 18    that right?

 19              MR. FRAMPTON:    Objection; form and scope.

 20              Go ahead.                                          11:09:05

 21              THE WITNESS:    In my expert report, I have done

 22    my best to focus on the known biological differences

 23    between males and females, how those known biological

 24    differences gives male an athletic advantage and how

 25    that athletic advantage is not erased by a transgender       11:09:17

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  1    identity or the use of puberty blockers, gender --

  2    transgender hormones.

  3    BY MR. BLOCK:

  4            Q   Okay.   So you don't provide an expert opinion

  5    on whether the goals of fairness, safety and                    11:09:30

  6    transgender inclusion are reconcilable?

  7                MR. FRAMPTON:    Objection; form.

  8                THE WITNESS:    If I recall correctly, I think I

  9    quote a source or two that state on that or perhaps

 10    paraphrase a source or two on what has been stated on           11:09:49

 11    that.

 12    BY MR. BLOCK:

 13            Q   Okay.   So -- so just to clarify the scope of

 14    the opinions you're offering, you are not presenting an

 15    expert opinion on whether it is fair or unfair for              11:09:57

 16    girls and women who are transgender to participate on

 17    girls and women's sports teams; correct?

 18                MR. FRAMPTON:    Objection; form.

 19                THE WITNESS:    I have tried to focus on the

 20    biological differences and how those differences                11:10:16

 21    provide male advantages and how those differences are

 22    not erased due to transgender identity or

 23    gender-affirming hormone therapy.         I have tried to not

 24    give an opinion on fair versus unfair.

 25    ///

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  1    BY MR. BLOCK:

  2          Q    Okay.   And, you know, I apologize for being

  3    persnickety in the phrasing of the question, but I want

  4    to make sure that -- that -- that you're not answering

  5    about what you're focusing on.       I want to know whether   11:10:45

  6    any evidence is going to be submitted in the form of an

  7    expert opinion by you regarding fairness of girls and

  8    women who are transgender participating in -- in girls

  9    and women's sports.

 10               So I'm just going to ask it again, and I would     11:11:05

 11    just appreciate a "yes" or "no" answer, if you're

 12    capable of giving it.

 13               Are you providing an expert opinion in this

 14    case regarding whether it is fair or unfair for girls

 15    and women who are transgender to compete on girls and         11:11:18

 16    women's sports teams?

 17               MR. FRAMPTON:    Objection; form, scope.

 18               Go ahead.

 19               THE WITNESS:    I don't think I can answer that

 20    as a yes-or-no question because the information               11:11:30

 21    demonstrates that there's an advantage for biological

 22    males.    And so then we come to a question of fair,

 23    which is a very challenging metaphysical question that

 24    I would prefer others address.

 25    ///

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  1    BY MR. BLOCK:

  2         Q    So you -- you are not an expert on whether it

  3    is fair or unfair for girls and women who are

  4    transgender to participate on girls and women's sports

  5    teams?                                                       11:12:01

  6              MR. FRAMPTON:    Objection; form.

  7              THE WITNESS:    I'm not a sports philosopher in

  8    whom that field would fall into.

  9    BY MR. BLOCK:

 10         Q    Right.   Therefore, you are not providing an       11:12:15

 11    expert opinion on whether it is fair or unfair for

 12    girls and women who are transgender to participate on

 13    girls and women's sports teams?

 14              MR. FRAMPTON:    Same objection.

 15              THE WITNESS:    As I've said, I've done my best    11:12:25

 16    to try and stick to the data and not give my opinion on

 17    what is fair or unfair.

 18    BY MR. BLOCK:

 19         Q    I'm sorry, Dr. Brown, this -- this really

 20    should be like a -- a simple question.        Because when   11:12:35

 21    you say "focus" and "I've tried to," that -- that's

 22    just not answering my question.       I just really need a

 23    question (sic) on whether evidence is going to be

 24    submitted in this case, from you, in the form of an

 25    expert opinion under Federal Rules of Evidence 702 on        11:12:50

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  1    whether or not it is fair or unfair for girls and women

  2    who are transgender to participate.

  3              Regardless of whether it's your focus,

  4    regardless of whether you're trying -- what you're

  5    trying or not trying to do, I just need a "yes" or "no"       11:13:07

  6    answer on whether you are providing an expert opinion

  7    on the topic of fairness.

  8              MR. FRAMPTON:     Same objection.

  9              THE WITNESS:     So would you allow me a few

 10    minutes to review the conclusions to my declaration?          11:13:21

 11    Because I don't want to say something that is

 12    contradictory to what I have said in what is submitted

 13    as an expert declaration.

 14              MR. BLOCK:     All right.    We can -- we can go

 15    off the record, if you would like to do that right now.       11:13:38

 16              Does counsel want to go off the record?

 17              MR. FRAMPTON:     No, we don't need to go off the

 18    record.   If he wants to review something, he can review

 19    it.

 20              MR. BLOCK:     Well, I'm not taking time out from   11:13:47

 21    the deposition for him to review what -- what his

 22    expert opinions are in -- in this case.

 23              So, you know, if he wants to do it during a

 24    break, you know, you're welcome to, but you're not

 25    using my deposition time to answer a simple question.         11:14:00

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  1              I mean, this witness should know what he's

  2    providing an expert opinion on, so --

  3              MR. FRAMPTON:     And I think he's told you about

  4    three times now, but again, I don't need to argue that

  5    on the record.                                                11:14:13

  6    BY MR. BLOCK:

  7         Q    But you know you're not providing an expert

  8    opinion on whether it's fair or unfair for prepubertal

  9    girls and boys in elementary school to play on coed or

 10    mixed sports teams?                                           11:14:28

 11         A    I think I've already answered that question

 12    with my statement about focusing on what the science is

 13    saying on who has advantages.

 14         Q    All right.     Are you qualified to offer an

 15    expert opinion on fairness?                                   11:14:39

 16              MR. FRAMPTON:     Objection; form.

 17              THE WITNESS:     Who is a qualified expert to

 18    offer an opinion on fairness?

 19    BY MR. BLOCK:

 20         Q    I don't know.     Are you?                          11:14:53

 21              MR. FRAMPTON:     Same objection.

 22              Go ahead.

 23              THE WITNESS:     I think I can offer fairness as

 24    far as my understanding of what the policies and

 25    procedures are that are set to determine what is fair         11:15:08

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  1    in sports.

  2    BY MR. BLOCK:

  3            Q   Your personal opinion; right?

  4                MR. FRAMPTON:    Same objection.

  5                THE WITNESS:    No.   For instance, there are a   11:15:27

  6    lot of policies that specify the -- that use of

  7    performance-enhancing substances are unfair, in which

  8    that is something that I would teach in my sports -- my

  9    sport nutrition class.       Since I'm teaching it in a

 10    class, I've been judged by my peers to be an expert on        11:15:41

 11    that.

 12    BY MR. BLOCK:

 13            Q   Okay.   But are you qualified to offer an

 14    expert opinion on whether it's fair or unfair for girls

 15    and women who are transgender to compete in women's           11:15:50

 16    sports?

 17                MR. FRAMPTON:    Same objection.

 18                THE WITNESS:    Am I qualified?     Well, the

 19    policies state that it is not fair.          And so if I am

 20    following the policy, I suppose I am an expert in that.       11:16:02

 21    BY MR. BLOCK:

 22            Q   I don't understand what that means.

 23            A   So when I teach in my classes, in my field, in

 24    my expertise, quite often we discuss and teach about

 25    the policies on what is fair participation or unfair          11:16:20

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  1    participation.     Since I'm teaching it and I'm judged by

  2    my peers as an expert in it, then I would say I can

  3    give an expert opinion on it.

  4         Q    Who -- who are -- who -- who judges you as

  5    quali- -- what peers judge you as qualified to -- to         11:16:40

  6    give an expert opinion on whether it's fair for girls

  7    and women who are transgender to compete in girls and

  8    women's sports?

  9         A    Well, my -- again, I've been accepted by my

 10    peers as an expert to present on this topic, on the          11:16:59

 11    participation and the physiological effects of

 12    transgender individuals.

 13         Q    Right.    My question was about fairness.

 14              Have you been -- who, among your peers, have

 15    said that you are qualified to opine on the fairness of      11:17:16

 16    the participation of girls and women who are

 17    transgender in -- in girls and women's sports?

 18         A    My colleagues at the university I work at,

 19    administrators at the university I work at, they honor

 20    my opinion.                                                  11:17:35

 21         Q    I thought that your opinion in this matter

 22    just reflects your own views, not the views of the

 23    university; is that right?

 24         A    That is correct.

 25         Q    Okay.    So what do you mean by -- when you say    11:17:43

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  1    that the university honors your opinion?

  2            A   They allow me to express my opinion, and they

  3    recognize that it falls within my discipline and my

  4    field and the scope of my professional expertise.

  5            Q   How did they recognize that?                     11:18:03

  6            A   They've told me.

  7            Q   Who has told you?

  8            A   The athletic director, the -- one of the

  9    senior vice chancellors, I can't remember her full

 10    title, another one of the vice chancellors for academic      11:18:24

 11    and student affairs.

 12            Q   Has any --

 13            A   Along -- along with some of my colleagues in

 14    the department.

 15            Q   Did the university tell you to testify in this   11:18:32

 16    case?

 17            A   The university did not tell me to or not to

 18    testify in this case.

 19            Q   Okay.   Did any of the -- your -- your

 20    colleagues that honor your opinions, are any of them         11:18:43

 21    experts in fairness?

 22                MR. FRAMPTON:    Objection; form.

 23                THE WITNESS:    Well, one of them is a -- I

 24    guess his area would be sports sociology and sports

 25    psychology and does a lot of work in the area of             11:19:03

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  1    policies and procedures for sports, so I would say that

  2    he's probably an expert in fairness.

  3    BY MR. BLOCK:

  4          Q   Have you been invited by any sort of

  5    professional policymaking organizations to participate       11:19:15

  6    in crafting policies?

  7          A   No, I have not.

  8          Q   Okay.   Do you know whether West Virginia has

  9    any laws or policies regarding sex-separated sports for

 10    prepubertal children?                                        11:19:43

 11              MR. FRAMPTON:     Objection; form.

 12              THE WITNESS:    My understanding of the law that

 13    we're meeting about now does specify that you

 14    participate in sports based on biological sex.

 15    BY MR. BLOCK:                                                11:19:57

 16          Q   Do you -- do you know whether West Virginia

 17    has any laws or policies regarding the participa- --

 18    let me say this again.

 19              Do you know whether West Virginia has any laws

 20    or policies regarding sex-separated sports in                11:20:13

 21    elementary school?

 22              MR. FRAMPTON:     Objection; form.

 23              THE WITNESS:    If I recall correctly, this law

 24    applies to elementary school.

 25    ///

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  1    BY MR. BLOCK:

  2          Q      Would your opinions in this case change if you

  3    were to learn that the law doesn't apply to elementary

  4    school?

  5                 MR. FRAMPTON:     Objection to form.                 11:20:36

  6                 THE WITNESS:     No, my opinion would not change

  7    because there are biological differences between males

  8    and females that give males an inherent athletic

  9    advantage.

 10    BY MR. BLOCK:                                                     11:20:45

 11          Q      Do you think it's reasonable for a state to

 12    say that it wants sex-separated teams beginning in

 13    middle school, but not in elementary school?

 14                 MR. FRAMPTON:     Objection; form.

 15                 THE WITNESS:     I think it is reasonable since      11:21:06

 16    most of the time younger children's leagues are

 17    considered developmental and the children are not

 18    competing for prizes or honors.           A lot of times that

 19    competition begins in middle or high school.

 20                 MR. BLOCK:     Okay.   That -- that's a great        11:21:24

 21    lead-in to the next exhibit.          So if you would give me a

 22    second to make that happen.

 23                 (Exhibit 69 was marked for identification

 24              by the court reporter and is attached hereto.)

 25    ///

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  1    BY MR. BLOCK:

  2         Q    All right.        Soon appearing in your folder will

  3    be a document marked Exhibit 69.           Let me know when

  4    that's available.

  5              Do you see it?                                         11:22:09

  6         A    Exhibit 69, Briefing Book, WSPWG?

  7         Q    Yes.     And you cite to this document in your

  8    report; right?

  9         A    Yes, I think I do.

 10         Q    Okay.     Great.                                       11:22:21

 11              If you could turn to footnote 2, I believe,

 12    footnote 2, page 8 of the document.

 13              Can you let me know when you get to that?

 14         A    Footnote 2, page 8 starts off with the word

 15    "endocrinologists."                                              11:22:51

 16         Q    Yes.

 17         A    Yes.

 18         Q    Okay.     If you look at what that footnote 2,

 19    like, refers to, in the third paragraph, beginning with

 20    "at the same time."                                              11:23:05

 21              Do you see in the text "at the same time"?

 22         A    Sorry.

 23         Q    Yeah.     Sure.     The third paragraph from the top

 24    of the page begin- --

 25         A    Oh, sorry.        Sorry.   Yes, I've got it.           11:23:19

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  1         Q     Yeah.   The second sentence of that paragraph,

  2    it says (as read):

  3               "Because the onset of male puberty —

  4               normally around ages 11 - 12 in boys —

  5               is the physical justification for                11:23:30

  6               separate sex sport..."

  7               And then that's what triggers the footnote 2;

  8    correct?

  9         A     Yes.

 10         Q     Okay.   And then footnote 2 says (as read):      11:23:39

 11               "Endocrinologists explain that puberty

 12               in boys should start between ages 9-13

 13               and in girls between ages 8-12; that

 14               puberty usually takes 4-5 years to

 15               complete so that 95% of boys will have           11:23:53

 16               started puberty by age 13.      This

 17               timing is consistent with the formal

 18               position of the Women's Sports

 19               Foundation providing that '[p]rior to

 20               puberty, females and males should                11:24:05

 21               compete with and against each other on

 22               coeducational teams.'"

 23               Did I read that correctly?

 24         A     Yes, you read that correctly.

 25         Q     Okay.   And then it cites to a document from     11:24:21

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  1    the Women's Sports Foundation; correct?

  2         A    Yes.

  3         Q    Did you read that document?

  4         A    I cannot recall specifically if I've read that

  5    or not.   I think I probably did, but I can't recall.       11:24:29

  6         Q    Okay.   And so you understand that it's the

  7    position of the Women's Sports Foundation that prior to

  8    puberty, females and males should complete with and

  9    against each other on coeducational teams?

 10         A    Well, that is what is stated in this document.    11:24:51

 11         Q    Okay.   Do you feel like you -- do you feel

 12    that you are qualified to offer an expert opinion on

 13    the fairness of elementary school kids participating on

 14    coeducational teams?

 15              MR. FRAMPTON:    Objection; form.                 11:25:08

 16              THE WITNESS:    I think I can offer information

 17    on the differences in -- the -- the biological

 18    differences between boys and girls and how that gives

 19    boys an advantage in athletics.

 20    BY MR. BLOCK:                                               11:25:23

 21         Q    Do you think the Women's Sports Foundation is

 22    a better source of information than you on what

 23    benefits prepubertal girls in athletic participation?

 24              MR. FRAMPTON:    Objection; form.

 25              THE WITNESS:    Can you rephrase that question?   11:25:40

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  1    BY MR. BLOCK:

  2         Q    Yeah, yeah.

  3              Who -- who -- who do you think is a better

  4    source of authority on -- on -- on -- on what is in the

  5    best interest of prepubertal girls when it comes to         11:25:53

  6    athletics, you or the Women's Sports Foundation?

  7              MR. FRAMPTON:    Objection; form.

  8              THE WITNESS:    I think this may be a situation

  9    where I don't agree with the Women's Sports Foundation.

 10    BY MR. BLOCK:                                               11:26:08

 11         Q    Okay.   If you go back to -- to your report, on

 12    page 4, page 4 of your report.      It's not in numbered

 13    paragraphs yet.    And this is Exhibit 64, I believe.

 14         A    Okay.   Page 4 where I have "Overview"?

 15         Q    Yes.                                              11:26:59

 16         A    All right.

 17         Q    In the first bullet point, you say (as read):

 18              "At the level of (a) elite, (b)

 19              collegiate, (c) scholastic, and (d)

 20              recreational competition, men,                    11:27:10

 21              adolescent boys, or male children,

 22              have an advantage over equally aged,

 23              gifted, and trained women, adolescent

 24              girls, or female children in almost

 25              all athletic events."                             11:27:19

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  1              Is that right?

  2         A    That is correct.

  3         Q    Okay.   So do you think that -- that

  4    prepubertal boys and prepubertal girls should not be

  5    playing in competition with each other in recreational        11:27:34

  6    events?

  7              MR. FRAMPTON:     Objection; form.

  8              THE WITNESS:     I think if they are competing

  9    for prizes, for awards, the boys have an advantage.

 10    BY MR. BLOCK:                                                 11:27:45

 11         Q    And, therefore, they should not be competing

 12    against each other for prizes and awards?

 13              MR. FRAMPTON:     Objection; form, scope.

 14              THE WITNESS:     I would say that if we are --

 15    yeah, the boys should not be competing against the            11:28:06

 16    girls if they're competing for prizes and awards.

 17    BY MR. BLOCK:

 18         Q    Do you think that in the case of transgender

 19    girls and women after puberty, do you think they should

 20    not be allowed to play on recreational teams with             11:28:24

 21    cisgender girls and women?

 22              MR. FRAMPTON:     Objection; form, scope.

 23              THE WITNESS:     I have concerns about the safety

 24    of cisgender girls and women competing against

 25    biologically male -- sorry -- trans women.                    11:28:45

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  1    BY MR. BLOCK:

  2         Q    Do you think that cisgender girls and women

  3    should be allowed to play on football teams with

  4    biological boys?

  5              MR. FRAMPTON:    Objection; form, scope.           11:29:00

  6              THE WITNESS:    If the girls are informed of the

  7    risks, then the girls should be able to make an

  8    informed choice on that matter.

  9    BY MR. BLOCK:

 10         Q    So you don't think it's the -- the -- safety       11:29:13

 11    reasons should prohibit cisgender girls and women from

 12    playing football with cisgender boys?

 13              MR. FRAMPTON:    Same objection.

 14              THE WITNESS:    If the girls would like to play

 15    on the boys' team and they and their parents make an         11:29:28

 16    informed choice that they're willing to accept those

 17    risks, then I think that is up to them to choose.

 18    BY MR. BLOCK:

 19         Q    Okay.    And -- and do you think that cisgender

 20    girls and women should be allowed to play on wrestling       11:29:42

 21    teams with cisgender boys and men?

 22              MR. FRAMPTON:    Same objection.

 23              THE WITNESS:    I would say the same statement,

 24    if they are aware of the inherent risks and recognize

 25    the advantages that males have, they can make that           11:29:56

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  1    choice.

  2    BY MR. BLOCK:

  3         Q      Going back to recreational competition, do you

  4    think that transgender girls and women should not be

  5    allowed to play recreational sports on girls and                11:30:07

  6    women's teams if the sport is a noncontact or collision

  7    sport?

  8                MR. FRAMPTON:     Same objection.

  9                THE WITNESS:     If it is a women's league, then

 10    that should be limited to biological women.                     11:30:25

 11    BY MR. BLOCK:

 12         Q      Even if they're not competing for prizes?

 13                MR. FRAMPTON:     Same objection.

 14                THE WITNESS:     Can I walk through this for just

 15    a minute?                                                       11:30:37

 16    BY MR. BLOCK:

 17         Q      Sure.

 18         A      Oh.     So if women are signing up for a women's

 19    recreational league, I think they do so with the

 20    expectation they will be playing -- and even if it's            11:30:47

 21    not competing for prizes, but they are competing --

 22    with other women.        And so introducing a trans woman is

 23    not fair to the women that have said that they are

 24    competing against biological women.

 25         Q      Why isn't it fair if they're not competing for      11:31:04

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  1    prizes?

  2                 MR. FRAMPTON:    Same objection.

  3                 THE WITNESS:    Well, if they are competing --

  4    even if it's not prizes, they are competing.

  5    BY MR. BLOCK:                                                   11:31:21

  6            Q    What if they're just -- just participating

  7    together for recreational purposes?

  8                 MR. FRAMPTON:    Objection; form.

  9                 THE WITNESS:    Then I think that the cisgender

 10    women still need to be fully informed of whether there          11:31:38

 11    will be trans women or not, and then they could make

 12    their choice on a recreational pickup game type of

 13    play.

 14    BY MR. BLOCK:

 15            Q    Okay.   If -- how about riflery, should            11:31:47

 16    transgender girls and women be allowed to play on a

 17    recreational riflery league with cisgender girls and

 18    women?

 19                 MR. FRAMPTON:    Objection; form and scope.

 20                 THE WITNESS:    Once again, if they are just out   11:32:14

 21    shooting for fun and they're not competing and the

 22    recognition is that it is not exclusively a women's

 23    event.      All of those need to be considered.

 24    BY MR. BLOCK:

 25            Q    Do you think transgender girls and women have      11:32:28

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  1    an athletic advantage over cisgender girls and women

  2    when it comes to riflery?

  3                MR. FRAMPTON:    Objection; form and scope.

  4                THE WITNESS:    Yes, I do think that transgender

  5    girls and women have an advantage over cisgender girls         11:32:41

  6    and women because you still have to hold the rifle, you

  7    still have to feel the recoil, and a larger individual

  8    will have less felt recoil.

  9    BY MR. BLOCK:

 10         Q      So in terms of recreational activities, if a       11:33:16

 11    policy said that transgender girls and women can't

 12    compete in, you know, championship competition but can

 13    compete on recreational teams with cisgender girls and

 14    women and that policy is well known, is it your

 15    position that transgender girls and women should still,        11:33:43

 16    you know, not be allowed to compete on the -- to

 17    participate on those recreational teams with cisgender

 18    girls and women?

 19                MR. FRAMPTON:    Objection; form and scope.

 20                THE WITNESS:    It's kind of a long, complicated   11:33:57

 21    question.     Can you simplify it for me?

 22    BY MR. BLOCK:

 23         Q      Well, your -- your answer on recreational

 24    teams was that you want the cisgender people to be

 25    informed that a transgender person might be there.             11:34:12

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  1              So my question is, assuming that they're

  2    informed, do you still think that transgender girls and

  3    women should not be allowed to participate on

  4    recreational teams with cisgender girls and women?

  5              MR. FRAMPTON:    Objection; form, scope.           11:34:27

  6              THE WITNESS:    So if the governing policies for

  7    that recreational league indicate that transgender

  8    girls and women can compete there and if it doesn't

  9    violate some type of law that would regulate the

 10    funding for that recreational league and if the              11:34:36

 11    women -- if everyone is fully informed of who they will

 12    be playing with in this recreational league, then that

 13    would be okay for the trans women to participate in

 14    that league.

 15    BY MR. BLOCK:                                                11:34:59

 16         Q    But you think that the cisgender girls and

 17    women would need to be specifically notified that there

 18    is an identifiable trans participant on the team as

 19    opposed to just knowing that as a matter of policy

 20    there might be one?                                          11:35:15

 21              MR. FRAMPTON:    Same objection.

 22              THE WITNESS:    My experience tells me that a

 23    lot of women would like to know that.

 24    BY MR. BLOCK:

 25         Q    Why?                                               11:35:23

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  1         A     Because --

  2               MR. FRAMPTON:     Same objection.

  3               Go ahead.

  4               THE WITNESS:     Because they want to know who

  5    they're competing against and because of our                  11:35:29

  6    longstanding policy of sex-segregated sports, they want

  7    to know if they're playing on a coed team or a

  8    sex-segregated team.

  9    BY MR. BLOCK:

 10         Q     When you say your experience tells you that        11:35:42

 11    women would like to know that, what experience?

 12         A     Talking with friends and family members,

 13    students, colleagues, those types of things.

 14               MR. BLOCK:     So I -- I am going to another

 15    section.     I'm happy to continue going, unless you need     11:36:13

 16    a -- a break.

 17               THE WITNESS:     I need a bathroom break.

 18               MR. BLOCK:     Sure.    See you in five minutes.

 19               THE WITNESS:     All right.    Thanks.

 20               THE VIDEOGRAPHER:       We are off the record at   11:36:24

 21    11:36 a.m.

 22               (Recess.)

 23               THE VIDEOGRAPHER:       We are on the record at

 24    11:47 a.m.

 25               MR. BLOCK:     Great.                              11:47:20

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  1    BY MR. BLOCK:

  2         Q      Dr. Brown, during the break, did you have a

  3    chance to review your expert report to determine

  4    whether you're offering an opinions on fairness?

  5                MR. FRAMPTON:     Objection; form.                 11:47:30

  6                THE WITNESS:     I didn't take advantage of that

  7    time to look at that.

  8                MR. BLOCK:     Okay.   I'm going to mark another

  9    exhibit here.       So this -- this exhibit, which will

 10    appear shortly, is going to be marked as Exhibit 70.           11:47:58

 11                (Exhibit 70 was marked for identification

 12             by the court reporter and is attached hereto.)

 13    BY MR. BLOCK:

 14         Q      Please let me know when it's up on your

 15    screen.                                                        11:48:05

 16         A      All right.     Exhibit 70, 070 - 2021.

 17         Q      Yes.    Can you tell me -- well, first of all,

 18    have you ever seen this document?

 19         A      You know, I can't promise that I have seen

 20    this document.                                                 11:48:38

 21         Q      Okay.    What does -- this is a document -- I've

 22    got to scroll back up to page 1 of this document

 23    myself.

 24                This document is a transcript of hearings

 25    in -- in the Pennsylvania house of representatives on          11:48:56

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  1    H.B. 972, Fairness in Women's Sports Act.

  2              Is that -- do you agree that's what this

  3    document appears to be?

  4         A    Yes, that appears to be a transcript of a

  5    hearing on that.                                                  11:49:14

  6         Q    Okay.     And that hearing was on August 4th,

  7    2021; correct?

  8         A    That's what it says.

  9         Q    Okay.     And do you remember providing testimony

 10    as part of this hearing?                                          11:49:24

 11         A    I do remember providing testimony for that.

 12         Q    Okay.     Terrific.

 13              If you can go to page 15.

 14         A    Sorry.     It's loading slowly.        As I scroll, I

 15    have to wait for the page to load.                                11:49:54

 16         Q    Yeah.     No, I -- I appreciate that.

 17         A    Okay.     Page 15?

 18         Q    Yes.

 19         A    Starts off "Biological sex confers"?

 20         Q    Yeah.                                                   11:50:03

 21         A    Okay.

 22         Q    "Biological" -- I'm just going to read it into

 23    the record.      (As read):

 24              "Biological sex confers inherent

 25              athletic advantages to human males                      11:50:09

                                                                         Page 124

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  1                compared to human females such that

  2                even before puberty, males have

  3                10 percent more muscle mass, less body

  4                fat, larger hearts and lungs, denser

  5                bones, and other anatomical and                  11:50:20

  6                physiological traits that give males

  7                inherent athletic advantages over

  8                comparably aged and trained females."

  9                Did I read that right?

 10            A   Yes.                                             11:50:31

 11            Q   And do you recall giving that testimony?

 12            A   Yes.

 13            Q   Is it true that -- that prepubertal boys have

 14    denser bones than prepubertal girls?

 15            A   I would need to look back at my research         11:50:50

 16    that -- you know, the papers that I've read to see on

 17    that.

 18            Q   Okay.   Is it -- is it true that prepubertal

 19    boys have larger hearts and lungs than prepubertal

 20    girls?                                                       11:51:01

 21            A   They have larger lungs.     And again, I would

 22    want to refer back to my research on the larger hearts.

 23            Q   Okay.   Now, if you go to page 16.

 24            A   Okay.

 25            Q   Actually, go to page 17, line 3.                 11:51:31

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  1                You say (as read):

  2                "And a male to female individual will

  3                never experience nor need to learn how

  4                to cope with menstrual-cycle

  5                challenges, whereas 50 to 71 percent               11:51:49

  6                of female athletes expressed concerns

  7                that their menstrual cycle may

  8                influence their physical performance."

  9                Did I read that right?

 10            A   Yes, you did.                                      11:52:03

 11            Q   So is it your testimony that one advantage

 12    that transgender girls and women have over cisgender

 13    girls is that they don't have to worry about their

 14    menstrual-cycle concerns?

 15                MR. FRAMPTON:    Objection to the form and         11:52:09

 16    scope.

 17                Go ahead.

 18                THE WITNESS:    Yes, that is what I said in this

 19    situation in Philadelphia.

 20    BY MR. BLOCK:                                                  11:52:16

 21            Q   Okay.   Do you --

 22            A   Sorry, Harrisburg.

 23            Q   Okay.   Are you offering that opinion in this

 24    case?

 25            A   I did not include that opinion in my written       11:52:23

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  1    statement for this case.

  2         Q    Okay.    Are you offering that opinions now in

  3    this case?

  4         A    I would offer that opinions now.

  5         Q    Okay.    And -- so do you think that cisgender    11:52:33

  6    girls who are not menstruating have an advantage over

  7    cisgender girls who do menstruate?

  8              MR. FRAMPTON:    Objection; form, scope.

  9              THE WITNESS:    So the research regarding the

 10    effects of the menstrual cycle on athletic performance      11:52:53

 11    are very difficult and very confusing and some

 12    instances so -- show that phase of the menstrual cycle

 13    influence a performance, some do not.

 14              But as I stated there, depending on which

 15    survey you're looking at, 50 to 71 percent of female        11:53:11

 16    athletes are concerned that their menstrual cycle will

 17    negatively impair their performance.

 18    BY MR. BLOCK:

 19         Q    Okay.    Do you think we should have separate

 20    teams for girls and women who menstruate and girls and      11:53:22

 21    women who don't?

 22              MR. FRAMPTON:    Same objection.

 23              THE WITNESS:    No, I do not.

 24    BY MR. BLOCK:

 25         Q    Why not?                                          11:53:36

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  1            A   Because they're all biologically female.

  2            Q   Even though some of them would have the

  3    advantage of not having to worry about their menstrual

  4    cycle; is that right?

  5                MR. FRAMPTON:    Same objection.                11:53:46

  6                THE WITNESS:    Again, what -- can you please

  7    rephrase that?

  8                There were some questions -- some statements

  9    in there that were more absolute than I'm comfortable

 10    answering.                                                  11:54:00

 11    BY MR. BLOCK:

 12            Q   Okay.   So despite the fact that cisgender

 13    girls and women who don't menstruate don't have to

 14    worry about how their menstrual cycle will affect

 15    athletic performance, you think that it's still fair        11:54:13

 16    for girls and women who menstruate to participate on

 17    the same sports teams as girls and women who don't

 18    menstruate; correct?

 19                MR. FRAMPTON:    Objection; form and scope.

 20                THE WITNESS:    So when you're talking about    11:54:30

 21    menstruate, I want to make sure we're on the same page

 22    here.

 23                Do you mean they have lost having their

 24    menstrual cycle?

 25    ///

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  1    BY MR. BLOCK:

  2         Q    I -- you know, I -- some -- that -- that could

  3    be one thing.   Some -- some girls and women who are cis

  4    don't have a menstrual cycle.

  5              So for whatever reason, a cisgender girl and         11:54:58

  6    women who do not menstruate, should they be playing on

  7    different teams from girls and women who do menstruate?

  8              MR. FRAMPTON:    Objection; form and scope.

  9              THE WITNESS:    So loss of the menstrual cycle

 10    is generally a negative connotation for a woman in             11:55:15

 11    terms of athletic performance.      It would indicate

 12    somewhere progressing on the female athlete triad.       And

 13    so they're still biological women.       They should still

 14    be on the women's team.

 15    BY MR. BLOCK:                                                  11:55:39

 16         Q    So is it really relevant one way or another

 17    whether or not someone is menstruating to their

 18    athletic performance?

 19              MR. FRAMPTON:    Same objection.

 20              THE WITNESS:    Again, 50 to 71 percent of           11:55:47

 21    female athletes are concerned that their menstrual

 22    cycle will influence their physical athletic

 23    performance.

 24    BY MR. BLOCK:

 25         Q    So is it relevant to their athletic                  11:56:01

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  1    performance whether or not someone is menstruating?

  2              MR. FRAMPTON:    Same objection.

  3              THE WITNESS:    For some women, it is.         For some

  4    women, it is not.

  5    BY MR. BLOCK:                                                       11:56:21

  6         Q    In your report, you refer, several times, to

  7    something called "puberty blockers"; right?

  8         A    Yes.

  9         Q    Okay.   So I want to make sure that we're using

 10    the same terminology when we're using that phrase.                  11:56:34

 11              When I use the phrase "puberty blockers," I'm

 12    referring to gonadotropin-releasing hormone analogues.

 13              Is that consistent with your understanding of

 14    the term "puberty blockers"?

 15         A    I know the gonadotropin-releasing hormone.           I    11:56:53

 16    cannot remember if the word is "analogues" or

 17    "antagonists" or "agonists."

 18         Q    Okay.   So GR- --

 19         A    GnR- -- yes.

 20         Q    I'm sorry, can you say that again?                        11:57:06

 21         A    Yeah.   G-N-R-H-As.     And again --

 22         Q    So --

 23         A    -- I cannot remember specifically what the A

 24    stands for.

 25         Q    So -- so it's your understanding that the term            11:57:13

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  1    "hormone blockers" refers to GnRHa's; correct?

  2         A    Puberty blockers.

  3         Q    Sorry.    Puberty blockers.

  4              It's your understanding that the term "puberty

  5    blocker" refers to the GnRHa's; correct?                     11:57:27

  6         A    That is correct.

  7         Q    Okay.    Great.

  8              If we go to paragraph 110 of your report --

  9    again, that's Exhibit 64.      Let me know when you're --

 10    when you get there.                                          11:57:39

 11         A    Paragraph 110 is what I'm headed for?

 12         Q    Yep.

 13         A    All right.    Paragraph 110, page 36.

 14         Q    Great.    So in paragraph 110, you say -- if you

 15    go, like -- one, two, three, four -- five lines down,        11:58:18

 16    after the parenthetical number 9, you say (as read):

 17              "While it is outside my expertise, my

 18              understanding is that current practice

 19              with regard to administration of

 20              puberty blockers is similar in the                 11:58:33

 21              United States."

 22              I think you're referring to as in the UK; is

 23    that correct?

 24         A    Yes.

 25         Q    Okay.    And then you say (as read):               11:58:43

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  1              "Tanner stages 2 and 3 generally

  2              encompass" --

  3              You say "an range," but I think you mean "a

  4    range" -- sorry -- "a age range" -- no, I messed that

  5    up.   I'll say that again.     I apologize for inserting an   11:59:00

  6    error into your -- your sentence.

  7              You say (as read):

  8              "Tanner stages 2 and 3 generally

  9              encompass an age range from 10 to 14

 10              years old, with significant                         11:59:07

 11              differences between individuals."

 12              And then you go on to say that you're not

 13    aware of research directly addressing the implications

 14    for athletic capability of the use of puberty blockers.

 15              So, you know, my question is, when you wrote        11:59:24

 16    that paragraph, did you think it -- did you consult the

 17    Endocrine Society guidelines that we had previously

 18    discussed?

 19              MR. FRAMPTON:    Objection to form.

 20              THE WITNESS:    I cannot recall if I                11:59:45

 21    specifically looked at the Endocrine Society guidelines

 22    as I was writing that.     As I -- as I said, "as I

 23    recall," I think, is the wording I used.

 24    BY MR. BLOCK:

 25          Q   Okay.   Did you make any effort to determine        11:59:57

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  1    what the -- the practice in the United States is with

  2    regard to administering puberty blockers?

  3              MR. FRAMPTON:     Objection; form.

  4              Go ahead.

  5              THE WITNESS:     Well, there's the                    12:00:13

  6    Endocrine Society guidelines, but those are not

  7    specific to the United States, if I recall, and so I --

  8    BY MR. BLOCK:

  9         Q    Right.

 10         A    -- don't know of a specific United States             12:00:22

 11    policy compared to the UK policy.        I think it's more of

 12    a this is the policy.

 13         Q    Yeah, got it.

 14              But did you make any effort to determine what

 15    the practice is in the United States?                           12:00:35

 16         A    I'm -- yes, I know I did look into it.

 17         Q    How?     How did you look into it?

 18         A    Reading scholarly literature on the topic to

 19    see what it says.      Looking at web pages on the topic.

 20         Q    So -- so you read scholarly literature and web        12:00:57

 21    pages on the topic and you couldn't determine whether

 22    the practice in the United States is to administer

 23    puberty blockers at Tanner II versus Tanner III?

 24              MR. FRAMPTON:     Objection; form.

 25              THE WITNESS:     As I said there, my -- that is       12:01:16

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  1    outside my scope of my expertise, and so I don't want

  2    to be construed as saying this is the policy.           So I was

  3    trying to make sure that I was not giving specific

  4    medical advice on when someone should be administering

  5    puberty blockers.                                                  12:01:32

  6    BY MR. BLOCK:

  7         Q    If you submitted an article to a peer-reviewed

  8    journal and it included a sentence saying "while it is

  9    outside my expertise, my understanding is that," you

 10    know, and then the sentence continued, do you think                12:01:48

 11    that type of statement would be accepted in a

 12    peer-reviewed article?

 13         A    It would need to be taken in the context of

 14    the type of article.      And some reviewers would find it

 15    acceptable because -- acknowledging what I don't know,             12:02:06

 16    and others would say perhaps not.

 17         Q    Do you think that your expert report in this

 18    case should be held to the same standards that a

 19    peer-reviewed article would be held to?

 20              MR. FRAMPTON:     Objection; form, scope.                12:02:21

 21              THE WITNESS:     No, this is not held in the same

 22    standards of a peer-reviewed article.

 23    BY MR. BLOCK:

 24         Q    Why not?

 25         A    This is written for a different audience.                12:02:31

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  1         Q     So why -- why should it not be held to the

  2    same standards?

  3               MR. FRAMPTON:    Objection; form and scope.

  4               THE WITNESS:    Once again, this is written for

  5    a different audience.      This is not written for the        12:02:48

  6    other experts in the field.      This is written to provide

  7    information to policymakers and in a legal situation

  8    like this.

  9    BY MR. BLOCK:

 10         Q     Well, but do you think that the -- regardless      12:02:58

 11    of the style in which something is written, do you

 12    think the same underlying rigor should be required for

 13    an expert report as a peer-reviewed article?

 14               MR. FRAMPTON:    Objection; form and scope.

 15               THE WITNESS:    No, an expert report is not        12:03:17

 16    going to be held to the same rigor as a peer-reviewed

 17    article.

 18    BY MR. BLOCK:

 19         Q     Okay.   So you -- do you think that the

 20    opinions expressed in an expert report don't have to be       12:03:27

 21    as reliable as the opinions expressed in a

 22    peer-reviewed article?

 23               MR. FRAMPTON:    Objection; form and scope.

 24               THE WITNESS:    The opinions in an expert report

 25    need to be accurate, they need to be correct.                 12:03:43

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  1    BY MR. BLOCK:

  2         Q      Yeah, but that wasn't my question.

  3                Can you answer my question, please?

  4         A      Can you restate my your question, please?

  5                MR. BLOCK:     Could the reporter read back my      12:03:50

  6    question?

  7                THE REPORTER:     Yes.

  8                (Record read.)

  9                MR. FRAMPTON:     Objection; form and scope.

 10                THE WITNESS:     Generally, in a peer-reviewed      12:04:16

 11    article, you are not providing opinions; you are

 12    summarizing literature.        And that's primarily what I've

 13    done here, is summarize literature.

 14    BY MR. BLOCK:

 15         Q      Do you think the accuracy of the -- of your         12:04:26

 16    summaries in an expert report should be held to the

 17    same standard as the accuracy of summaries in a

 18    peer-reviewed article?

 19                MR. FRAMPTON:     Objection; form and scope.

 20                THE WITNESS:     The information needs to be        12:04:43

 21    correct, accurate, truthful.

 22                MR. BLOCK:     Can you read back my question,

 23    Reporter?

 24                (Record read.)

 25                MR. FRAMPTON:     Objection; form and scope.        12:05:06

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  1                THE WITNESS:     I thought I answered that by

  2    saying it needs to be accurate and correct and

  3    truthful.

  4    BY MR. BLOCK:

  5         Q      Can you answer the question?                        12:05:13

  6                I -- I asked -- give me a "yes" or "no"

  7    answer, please.

  8                MR. FRAMPTON:     Same objection.

  9                THE WITNESS:     I don't know that this is really

 10    a yes-or-no question.                                           12:05:25

 11    BY MR. BLOCK:

 12         Q      Are there different standards of accuracy for

 13    an expert report than for a peer-reviewed article?

 14                MR. FRAMPTON:     Objection; form and scope.

 15                THE WITNESS:     They both need to be accurate      12:05:45

 16    and correct.        The writing style is so phenomenally

 17    different.

 18    BY MR. BLOCK:

 19         Q      All right.     But they -- but the accuracy needs

 20    to be the same; correct?                                        12:05:58

 21                MR. FRAMPTON:     Same objection.

 22                THE WITNESS:     Yes, they need to be accurate

 23    and correct.

 24    BY MR. BLOCK:

 25         Q      Okay.     Is it fair to say that you did not        12:06:03

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  1    approach the task of writing this report with the same

  2    analytical rigor that you would have approached the

  3    task of writing a peer-reviewed article?

  4              MR. FRAMPTON:     Objection; form and scope.

  5              THE WITNESS:     That would not be a correct        12:06:16

  6    statement.

  7    BY MR. BLOCK:

  8         Q    Okay.     Would you be comfortable submitting the

  9    opinions that you expressed in this report in a

 10    peer-reviewed article?                                        12:06:26

 11         A    Yes, I would be comfortable submitting them in

 12    a peer-reviewed article.

 13         Q    Okay.     If we could go back to your report, to

 14    paragraph 111.      So your report is Exhibit 64.

 15         A    So paragraph 111 starts "Tack et al."               12:06:50

 16         Q    Yes, it does.

 17              It says (as read):

 18              "Tack et al. (2018) observed that in

 19              21 transgender-identifying biological

 20              males, administration of antiandrogens              12:07:02

 21              for 5-31 months (commencing at 16.3 ±

 22              1.21 years of age)" --

 23              And then I think it says "age" again in

 24    parentheses.      Or -- or is that just in my copy?     I'm

 25    sorry.   I -- this is the second time I've -- I've            12:07:17

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  1    introduced an error into your words, so I will start

  2    that over again.

  3                (As read):

  4                "111.   Tack et al. (2018) observed

  5                that in 21 transgender-identifying                12:07:31

  6                biological males, administration of

  7                antiandrogens for 5-31 months

  8                (commencing at 16.3 ± 1.21 years of

  9                age) resulted in nearly, but not

 10                completely, halting of normal                     12:07:45

 11                age-related increases in muscle

 12                strength."

 13                Okay.   Did I read that correctly?

 14         A      Yes, you did.

 15                MR. BLOCK:   All right.    Sorry for the error    12:07:54

 16    the first time around.

 17                So I'm going to introduce an exhibit now.

 18                Okay.   And so this exhibit, when it -- when it

 19    pops up in your folder, will be marked Exhibit 71.

 20                (Exhibit 71 was marked for identification         12:08:26

 21             by the court reporter and is attached hereto.)

 22    BY MR. BLOCK:

 23         Q      Can you please let me know when you see it.

 24         A      All right.   Exhibit 71.

 25         Q      All right.   Is that -- is this the Tack          12:08:41

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  1    article that you are referring to?

  2          A   Yes, it is.

  3          Q   Okay.    Great.

  4              So do you think this article is relevant to

  5    the discussion about whether transgender girls who           12:08:53

  6    receive puberty blockers have an athletic advantage

  7    over cisgender girls?

  8          A   Yes, I think it is relevant.

  9          Q   Okay.    Now, if you remember the conversation

 10    we had a few minutes ago, we agreed that puberty             12:09:06

 11    blockers referreds to -- refers to GnRHa's; correct?

 12          A   That is correct.

 13          Q   Okay.    Did any of the transgender girls in the

 14    study receive GnRHa's?

 15          A   Not as I recall.                                   12:09:22

 16          Q   In fact, the transgender girls in the study

 17    actually received a different type of hormone

 18    medication called progestins; isn't that right?

 19          A   That is correct.

 20          Q   So this isn't actually a study about puberty       12:09:43

 21    blockers, is it?

 22              MR. FRAMPTON:      Objection; form.

 23              THE WITNESS:      I never said this was a study

 24    about puberty blockers.

 25    ///

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  1    BY MR. BLOCK:

  2         Q      Why did you include this paragraph in a

  3    discussion about the effects of puberty blockers?

  4         A      Well, I clarified, in this paragraph, that

  5    they were using antiandrogens.       Because as the authors   12:10:05

  6    have stated on page 2148 (as read):

  7                This will contribute to determining

  8                the place of GnRHa and progestins,

  9                respectively, in the pharmacological

 10                treatment of trans youth and to                   12:10:20

 11                improving our knowledge on the

 12                long-term effects of these

 13                interventions, as has been suggested

 14                recently.

 15                And then they cite a source.                      12:10:27

 16         Q      So in paragraph 110 of your report, you begin

 17    a discussion about the effects of puberty blockers on

 18    athletic performance; correct?

 19         A      Let me refer back to -- just to make sure

 20    we've got the right paragraph number there.                   12:10:47

 21                Paragraph 110.   Yes, that paragraph does bring

 22    up the idea of puberty suppression and puberty

 23    blockers.

 24         Q      Okay.   And then in paragraph 111, you discuss

 25    this article by Tack; correct?                                12:11:22

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  1         A    That is correct.

  2         Q    And then in paragraph 112, you say (as read):

  3              "Klaver et al. (2018 at 256)

  4              demonstrated that the use of puberty

  5              blockers did not eliminate the                    12:11:37

  6              differences in lean body mass between

  7              biological male and female teenagers."

  8              Correct?

  9         A    That is correct.

 10         Q    And then paragraph 113, again, begins with the    12:11:44

 11    words "the effects of puberty blockers"; isn't that

 12    right?

 13         A    That is correct.

 14         Q    Okay.   So paragraph 110, 112 and 113 are all

 15    discussing the effects of puberty blockers; correct?        12:11:55

 16         A    Yes.

 17         Q    And -- but paragraph 111, which is in between

 18    110 and 112, is describing a study that does not

 19    involve puberty blockers; correct?

 20              MR. FRAMPTON:    Objection; form.                 12:12:15

 21              THE WITNESS:    That's correct.

 22    BY MR. BLOCK:

 23         Q    Do you think that someone reading your report

 24    could form the false impression that this article in

 25    fact discusses puberty blockers when in reality it          12:12:24

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  1    doesn't?

  2               MR. FRAMPTON:    Objection; form.

  3               THE WITNESS:    If someone is reading it and

  4    pays attention to the statement of antiandrogens, they

  5    would know that those are not puberty blockers.             12:12:35

  6    BY MR. BLOCK:

  7         Q     Do you -- I thought you said recently that

  8    this report is not meant for an audience of experts in

  9    the field; right?

 10               MR. FRAMPTON:    Objection; form.                12:12:46

 11               THE WITNESS:    That is correct.

 12    BY MR. BLOCK:

 13         Q     Okay.   So do you think a lay audience, not of

 14    experts in the field, would immediately understand that

 15    antiandrogens are different from puberty blockers in        12:12:58

 16    the context of this discussion?

 17               MR. FRAMPTON:    Objection; form.

 18               THE WITNESS:    So that's a difficult question

 19    for me to answer because as I read through it, I notice

 20    paragraph 110, puberty blockers, 112, -13, -14, all         12:13:13

 21    specifically state puberty blockers, 111 states

 22    antiandrogens.     As I read that, as a critical thinker,

 23    I would then say, well, why does this say antiandrogens

 24    rather than puberty blockers and what -- learn the

 25    difference.                                                 12:13:32

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  1    BY MR. BLOCK:

  2         Q      So why does a paragraph in your report, in the

  3    middle of discussing puberty blockers, talk about

  4    antiandrogens at all?

  5         A      Because, to the best of my knowledge, that is     12:13:43

  6    the only research that is out there on the effects of

  7    transgender hormone treatment in teenagers on muscle

  8    strength.

  9         Q      I see.   But wouldn't it be better to include

 10    that article in the subsequent sections of your report        12:14:01

 11    that discuss the effect of suppressing testosterone?

 12                MR. FRAMPTON:     Objection; form.

 13                THE WITNESS:     I think this is a matter of

 14    opinion.     I think it fits well because this is focusing

 15    on transgender youth.                                         12:14:17

 16    BY MR. BLOCK:

 17         Q      Oh, okay.   So your -- your testimony is this

 18    section of the article is supposed to address the topic

 19    of transgender youth in general and not the topic of

 20    puberty suppression.        Is that your testimony?           12:14:32

 21         A      No.   My testimony is this is about transgender

 22    youth, including puberty suppression, and what we know

 23    on the topic of transgender youth and how it would

 24    affect athletic performance.

 25         Q      I see.   Let's go to the beginning of this        12:14:49

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  1    section, which is several pages up.        It's a long

  2    section.    But the section begins on page 28 of your

  3    report.    23 on the bottom pagination, 28 of the PDF.

  4    And paragraph 68.

  5         A     All right.                                        12:15:28

  6         Q     Okay.   So beginning with paragraph 68, you are

  7    discussing -- oh, sorry.     I -- can we just go a little

  8    further down, to subsection A?      I skipped over it

  9    myself.    So this is actually paragraph 71.

 10         A     Okay.                                             12:15:55

 11         Q     Thank you.

 12               So subsection A (as read):

 13               "Boys exhibit advantages in athletic

 14               performance even before puberty."

 15               Did I correctly read that that's the              12:16:04

 16    subsection?

 17         A     Yes, that is correct.

 18         Q     Okay.   And then, you know, if you -- if you

 19    continue scrolling, you can take your time, it's a

 20    bunch of paragraphs on, you know, physiological              12:16:14

 21    characteristics before puberty, athletic performance

 22    before puberty; correct?

 23         A     Yes.

 24         Q     All right.   And if you keep -- keep scrolling,

 25    I think all the way until we get to -- I -- I believe        12:16:31

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  1    it's paragraph 110.

  2         A    Yes.

  3         Q    All right.    So for all these paragraphs until

  4    110, you've been discussing characteristics of boys

  5    before puberty; correct?                                    12:16:53

  6         A    Yes.    The athletic differences and

  7    physiological differences between biolo- -- between

  8    boys and girls before puberty.

  9         Q    Okay.    And then in paragraph 110, you say (as

 10    read):                                                      12:17:03

 11              "For the most part, the data I review

 12              above relate to pre-pubertal children.

 13              Today, we also face the question of

 14              inclusion in female athletics of males

 15              who have undergone 'puberty                       12:17:13

 16              suppression.'"

 17              Isn't that right?

 18         A    Yes.

 19         Q    Okay.    So what connects paragraph 110 to

 20    everything that came before it, as I understand it, is      12:17:22

 21    that it's supposed to provide information on athletic

 22    performance and advantages of what you call biological

 23    males who have not experienced endogenous, typically

 24    male, puberty yet; correct?

 25              MR. FRAMPTON:    Objection; form.                 12:17:49

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  1                THE WITNESS:      Yes, so if I understand what

  2    you're referring to there, there's a lot of paragraphs

  3    there about the differences between males and females

  4    before puberty.

  5    BY MR. BLOCK:                                                      12:18:02

  6            Q   Right.    Okay.

  7                And so -- and what thematically connects that

  8    to puberty blockers is that -- the argument is that

  9    girls who are transgender and on puberty blockers never

 10    experience, typically, male puberty; correct?                      12:18:15

 11                MR. FRAMPTON:      Same objection.      Objection to

 12    form.

 13                THE WITNESS:      Can you state that again,

 14    please?

 15    BY MR. BLOCK:                                                      12:18:25

 16            Q   Yeah.    So transgender girls on hormone

 17    blockers never experience, typically, male puberty if

 18    they begin the blockers at stage Tanner II; is that

 19    right?

 20                MR. FRAMPTON:      Objection; form, scope.             12:18:39

 21                THE WITNESS:      That is my understanding.

 22    BY MR. BLOCK:

 23            Q   Okay.    And so that's thematically what

 24    connects the discussion of prepubertal kids to the

 25    discussion of trans girls on puberty blockers; correct?            12:18:52

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  1               MR. FRAMPTON:     Objection; form.

  2               THE WITNESS:     So what you're saying is there's

  3    kind of a rough transition there?

  4    BY MR. BLOCK:

  5         Q     Well, I -- I'm saying that -- I'm just asking       12:19:04

  6    why are they in the same subsection that discusses

  7    biological males before puberty?

  8         A     Well, because the puberty blockers would halt

  9    puberty.    That is the purpose of them.

 10         Q     Exactly.     So this then leads to my question of   12:19:24

 11    why do you then have a paragraph discussing

 12    antiandrogens administered, you know, near the end of

 13    puberty?

 14               MR. FRAMPTON:     Objection; form.

 15               THE WITNESS:     Because that is the only           12:19:42

 16    information we have on teenagers and how their gender

 17    treatment of hormones would be influenced.

 18               If you look at some of those previous tables

 19    and the tables in the appendix that go along with that,

 20    they go up to 17-year-old children.                            12:19:57

 21    BY MR. BLOCK:

 22         Q     Right.     But the -- the subsection is talking

 23    ability prepubertal children; right?

 24               MR. FRAMPTON:     Objection; form.

 25               THE WITNESS:     That is the primary focus of       12:20:06

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  1    that subjection, yes.

  2    BY MR. BLOCK:

  3         Q      Okay.    And the -- the teenagers discussed in

  4    the Tack study are not prepubertal teenagers; correct?

  5         A      That's correct.       They are mid-prepubertal.    12:20:26

  6         Q      All right.    Well, now let's look at

  7    paragraph 112 of your report which discusses a 2018

  8    study by Klaver.

  9                Is that your understanding of how to pronounce

 10    the name Klaver?                                               12:20:41

 11         A      Yes, that is my understanding of how to

 12    pronounce the name.       Thanks for asking.

 13                MR. BLOCK:    Okay.     Great.   And please feel

 14    free to correct me if I pronounce anyone else's name

 15    incorrectly.                                                   12:20:54

 16                All right.    I'm going to introduce an exhibit.

 17    This exhibit, when it appears on your screen, is going

 18    to be marked as Exhibit 72.

 19                (Exhibit 72 was marked for identification

 20             by the court reporter and is attached hereto.)        12:21:14

 21    BY MR. BLOCK:

 22         Q      Please let me know when it's visible.

 23         A      Exhibit 072 - Klaver - Early Hormonal

 24    Treatment...

 25         Q      Right.    And is this the article that you're      12:21:28

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  1    referring -- that you are referring to in

  2    paragraph 112?

  3         A     I think so.    Without double-checking between

  4    my references cited, I -- I think this is the same

  5    article.                                                      12:21:46

  6         Q     Okay.   Is it your understanding that the

  7    people in this study received puberty blockers at the

  8    beginning of Tanner II?

  9         A     As I recall, they received puberty blockers,

 10    and I cannot recall the Tanner stage.         I remember it   12:22:06

 11    giving the ages.

 12         Q     Okay.   What -- what age?

 13         A     Average age of fourteen and a half, if I

 14    remember correctly.

 15         Q     Okay.   And is fourteen and a half typically       12:22:15

 16    the beginning of Tanner stage II?

 17         A     Not typically.

 18         Q     Okay.   So if you go to page 254 of the Klaver

 19    study --

 20         A     2-5-4, yes.                                        12:22:37

 21         Q     All right.    2-5-4.

 22               And if you look at the column that says

 23    "Transwomen," it says (as read):

 24               "Age at start of GnRHa, 14.5 ± 1.8."

 25               Is that right?                                     12:22:59

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  1         A     Yes.

  2         Q     Okay.     And so accord- -- so with those

  3    figures, that means that the earliest that any of the

  4    trans girls in the study received puberty blockers was

  5    at age 12.7; correct?                                           12:23:14

  6         A     Do you want me to take the time to do the math

  7    on that?

  8         Q     Well, 14.5 minus 1.8 is 12.7, but --

  9         A     So that's only one standard deviation.        That

 10    only accounts for, basically, a third of the                    12:23:37

 11    individuals below and above that age.          So take out

 12    another 1.8 to get two standard deviations away.

 13         Q     Got it.

 14         A     And you take they way that 1.8 again to

 15    encompass the whole 99.99 percent.                              12:23:50

 16         Q     Oh, okay.     So what's your understanding of the

 17    youngest age at which someone -- the girls in the study

 18    receive puberty blockers, just -- if you can do it

 19    or -- without --

 20         A     Just eyeball it.       I'll say 10.7.                12:24:04

 21         Q     Okay.     Thank you.

 22               But the average age is 14.5; right?

 23         A     That is the average age, yes.

 24         Q     Okay.     Great.

 25               Now, you see in paragraph 112 of your report,        12:24:14

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  1    which -- let me pull it up directly so I don't misread

  2    it again.

  3                Paragraph 112 of your report, the first

  4    sentence you say (as read):

  5                "Klaver et al. (2018 at 256)                    12:24:29

  6                demonstrated that the use of puberty

  7                blockers did not eliminate the

  8                differences in lean body mass between

  9                biological male and female teenagers."

 10                Did I read that right?                          12:24:40

 11         A      I'm still getting to 112, sorry.

 12                That -- that -- that sounds correct, but I'm

 13    not --

 14         Q      Right.

 15         A      -- there to verify.                             12:24:49

 16                All right.    Now I'm at 112.

 17         Q      Okay.    I'll read it again.     (As read):

 18                "Klaver et al. (2018 at 256)

 19                demonstrated that the use of puberty

 20                blockers did not eliminate the                  12:25:03

 21                differences in lean body mass between

 22                biological male and female teenagers."

 23                Did I read that sentence right?

 24         A      Yes.

 25         Q      Okay.    And then it says (as read):            12:25:09

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  1                "Subsequent use of puberty blockers

  2                combined with cross-sex hormone use

  3                (in the same subjects) still did not

  4                eliminate the differences in lean body

  5                mass between biological male and                12:25:19

  6                female teenagers."

  7                Is that right?

  8         A      Yes.

  9         Q      Okay.    Great.

 10                Did Klaver report any findings on percentage    12:25:26

 11    of body fat?

 12         A      Let me look.

 13                Yes.

 14         Q      And -- and what were the findings on -- on

 15    body fat?                                                   12:25:45

 16         A      Just looking at it to make sure I'm reading

 17    these correctly.

 18                So it gives -- this is table -- or, sorry,

 19    figure 2.     At the top of figure 2, there is percent

 20    body fat presented.                                         12:26:08

 21         Q      Yep.    And the first part of that graph,

 22    page 256, table 2, shows the percent body fat of the

 23    trans women being virtually the same as the body fat of

 24    the cis women; correct?

 25         A      Sorry, how do you zoom on this Exhibit Share?   12:26:26

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  1              It's a tiny graph on my screen.

  2              MS. DUPHILY:     If you take your mouse on to the

  3    bottom and push, you should be able to see a plus and a

  4    minus to make it look bigger.

  5              THE WITNESS:     Okay.   Ah, there we are.          12:26:47

  6              All right.     Sorry, it's taking me a minute to

  7    zoom in on that.

  8              MR. BLOCK:     Sure thing.

  9              THE WITNESS:     Okay.   So to make sure we're

 10    looking at the same figure, the trans women are shown         12:27:05

 11    in the solid line, the trans men are shown in the light

 12    gray line, the cis men are shown in the dotted line,

 13    and the cis women are shown in the hash line; correct?

 14    BY MR. BLOCK:

 15         Q    Correct.                                            12:27:19

 16         A    Okay.    So the percent body fat in the trans

 17    women and the percent body fat in the cis women, the

 18    lines overlap at the part indicated as "Start CHT."

 19         Q    Okay.    So that indicates that by the time the

 20    trans women in the study had begun CHT, their                 12:27:42

 21    percentages of body fat overlapped with the percentages

 22    of body fat for cis women; right?

 23         A    That is correct.

 24         Q    Okay.    And is body fat -- percentage of body

 25    fat a factor in athletic advantage?                           12:28:01

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  1         A     Yes, it is.     Having excess body fat is

  2    considered a disadvantage.

  3         Q     Okay.    So why didn't you mention this finding

  4    in your summary of the Klaver study?

  5         A     Because I mentioned the next part of the            12:28:16

  6    figure demonstrating that there was not elimination of

  7    the difference in lean body mass.

  8         Q     No, I understand that, but why did you just

  9    report on the lean body mass and not the body fat

 10    finding?                                                       12:28:31

 11               MR. FRAMPTON:     Objection; form.

 12               THE WITNESS:     Because lean body mass is a more

 13    important determinant of athletic performance.

 14    BY MR. BLOCK:

 15         Q     I see.    Does your report ever say that lean       12:28:45

 16    body mass is a more important determinant?

 17               MR. FRAMPTON:     Objection; form.

 18               THE WITNESS:     I have stated multiple times in

 19    there that lean body mass is a determinant of athletic

 20    performance, and I've stated that -- and I have stated         12:29:02

 21    that excess body fat is a disadvantage.

 22    BY MR. BLOCK:

 23         Q     Okay.    But my question is, do you state that

 24    lean body mass is a more important determinant?

 25               MR. FRAMPTON:     Objection; form.                  12:29:19

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  1                THE WITNESS:     I don't recall where I specified

  2    which is more or least important in --

  3                MR. BLOCK:     Okay.

  4                THE WITNESS:     -- in regards to body

  5    composition.                                                     12:29:23

  6    BY MR. BLOCK:

  7         Q      Okay.   You have a whole section in your report

  8    on the subject of body fat percentage; correct?

  9         A      Again, I would have to look to see if it's a

 10    whole section, if we're talking about a couple                   12:29:38

 11    paragraphs, a couple of pages or whatnot, but, yes, I

 12    talk about body composition.

 13         Q      Okay.   And you don't cite this study when you

 14    discuss body composition related to fat; correct?

 15         A      So I'm -- you're saying that I'm not citing          12:29:51

 16    Klaver in my previous discussions of body composition

 17    as a determinant of athletic performance?

 18         Q      In your discussion of the role of body fat in

 19    the -- as a determinant of athletic performance, you

 20    never cite to the findings of this Klaver article;               12:30:09

 21    correct?

 22         A      I -- I don't think so.       I think these are the

 23    only paragraphs where I cite the Klaver articles, and

 24    we're talking specifically about with the puberty

 25    blockers.                                                        12:30:23

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  1          Q   I see.    So -- but you -- you cite a finding of

  2    the Klaver article that you think is -- supports your

  3    view, but you don't cite a finding of the Klaver

  4    article that cuts against your view.        Is that a fair

  5    statement?                                                   12:30:41

  6              MR. FRAMPTON:    Objection; form.

  7              THE WITNESS:    Yes, I would say that it's fair

  8    to say that I don't cite Klaver on the differences in

  9    percent body fat.

 10    BY MR. BLOCK:                                                12:30:55

 11          Q   Okay.    So you testified earlier that you think

 12    that an expert report needs to be held to the same

 13    standards of accuracy as a peer-reviewed article;

 14    right?

 15          A   Yes, that is correct.                              12:31:06

 16              MR. FRAMPTON:    Objection --

 17              THE WITNESS:    Oh, sorry.

 18    BY MR. BLOCK:

 19          Q   So do -- do you think your -- your paragraph

 20    about Klaver is an accurate summary of the article in        12:31:14

 21    its entirety?

 22              MR. FRAMPTON:    Objection; form.

 23              THE WITNESS:    The paragraph is not intended to

 24    be a summary of the article in its entirety.

 25    ///

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  1    BY MR. BLOCK:

  2         Q     Okay.     The paragraph is -- is just intended to

  3    pick out the portions of the article that support your

  4    argument; is that right?

  5               MR. FRAMPTON:     Objection; form.                  12:31:33

  6               THE WITNESS:     The paragraph is intended to

  7    demonstrate that biological males retain athletic

  8    advantages.

  9    BY MR. BLOCK:

 10         Q     Well, the -- the article doesn't say anything       12:31:44

 11    about athletic advantages; correct?

 12         A     I do not recall that the article uses the word

 13    "athletic advantages."

 14         Q     All right.     If you go to -- if you look at

 15    page 255 of the Klaver article.         So I think that's,     12:32:02

 16    like, one page before the -- the -- where we were

 17    looking.

 18         A     You're looking at table 2?

 19         Q     No.     I'm -- I am just looking at the -- the --

 20    the text of it.                                                12:32:25

 21         A     Okay.

 22         Q     If you look at the first full sentence in the

 23    text that begins with "As a result."

 24         A     Okay.

 25         Q     Do you see that?                                    12:32:45

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  1         A    Yes, I do.

  2         Q    All right.     It says (as read):

  3              "As a result of these changes, in

  4              young adult transwomen at age 22" --

  5              Excuse me.     (As read):                          12:32:56

  6              "As a result of these changes, in

  7              young adult transwomen at 22 years of

  8              age, SDS for WHR, body fat, and LBM

  9              showed greater similarity to ciswomen

 10              than to cismen."                                   12:33:08

 11              Did I read that correctly?

 12         A    Yes, you read that correctly.

 13         Q    Okay.   And do you mention that finding in your

 14    report?

 15         A    I do not think I quote that in my report.          12:33:17

 16         Q    Okay.   All right.

 17              MR. BLOCK:     It's 1:30 -- can we go off the

 18    record?

 19              THE WITNESS:     Is that okay with you going off

 20    the record?                                                  12:33:41

 21              MS. DUPHILY:     Kimberlee, are you there?

 22              THE WITNESS:     Nope.

 23              MS. DUPHILY:     We're going off the record at

 24    approximately 1:32 p.m. [Sic]

 25              (Recess.)                                          12:38:29

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  1               THE VIDEOGRAPHER:      We are on the record at

  2    12:38 p.m.

  3               MR. BLOCK:     Okay.   Great.

  4    BY MR. BLOCK:

  5         Q     I'd like to move on from the topic of puberty    12:38:43

  6    blockers and ask a few questions about trans women who

  7    suppress circulating levels of testosterone after

  8    puberty.

  9               Can we turn to page 56 of your report?

 10         A     Come on.     Waiting for it to load.             12:39:04

 11               All right.     So page 56 by the page numbers;

 12    correct?

 13         Q     Correct.

 14         A     All right.     I'm there.

 15         Q     Great.     So if you go to the third bullet      12:39:27

 16    point, you say (as read):

 17               "The administration of androgen

 18               inhibitors and cross-sex hormones to

 19               men or adolescent boys after the onset

 20               of male puberty does not eliminate the           12:39:40

 21               performance advantage that men and

 22               adolescent boys have over women and

 23               adolescent girls in almost all

 24               athletic events."

 25               Did I read that right?                           12:39:50

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  1         A      Yes, you did.

  2         Q      Okay.   Great.

  3                Have you read the expert reports that -- the

  4    expert reports that Dr. Safer submitted in this case?

  5         A      Yes, I read the reports by Dr. Safer.                     12:40:00

  6         Q      All right.     You read both the initial and the

  7    rebuttal reports?

  8         A      Yes.

  9         Q      Okay.   Isn't it fair to say that the effects

 10    of male to female hormone treatment on important                      12:40:10

 11    determinants of athletic performance still remain

 12    largely unknown?

 13                MR. FRAMPTON:     Object to form.

 14                THE WITNESS:     Sorry, I blanked out there for a

 15    second after the objection.                                           12:40:28

 16                There are still a lot of questions.           There are

 17    still a lot of questions.

 18                MR. BLOCK:     Okay.   So I'd like to show you

 19    another exhibit.      And we have to mark it as such.

 20                All right.     This is going to hopefully appear          12:41:08

 21    on your screen as Exhibit 73.

 22                (Exhibit 73 was marked for identification

 23             by the court reporter and is attached hereto.)

 24    BY MR. BLOCK:

 25         Q      Can you let me know when -- when you see it?              12:41:18

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  1         A    All right.    Exhibit 073 - Brown Blog Post.

  2         Q    Yes.    Do you recognize what this document is?

  3         A    Yes.

  4         Q    What is it?

  5         A    That is my blog post for the Physiology                12:41:38

  6    Educators Community of Practice about The Olympics,

  7    sex, and gender in the physiology classroom.

  8         Q    Okay.    What -- what is the Physi- --

  9    Physiology Educators Community of Practice blog?

 10         A    So this is a blog sponsored by the American            12:41:58

 11    Physiological Society and their -- specifically their

 12    educators' interest group -- it probably has a

 13    different name than that, but that's what it is -- just

 14    sharing information for other teachers in physiology,

 15    typically geared towards college-level educators.                12:42:16

 16         Q    And is there a submission process?

 17         A    Yes, there is.

 18         Q    What -- what is that submission process?

 19         A    Well, you have to contact the person that runs

 20    the blog post and say you are interested.         They connect   12:42:33

 21    you, then, to the editor for Advances in Physiology

 22    Education who then asks what you would like to blog on

 23    and lets you know of available times, and then once you

 24    agree on that, you'll submit it.       And then, once again,

 25    the editor reviews it, someone else associated also              12:42:55

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  1    reviews it prior to being put up on the web.

  2         Q     Okay.   And so did you reach out with your

  3    interest in -- in submitting something?

  4         A     Yes, I did.

  5         Q     You weren't invited to submit something;         12:43:13

  6    correct?

  7         A     I did receive an in- -- an e-mail inviting to

  8    submit to the Peacock blog, and I e-mailed back and

  9    said, yes, I'm interested.

 10         Q     And did -- were you invited to submit            12:43:27

 11    something on the topic of transgender women

 12    participating in sports?

 13         A     The invitation was not specific on what I

 14    was -- would be blogging on.

 15         Q     And was it an invitation to you individually,    12:43:43

 16    or was it an invitation to a larger group?

 17         A     I think both, honestly.     There is an

 18    invitation that goes out, periodically, to the larger

 19    group of published a paper in Advances in Physiology

 20    Education and received an invitation to me.                 12:44:03

 21         Q     Okay.   And so did this blog go through a

 22    revision process after you first submitted it?

 23         A     There was one round of revisions, if I

 24    remember correctly.

 25         Q     Okay.   And do you remember what feedback you    12:44:23

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  1    got during the revision process?

  2            A   The feedback was very positive, and I was told

  3    that this is an extremely important topic that needs to

  4    be presented.       And I really think the feedback was

  5    relevant to the -- the -- the graph that I had in there        12:44:41

  6    to ensure that I had appropriate copyright permission

  7    or whatever permission to have that reproduced.

  8            Q   Okay.    Great.

  9                This blog post doesn't discuss prepubertal

 10    children; right?                                               12:44:57

 11            A   Sorry, I'm just reviewing it to see.

 12                I don't recall that it discusses prepubertal

 13    children.

 14            Q   And the blog also doesn't discuss trans girls

 15    and women who received puberty blockers and never went         12:45:25

 16    through endogenous puberty; right?

 17                MR. FRAMPTON:      Objection to the form.

 18                THE WITNESS:      I don't recall discussing that

 19    in there, and I'm not seeing it, as I look at the blog

 20    post.                                                          12:45:43

 21    BY MR. BLOCK:

 22            Q   Okay.    So if you can just go to page 2, and if

 23    you go to the first full paragraph on page 2, beginning

 24    with the -- the second sentence, do you --

 25            A   Yes.                                               12:46:04

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  1         Q    -- see that?

  2         A    Yes, I do.

  3         Q    Okay.   So the second sentence there says (as

  4    read):

  5              "It is also important to note that the            12:46:18

  6              effects of male-to-female hormone

  7              treatment on the important

  8              determinants of athletic performance

  9              remain largely unknown."

 10              Did I read that right?                            12:46:26

 11         A    Yes, you did.

 12         Q    Okay.   Do you still agree with that statement?

 13         A    Yes, I still agree with that statement.

 14         Q    And so you think it's important to note that

 15    the effects remain largely unknown; correct?                12:46:36

 16              MR. FRAMPTON:    Objection; form.

 17              THE WITNESS:    Yes.   Prior to allowing

 18    biological males to compete in female sports, we should

 19    have a better understanding of how that process would

 20    influence competition.                                      12:46:52

 21    BY MR. BLOCK:

 22         Q    Okay.   So in your expert report, do you ever

 23    note that the effects of male to female hormone

 24    treatment on important determinants of athletic

 25    performance advantage remain largely unknown?               12:47:05

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  1         A      I could look and see, but I think I say --

  2    state something in my conclusion where there are still

  3    a lot of variables that have not been measured.

  4    BY MR. BLOCK:

  5         Q      Okay.   In this paragraph that I was reading          12:47:20

  6    from, I'm just going to go into the next one.           It says

  7    (as read):

  8                "Measurements of VO2max in transwomen

  9                using direct or indirect calorimetry

 10                are not available."                                   12:47:35

 11                Did I read that right, even if I didn't

 12    pronounce it correctly?

 13         A      Yes.

 14         Q      Okay.

 15         A      "Calorimetry" is how I say it because it kind         12:47:41

 16    of flows when you say it fast.

 17         Q      Okay.   That makes sense.

 18                Do you ever note in your expert report that

 19    measurements of VO2 max in trans women using direct or

 20    indirect calorimetry are not available?                           12:47:59

 21         A      Once again, I would need to refer back to my

 22    report in the conclusions to see if I had included that

 23    in there.

 24         Q      Do you think it would make sense to have

 25    included that in there?                                           12:48:16

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  1              MR. FRAMPTON:     Objection; form.

  2              THE WITNESS:     Yes, I think it would make sense

  3    to include that in there, but it also -- like I said, I

  4    cannot recall if I did or did not.

  5    BY MR. BLOCK:                                                 12:48:33

  6         Q    Okay.    Well, let's -- well, let's look at your

  7    report on -- so if you begin on page 39 of your report.

  8         A    All right.

  9         Q    All right.     So this is -- Roman numeral V says

 10    (as read):                                                    12:49:04

 11              "The available evidence shows that

 12              suppression of testosterone in a male

 13              after puberty has occurred does not

 14              substantially eliminate the male

 15              athletic advantage."                                12:49:14

 16              Right?     That -- that's what section Roman

 17    numeral V says; correct?

 18         A    That is correct.

 19         Q    Okay.    And then subsection A on that page

 20    talks about (as read):                                        12:49:25

 21              "Empirical studies find that males

 22              retain a strong performance advantage

 23              even after lengthy testosterone

 24              suppression."

 25              Correct?                                            12:49:31

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  1          A   Correct.

  2          Q   All right.     Then on 40, there's a subsection

  3    that says, "Hand Grip Strength."

  4          A   Okay.

  5          Q   Okay.    And if you -- apologies.         You know,   12:49:38

  6    I -- I should have directed you to page 46,

  7    subsection B of that.      So if you can just skip ahead to

  8    46.

  9          A   Okay.    Page 46.

 10          Q   Great.     Thank you.                                 12:50:00

 11              So subsection B says (as read):

 12              "Testosterone suppression does not

 13              reverse important male physiological

 14              advantages."

 15              Right?                                                12:50:09

 16          A   Yes.

 17          Q   Okay.    And then if you turn the page, on 47,

 18    at the -- page 47, at the bottom, there's a little

 19    discussion on cardiovascular advantages; right?

 20          A   Yes.                                                  12:50:20

 21          Q   All right.     And where would VO2 -- where would

 22    the discussion of VO2 max go?         Would that be in the

 23    "Cardiovascular Advantage" section or in a different

 24    subsection of this discussion?

 25              MR. FRAMPTON:       Object to the form.               12:50:40

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  1              THE WITNESS:     It would probably belong in the

  2    cardiovascular advantages.

  3    BY MR. BLOCK:

  4         Q    Okay.   So do you see, just in this subsection,

  5    a discussion of the fact that measurements of VO2 max in     12:50:51

  6    trans women using direct or indirect calorimetry are

  7    not available?

  8         A    I have not directly made that statement.

  9         Q    Okay.   And if -- toggling back over to -- to

 10    Exhibit 73, your blog post, after that statement I just      12:51:17

 11    read, you say (as read):

 12              "Measurements of muscle strength in

 13              standard lifts (e.g. bench press, leg

 14              press, squat, deadlift, etc.) in

 15              transwomen are not available."                     12:51:29

 16              Is that correct?

 17         A    That is correct.

 18         Q    All right.     Do you disclose that information

 19    in your expert report?

 20              MR. FRAMPTON:     Objection to the form.           12:51:39

 21              THE WITNESS:     In my expert report, I talk

 22    about the measurements of strength that have been

 23    conducted.

 24    BY MR. BLOCK:

 25         Q    But you do not discuss the measurements of         12:51:52

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  1    strength that have not been conducted; correct?

  2               MR. FRAMPTON:     Objection to the form.

  3               THE WITNESS:     I'm scrolling up to see if I

  4    have some statement in there about, you know, specific

  5    measurements.                                                 12:52:13

  6               Here again, no, I do not specifically state

  7    that those measurements have not been conducted.

  8    BY MR. BLOCK:

  9           Q   Okay.   And then in the next sentence of the

 10    blog post, you say (as read):                                 12:52:27

 11               "Nor have there been evaluations of

 12               the effects of male-to-female hormone

 13               therapy on agility, flexibility, or

 14               reaction time."

 15               Is that right?                                     12:52:37

 16           A   That is correct.

 17           Q   Okay.   And you do not, in your report, say

 18    anything about whether -- about the effects of hormone

 19    therapy on agility, flexibility or reaction time, do

 20    you?                                                          12:52:55

 21               MR. FRAMPTON:     Objection to the form.

 22               THE WITNESS:     On page 39, I state that only a

 23    limited number of studies have directly measured the

 24    effect of testosterone suppression and the

 25    administration of female hormones on the athletic             12:53:05

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  1    performance of males.     And so then I go through those

  2    studies which, you know, by default, then says those

  3    other things have not been studied.

  4    BY MR. BLOCK:

  5         Q    Okay.   But you do discuss agility, flexibility     12:53:18

  6    and reaction time when you're discussing the advantages

  7    of cisgender men over cisgender women; right?

  8         A    Yes.

  9         Q    Okay.   But then you don't have -- well, let me

 10    just read the next part of the -- the blog post.        (As   12:53:39

 11    read):

 12              "There has been no controlled research

 13              evaluating how male-to-female hormone

 14              treatment influences the adaptations

 15              to aerobic or resistance training."                 12:53:50

 16              Is that correct?

 17         A    That is correct.

 18         Q    And again, that's not something you mention in

 19    your report; correct?

 20              MR. FRAMPTON:    Objection to the form.             12:54:01

 21              THE WITNESS:    It is indirectly stated with my

 22    statement about limited number of studies.

 23    BY MR. BLOCK:

 24         Q    Okay.   And then the final sentence in that

 25    paragraph is (as read):                                       12:54:10

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  1              "And there are only anecdotal reports

  2              of the competitive athletic

  3              performance of transwomen before and

  4              after using male-to-female hormone

  5              treatment."                                       12:54:20

  6              Is that right?

  7          A   That is correct.

  8          Q   Okay.   So it's fair to say that when you

  9    discuss Cecé Telfer in your report, that's an example

 10    of one of the anecdotal reports you refer to in this        12:54:31

 11    sentence; correct?

 12          A   That's correct.

 13          Q   Okay.   So the discussion of Cecé Telfer and

 14    Lia Thomas and Andraya Yearwood and Terry Miller, those

 15    are, to use your words from the blog post, quote, only      12:54:56

 16    anecdotal reports; correct?

 17              MR. FRAMPTON:     Objection to the form.

 18              Go ahead.

 19              THE WITNESS:     If I may state, in my

 20    declaration, I do cite a prepublished study by              12:55:12

 21    Michael Joyner that is evaluating -- or, sorry,

 22    Senefeld and Joyner that is evaluating Lia Thomas.

 23              But yes, those -- those would primarily be

 24    anecdotal reports.

 25    ///

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  1    BY MR. BLOCK:

  2         Q    Okay.   If you go to the second sentence in the

  3    final paragraph, you say, (as read):

  4              In the end, whether it is safe and

  5              fair to include transgender athletes              12:55:46

  6              and athletes with DSD in women's

  7              sports comes down to a -- to a few

  8              facts that can be extrapolated, lots

  9              of opinions, and an interesting but

 10              complicated discussion.                           12:55:57

 11              Did I read that right?

 12         A    I'm sorry, where were you reading that from?

 13         Q    Yeah, it's the -- it's the second sentence in

 14    the last paragraph of your blog post.

 15         A    Okay.   There.                                    12:56:12

 16         Q    Okay.   I'll read it again.       (As read):

 17              In the end, whether it is safe and

 18              fair to include transgender athletes

 19              and athletes with DSD in women's

 20              sports comes down to a few facts that             12:56:21

 21              can be extrapolated, lots of opinions,

 22              and an interesting but complicated

 23              discussion.

 24              Is that right?

 25         A    That is correct.                                  12:56:31

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  1         Q    And you still agree with that statement?

  2         A    Yes.

  3         Q    Okay.   What do you -- what do you mean by

  4    "interesting but complicated discussion"?

  5         A    Well, as I was writing this for fellow             12:56:43

  6    educators, this could be a very complicated discussion

  7    because of -- this could be a very heated topic.

  8         Q    Okay.   So when you say that there -- "a few

  9    facts that can be extrapolated, lots of opinions, and

 10    an interesting but complicated discussion," were you         12:57:09

 11    referring at all to the underlying substance being

 12    interesting but complicated?

 13              MR. FRAMPTON:    Objection to the form.

 14              THE WITNESS:    Yeah, I'm not sure what you mean

 15    by "underlying substance."                                   12:57:25

 16    BY MR. BLOCK:

 17         Q    Yeah, is the discussion of whether -- aside

 18    from something being heated, is -- is the -- this topic

 19    complicated?

 20              MR. FRAMPTON:    Objection to the form.            12:57:40

 21              THE WITNESS:    Yes, this is a complicated

 22    topic.

 23    BY MR. BLOCK:

 24         Q    Okay.   So if we go to your report again --

 25    let's see -- on page 57 of your report.                      12:57:57

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  1           A   All right.     Page 57.

  2           Q   So if you look just at the paragraph beginning

  3    with the word "but."

  4           A   Okay.   All right.

  5           Q   All right.     You say -- you know, actually,    12:58:32

  6    instead, let's go a few sentences above that, so in the

  7    middle of the previous paragraph beginning with -- the

  8    sentence beginning with "instead."

  9               Do you see that?

 10           A   I'm sorry, which --                              12:58:49

 11           Q   So this is about five -- five lines from the

 12    top.

 13           A   Okay.   Yes.    It says, "Instead, the IOC"?

 14           Q   Yeah.   So this says --

 15           A   Okay.                                            12:58:58

 16           Q   -- (as read):

 17               Instead, the IOC calls on other

 18               sporting bodies to define criteria for

 19               transgender inclusion, while demanding

 20               that such criteria simultaneously                12:59:05

 21               ensure fairness, safety, and inclusion

 22               for all.     The recent -- recently

 23               updated NCAA policy on transgender

 24               participation also relies on other

 25               sporting bodies to establish criteria            12:59:19

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  1              for transgender inclusion while

  2              calling for fair competition and

  3              safety.

  4              But what we currently know tells us

  5              that these policy goals—fairness,                   12:59:28

  6              safety, and full transgender

  7              inclusion—are irreconcilable for many

  8              or most sports.

  9              Did I read those sentences correctly?

 10         A    Yes, you did.                                       12:59:40

 11         Q    Okay.     How come -- why, in your blog post, did

 12    you not say that the goals of fairness, safety and full

 13    transgender inclusion are irreconcilable?

 14              MR. FRAMPTON:     Objection to the form.

 15              THE WITNESS:     The purpose of the blog post was   12:59:58

 16    to stimulate discussions in classroom while providing a

 17    little bit of guidance, but not advocate for a specific

 18    position within a classroom.

 19    BY MR. BLOCK:

 20         Q    Why didn't you say in your expert report that       01:00:13

 21    whether it is safe and fair to include transgender

 22    athletes and athletes with DSD in women's sports comes

 23    down to a few facts that can be extrapolated, lots of

 24    opinions, in an interesting but complicated discuss?

 25              MR. FRAMPTON:     Objection to the form.            01:00:28

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  1                THE WITNESS:     I think that a reasonable person

  2    would come to those conclusions after reading all --

  3    how many pages of my report?

  4    BY MR. BLOCK:

  5         Q      Okay.   So it's your expert testimony that            01:00:39

  6    whether it is safe and fair to include trans girls and

  7    women on girls and women's sports teams comes down to a

  8    few facts that can be extrapolated, lots of opinions

  9    and an interesting but complicated discussion?

 10                MR. FRAMPTON:     Object to the form.                 01:01:01

 11                THE WITNESS:     Yes, I will stand by that

 12    statement in my blog post.

 13                MR. BLOCK:     Okay.    Great.

 14                So I'm going to now ask a few questions about

 15    your other, you know -- your other publication or                 01:01:17

 16    submission on this topic.          Let me just move it into the

 17    actual exhibits.

 18                Let's see.     So I -- this is a PowerPoint

 19    document.     It's going to marked as Exhibit 74, although

 20    I am not sure that it is actually going to work,                  01:02:07

 21    showing up, so please let me know if it actually shows

 22    up for you.

 23                (Exhibit 74 was marked for identification

 24             by the court reporter and is attached hereto.)

 25                THE WITNESS:     All right.      I see Exhibit 074.   01:02:21

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  1                MR. BLOCK:     Okay.   And I think we're going to

  2    need some assistance in how -- how do we zoom in again,

  3    Concierge?

  4                MS. DUPHILY:     You just hold your mouse over

  5    the bottom of the image, and you'll see the positive              01:02:37

  6    and negative-looking glasses at the bottom, and you

  7    can -- there's a menu.

  8                Do you see that?

  9                MR. BLOCK:     Mouse over the image?

 10                MS. DUPHILY:     You want to click on it when         01:02:54

 11    you're --

 12                MR. BLOCK:     All right.

 13                MS. DUPHILY:     Did you do it?

 14                MR. FRAMPTON:     With the witness, we're not

 15    getting that.                                                     01:03:03

 16                MS. DUPHILY:     Hold on a minute.      Let me see.

 17                MR. TRYON:     Yeah, this is Dave Tryon.      I've

 18    seen that on other exhibits, but this one, it's not

 19    showing up for me.

 20                MR. BLOCK:     If you're able to download a           01:03:19

 21    copy --

 22                MS. DUPHILY:     Yeah, you're probably better off

 23    downloading this because it's a PowerPoint.

 24    BY MR. BLOCK:

 25         Q      Have you been able to download it, Dr. Brown?         01:04:02

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  1         A      It appears that my computer is trying to

  2    update PowerPoint at this very moment.

  3         Q      Okay.

  4                MR. BLOCK:    So why don't we -- can we go off

  5    the record, please?                                            01:04:12

  6                MR. FRAMPTON:    It looks like it's nearly --

  7                THE VIDEOGRAPHER:       We are off the record at

  8    1:04 p.m.

  9                (Recess.)

 10                THE VIDEOGRAPHER:       We are on the record at    01:05:37

 11    1:05 p.m.

 12                MR. BLOCK:    Thanks.

 13    BY MR. BLOCK:

 14         Q      So is this a presentation that you authored,

 15    Dr. Brown?                                                     01:05:51

 16         A      Yes, it is.

 17         Q      And the title of this presentation is

 18    "Transwomen Competing in Women's Sports: What We Know,

 19    and What We Don't"; is that right?

 20         A      That is correct.                                   01:06:01

 21         Q      Okay.   And what conference did you submit this

 22    presentation to?

 23         A      This was the American Physiological Society

 24    Sex and Gender conference, if I remember the title

 25    correctly.                                                     01:06:18

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  1           Q   Yeah.     If I -- if I said it was called "The

  2    New Trends in Sex and Gender Medicine" conference, does

  3    that sound accurate to you?

  4           A   Yes.

  5           Q   Okay.     And am I right that the conference took   01:06:28

  6    place from October 19th to October 22nd?

  7           A   That sounds correct.

  8           Q   Okay.     Did you attend any meetings or panel

  9    discussions as part of this conference?

 10           A   So this was a virtual conference for everyone.      01:06:42

 11           Q   Uh-huh.

 12           A   And so, yes, I sat in on discussions and panel

 13    discussions and presentations and such.

 14           Q   Okay.     Did you sit in on the panel discussion

 15    at this conference titled "New Trends in Transgender           01:07:05

 16    Medicine"?

 17           A   I honestly can't remember if I sat in and

 18    attended that or not.

 19           Q   Okay.     You have no recollection one way or the

 20    other?                                                         01:07:18

 21           A   Yeah, I -- there was a lot of meetings, a lot

 22    of presentations and a lot of discussions, so I can't

 23    say exactly which ones I was in and which ones I was

 24    not.

 25           Q   Do you think it would have been informative to      01:07:32

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  1    attend that presentation?

  2         A    Yes.

  3              MR. FRAMPTON:     Objection to the form.

  4              THE WITNESS:    Sorry.

  5              MR. FRAMPTON:     Go ahead.                        01:07:39

  6    BY MR. BLOCK:

  7         Q    You can answer.

  8         A    Yes, it -- it would have been informative.

  9         Q    Okay.    And do you think it would have been at

 10    least as relevant to your research as Ben Shapiro?           01:07:49

 11              MR. FRAMPTON:     Object to the form.

 12              THE WITNESS:    It's possible that I had a

 13    conflicting obligation that made it so I'm not able to

 14    attend.   Again, I know that I did with all of them, I

 15    wasn't able to attend every single session I wanted          01:08:04

 16    because of other obligations.

 17    BY MR. BLOCK:

 18         Q    I see.    But -- but my question is, would -- it

 19    would be a more reliable source of information than

 20    Ben Shapiro, was my question.                                01:08:19

 21              MR. FRAMPTON:     Object to the form.

 22              THE WITNESS:    I guess that would depend on

 23    what we're asking, Ben Shapiro is -- is speaking about

 24    and where he is citing his sources versus what is being

 25    discussed in that discussion.                                01:08:37

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  1    BY MR. BLOCK:

  2         Q    Okay.     Now, would -- would this

  3    presentation quali- -- would -- could this be

  4    prescribed as a poster presentation?

  5         A    Yes.                                                  01:08:51

  6         Q    Okay.     Does your CV identify it as a poster

  7    presentation?

  8         A    I don't think my CV discriminates on my

  9    various academic presentations, as to what format they

 10    were presented in.                                              01:09:06

 11         Q    Okay.     So it's not your regular practice to

 12    denote whether a presentation is specifically a poster

 13    presentation?

 14         A    That is correct.

 15         Q    Okay.     All right.    What was the review process   01:09:13

 16    for submitting this?

 17         A    So I -- I was encouraged by an editor from the

 18    American Journal of Physiology to submit to this, after

 19    having read my blog post.        I submitted it, paid the

 20    abstract submission fee, like any other professional            01:09:34

 21    conference, and awaited for acceptance of the abstract.

 22         Q    And what -- were there edits to the abstract

 23    sent back to you?

 24         A    No.     They don't edit the abstracts.

 25         Q    Okay.     All right.                                  01:09:47

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  1              If you go to the bottom right-hand corner of

  2    this presentation, there's a box titled "What we don't

  3    know"; right?

  4         A    Correct.

  5         Q    Okay.   And then -- and this box says, "What We   01:10:09

  6    Don't Know," and then the first bullet is "No

  7    controlled training studies with male-to-female hormone

  8    use"; correct?

  9         A    Correct.

 10         Q    Okay.   And -- and again, as we discussed         01:10:20

 11    before, that -- that statement is not in your expert

 12    report; right?

 13              MR. FRAMPTON:    Object to the form.

 14              THE WITNESS:    That statement is not verbatim

 15    in my expert report.                                        01:10:36

 16    BY MR. BLOCK:

 17         Q    And then the second bullet point is "No

 18    measurements of changes in VO2max, running economy,

 19    lactate threshold, anaerobic power (e.g. Wingate test),

 20    vertical jump, 1-Repetition Maximum (e.g. bench press,      01:10:47

 21    leg press, squat, deadlift), or many other common

 22    determinants of athletic performance"; correct?

 23         A    That is correct.

 24         Q    And that information in that bullet point is

 25    not included in your expert report; correct?                01:11:05

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  1              MR. FRAMPTON:    Object to the form.

  2              THE WITNESS:    Again, in my expert report, I

  3    state that there is limited evaluation.         I don't make

  4    that statement exactly.

  5    BY MR. BLOCK:                                                  01:11:17

  6         Q    Okay.   How come this poster presentation

  7    doesn't say that the policy goals of fairness, safety

  8    and full transgender inclusion are irreconcilable for

  9    many or most sports?

 10              MR. FRAMPTON:    Object to the form.                 01:11:28

 11              THE WITNESS:    This poster was put together and

 12    presented before the recent IOC or NCAA adjustments,

 13    stating that that was a requirement.        And again, the

 14    poster is summarizing the science of what we know and

 15    what we do not know.                                           01:11:48

 16    BY MR. BLOCK:

 17         Q    So would you feel comfortable making the

 18    statement to a -- a peer-reviewed publication that the

 19    policy goals of fairness, safety and full transgender

 20    inclusion are irreconcilable?                                  01:12:05

 21         A    Yes, I would feel very comfortable saying that

 22    in a peer-reviewed pol- -- publication or presentation.

 23         Q    Can you tell me your understanding of what

 24    this case is about?

 25              MR. FRAMPTON:    Object to the form.                 01:12:31

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  1                Go ahead.

  2                THE WITNESS:    So the State of West Virginia,

  3    like about currently 11 other states, if I recall,

  4    passed a law to limit participation in women's sports

  5    to biological women.                                         01:12:43

  6                In this case, a young trans girl has retained

  7    some lawyers and filed a lawsuit asking to be able to

  8    participate in girls sports.

  9                The judge has given an injunction specifically

 10    for the plaintiff, but not halting the law overall.          01:13:05

 11    BY MR. BLOCK:

 12         Q      And do you -- so the -- the plaintiff's name

 13    is -- is Becky.

 14                Do you oppo- -- do you think Becky should not

 15    be allowed to participate on her middle school               01:13:23

 16    cross-country team?

 17                MR. FRAMPTON:    Object to the form and scope.

 18                THE WITNESS:    So my understanding is the

 19    plaintiff is biologically male, so a trans girl, who

 20    wants to compete on girls sports.                            01:13:39

 21    BY MR. BLOCK:

 22         Q      Yes.    And -- and so what's the answer to my

 23    question?

 24         A      So --

 25                MR. FRAMPTON:    Same objections.                01:13:54

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  1              THE WITNESS:    So if we were to follow the law,

  2    then the plaintiff should not be participating in

  3    girls' sports.

  4    BY MR. BLOCK:

  5          Q   Yeah, but it's your -- is it your expert           01:14:01

  6    opinions that Becky should not be participating in the

  7    girls' cross-country team at her middle school?

  8              MR. FRAMPTON:    Objection; form and scope.

  9              THE WITNESS:    So my expert statement, expert

 10    declaration, is not meant to make judgments on an            01:14:17

 11    individual basis, but overall policy and law.

 12    BY MR. BLOCK:

 13          Q   Okay.   Well, so you -- you made a distinction

 14    between the fact that the injunction is -- applies only

 15    to Becky and not to the -- the statute on its face, and      01:14:31

 16    so I'm just trying to figure out whether your expert

 17    opinion is only about other applications of the statute

 18    to people beyond Becky or whether you are also offering

 19    expert testimony with respect to the specific issue of

 20    Becky's as-applied challenge.                                01:14:51

 21              MR. FRAMPTON:    Objection; form and scope.

 22              THE WITNESS:    I've not made any statements

 23    that I'm aware of specific to an individual plaintiff

 24    in this case or -- I don't think in any of the cases.

 25    ///

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  1    BY MR. BLOCK:

  2           Q   Okay.   So you're not offering an expert

  3    opinions in this case with regard to whether Becky, as

  4    an individual, should be allowed to participate on her

  5    girl's cross-country team in middle school?                 01:15:22

  6               MR. FRAMPTON:    Objection; form and scope.

  7               THE WITNESS:    I'm offering an expert opinion

  8    based on what the science says and what we know overall

  9    regarding differences between males and females and how

 10    those differences are affected by transgender hormone       01:15:37

 11    use.

 12    BY MR. BLOCK:

 13           Q   Okay.   And are you offering any opinion on

 14    whether Becky, as an individual, has any athletic

 15    advantages compared to cisgender girls?                     01:15:52

 16               MR. FRAMPTON:    Objection; form and scope.

 17               THE WITNESS:    I'm not making statements

 18    specific to Becky.     I am talking about boys and girls

 19    overall.

 20    BY MR. BLOCK:                                               01:16:07

 21           Q   Okay.   And it's possible that Becky, as an

 22    individual, as opposed to people with a male sex

 23    assigned at birth overall -- let me just rephrase that.

 24               It's possible that Becky, as an individual,

 25    may not have any athletic advantages compared with          01:16:21

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  1    cisgender girls; right?

  2              MR. FRAMPTON:    Object to the form and scope.

  3              THE WITNESS:    Based on the information I have

  4    read, the information cited in my expert report, if we

  5    are comparing the plaintiff to a similarly aged trained      01:16:34

  6    and gifted girl, the plaintiff, as a biological male,

  7    will have athletic advantages.

  8    BY MR. BLOCK:

  9         Q    Well, that -- that raises questions for me.

 10              I -- I -- I guess my understanding of your         01:16:49

 11    report was that you were discussing average group-based

 12    differences between males and females; right?

 13         A    If you look at my --

 14              MR. FRAMPTON:    Objection; form.

 15              Go ahead.                                          01:17:01

 16              THE WITNESS:    If you look at my report, I -- I

 17    provide information on individuals in the 10th

 18    percentile, individuals in the 50th percentile,

 19    individuals in the 90th percentile, and state multiple

 20    times if we compare equally trained, gifted and              01:17:14

 21    talented same-age individuals, the males have an

 22    advantage.

 23    BY MR. BLOCK:

 24         Q    Well, what do you mean by "gifted"?

 25         A    There are many gifts that could help a person      01:17:25

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  1    be a better athlete than others, whether --

  2         Q    So --

  3         A    -- whether it is something biological, whether

  4    that is something with family support.

  5         Q    Okay.   But -- so when -- when you're              01:17:43

  6    discussing the physiological characteristics that, on

  7    average, make cisgender boys have better outcomes in

  8    athletic performance than cisgender girls, you're not

  9    saying that every single cisgender boy has

 10    physiological characteristics that make -- that give         01:18:03

 11    them an advantage over the average cisgender girl of

 12    the same age and training, are you?

 13              MR. FRAMPTON:    Object to the form.

 14              THE WITNESS:    When we look at the data, if you

 15    compare comparably gifted aged and trained males and         01:18:24

 16    females, the males have an advantage.

 17    BY MR. BLOCK:

 18         Q    Yeah, but you're -- you're smuggling in the

 19    word "gifted" here, and you're including these

 20    physiological characteristics as meaning gifted, it          01:18:34

 21    sounds like.

 22              I'm trying to isolate your testimony about

 23    physiological advantages, okay?

 24              And so it's possible there's -- there's plenty

 25    of boys that are shorter than girls; right?                  01:18:46

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  1         A      Yes, there are some boys that are shorter than

  2    some girls.

  3         Q      Yes.    So not -- not every -- and there are

  4    some boys that are shorter than the average girl of the

  5    same age; correct?                                             01:19:04

  6         A      Yes, there are some boys that are shorter than

  7    the average girl.

  8         Q      Okay.    So not -- not every -- so even if

  9    males, on average, are taller than females, on average,

 10    not every male is gifted with greater height than the          01:19:18

 11    average girl of the same age; right?

 12         A      50 percent of men are taller than 90 percent

 13    of women.

 14         Q      Yeah.    And I know you're -- you're -- you're

 15    making a statement, though, that that doesn't answer my        01:19:38

 16    question.     And so I'm taking that as -- is the answer

 17    to my question "correct"?

 18         A      Could you restate the question, please?

 19         Q      Yes.    Not every boy is taller than the average

 20    cisgender woman; right?                                        01:19:54

 21                Let me switch from boys to gir- -- to a woman.

 22                Not every cisgender boy is taller than the

 23    average cisgender girl of the same age; correct?

 24         A      If I can -- I'm -- I'm just a little confused

 25    here because you are comparing an absolute of every boy        01:20:13

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  1    with average.

  2         Q    Yes, I -- I -- I am.      I -- I'm saying that it

  3    is entirely possible that there's an individual that is

  4    not taller than the -- an individual who is a boy that

  5    is not taller than the average girl, the mean -- or the       01:20:31

  6    mean height of girls of the same age; right?

  7         A    Yes.     So if you look at the distribution

  8    curves for body height, boys on the shorter end of the

  9    distribution curve may be shorter than girls in the

 10    average of the distribution curve.                            01:20:47

 11         Q    And -- and the same is true for speed; right?

 12         A    If I may, I would actually like to refer back

 13    to the graphs by Gabe Higgard so we could look and see

 14    where the slowest boys are relative to the

 15    50th percentile for the girls in those competitions.          01:21:09

 16         Q    Okay.     We can -- so we -- I appreciate that.

 17    We can refer back to that later.

 18              Are -- are you familiar at all with Becky's

 19    athletic performance?

 20         A    No.     I know nothing of Becky's athletic          01:21:26

 21    performance.

 22         Q    Okay.     And you -- as we said before, you are

 23    not providing expert testimony about her as an

 24    individual; correct?

 25         A    Right.     I'm providing testimony on overall       01:21:41

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  1    what we would see if we compare equal, as much as

  2    possible, males to females.

  3         Q    And is it your understanding of -- of this law

  4    that it prevents girls who are transgender from

  5    participating on the same sports teams as cisgender          01:22:06

  6    girls?

  7              MR. FRAMPTON:     Object to the form and scope.

  8              THE WITNESS:     My understanding is, yes, this

  9    states that people should participate in sports

 10    based -- based on their biological sex.                      01:22:21

 11    BY MR. BLOCK:

 12         Q    Right.    And, therefore, transgender girls

 13    should not be allowed to participate on the same sports

 14    team as cisgender girls; correct?

 15              MR. FRAMPTON:     Same objection.                  01:22:32

 16              THE WITNESS:     Just going to rephrase that.

 17              So trans girls should not be competing with

 18    cis girls, yes.

 19    BY MR. BLOCK:

 20         Q    Okay.    Thank you.                                01:22:40

 21              And you think H.B. 3293 -- well, let me say,

 22    do you know what I'm talking about when I refer to

 23    H.B. 3293?

 24         A    I know we're talking about H.B.         I don't

 25    remember the number.      I will assume that it is the law   01:22:57

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  1    in West Virginia.

  2         Q    Okay.   Great.

  3              You think H.B. 3293 is justified by science;

  4    right?

  5              MR. FRAMPTON:     Object to the form and scope.   01:23:06

  6              THE WITNESS:     Yes, I do.

  7    BY MR. BLOCK:

  8         Q    Okay.   And you think it's justified by science

  9    even though it applies to trans girls who, as a result

 10    of puberty blockers and gender-affirming hormones,          01:23:23

 11    never go through endogenous puberty; right?

 12              MR. FRAMPTON:     Same objections.

 13              THE WITNESS:     Yes.

 14    BY MR. BLOCK:

 15         Q    And you think H.B. 3293 is justified by           01:23:29

 16    science even though it applies to trans girls and women

 17    who go through endogenous puberty and then take

 18    medication to lower their levels of circulating

 19    testosterone; right?

 20              MR. FRAMPTON:     Same objections.                01:23:43

 21              THE WITNESS:     Yes.

 22    BY MR. BLOCK:

 23         Q    Okay.   And you think H.B. 3293 is justified by

 24    science even though it applies the same categorical

 25    rule to all sex-separated sports instead of creating        01:23:50

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  1    different standards for different sports; is that

  2    right?

  3                MR. FRAMPTON:    Same objections.

  4                THE WITNESS:    Yes.

  5    BY MR. BLOCK:                                                   01:24:01

  6            Q   Okay.   I would like to direct your attention

  7    to paragraph 8 of your report.        Let me know when you're

  8    there.

  9            A   It is on page 7, under item II, "Biological

 10    men"?                                                           01:24:29

 11            Q   Yes.

 12            A   Okay.

 13            Q   Okay.   Make sure I'm there myself.

 14                Okay.   So I'm just going to read this to you,

 15    beginning with the second sentence.          (As read):         01:24:44

 16                "I cited many" --

 17                Actually, I'll begin with the first sentence.

 18    Sorry.

 19                You say (as read):

 20                "Nevertheless, these differences have               01:24:52

 21                been extensively studied and measured.

 22                I cited many of these studies in the

 23                first paper on this topic that I

 24                prepared, which was submitted in

 25                litigation in January 2020.                         01:25:03

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  1              Since then, in light of current

  2              controversies, several authors have

  3              compiled valuable collections or

  4              reviews of data extensively

  5              documenting this objective fact about             01:25:11

  6              the human species, as manifest in

  7              almost all sports, each of which I

  8              have reviewed and found informative.

  9              Did I read that correctly so far?

 10         A    Yes, you did.                                     01:25:23

 11         Q    Okay.     Thanks.

 12              And you say (as read):

 13              "These include Coleman (2020), Hilton

 14              & Lundberg (2021), World Rugby (2020),

 15              Harper (2021), Hamilton (2021), and a             01:25:36

 16              'Briefing Book' prepared by the

 17              Women's Sports Policy Working Group

 18              (2021).

 19              Did I read that right?

 20         A    Yes.                                              01:25:46

 21         Q    Okay.     And if you -- if you could look at

 22    the -- that list that you gave, and I'd like you to --

 23    to tell me -- and I -- and I will write it down --

 24    which of those sources support excluding transgender

 25    girls and women from sports if they have had puberty        01:26:08

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  1    blockers and gender-affirming hormones and, as a

  2    result, have not gone through endogenous puberty.

  3                MR. FRAMPTON:    Object to the form.

  4                THE WITNESS:    Can you please rephrase that

  5    question?     It was just kind of long.                       01:26:21

  6    BY MR. BLOCK:

  7         Q      Yeah, sure.

  8                So I -- I'm talking about trans girls who have

  9    been on puberty blockers and, as a result, not

 10    experienced endogenous puberty.                               01:26:33

 11                Which of the sources identified in paragraph 8

 12    support excluding those trans girls who are on puberty

 13    blockers from participating in girls and women's

 14    sports?

 15                MR. FRAMPTON:    Object to the form.              01:26:47

 16                THE WITNESS:    I cannot recall right now which

 17    or if any of those papers discuss specifically puberty

 18    blockers.

 19    BY MR. BLOCK:

 20         Q      Okay.   So -- so you can't recall whether any     01:26:58

 21    of those papers discuss puberty blockers at all.         Is

 22    that what you're saying?

 23         A      I'm saying I cannot recall if they advocate

 24    for preventing people who have used puberty blockers

 25    from participating in girls' sports.                          01:27:15

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  1         Q    Okay.   Can you recall if any of them advocate

  2    in favor of allowing girls who use puberty blockers to

  3    participate in girls and women's sports?

  4         A    Well, as we discussed earlier, the Women's

  5    Sports Policy Working Group has a statement about that,      01:27:37

  6    and I think World Rugby has a statement about that.

  7         Q    Okay.   Any others?

  8         A    I can't recall from the others.

  9         Q    Okay.   So just in terms of what you can

 10    recall, at least two of them advocate in favor of            01:27:52

 11    allowing trans girls on puberty blockers to participate

 12    and you can't recall if any of the others support

 13    excluding girls who are transgender?

 14              MR. TRYON:     Objection.

 15              MR. FRAMPTON:     Same objection.      Form.       01:28:17

 16              THE WITNESS:     So I can't recall specifically.

 17    I think Hilton and Lundberg have some mention on that

 18    topic, but again, I can't recall without referring back

 19    to the paper to look.

 20    BY MR. BLOCK:                                                01:28:28

 21         Q    Okay.   And so which of the sources cited in

 22    this paragraph advocate in favor of excluding trans

 23    girls and women who go through puberty and then

 24    suppress testosterone?

 25              MR. FRAMPTON:     Objection; form.                 01:28:46

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  1              Go ahead.

  2              THE WITNESS:    I think that is Hilton and

  3    Lundberg and World Rugby and Harper and Hamilton and

  4    the Women's Sports Policy Working Group.

  5    BY MR. BLOCK:                                               01:28:55

  6         Q    Okay.   So it's Hilton and Lundberg and Harper

  7    and World Rugby and Women's Sports Policy Working

  8    Group?

  9         A    And, I think, Hamilton.

 10         Q    Okay.   You think that those five sources         01:29:12

 11    advocate in favor of excluding transgender girls and

 12    women from participating on girls and women's sports

 13    team if they have gone through endogenous puberty and

 14    then lowered their levels of circulating testosterone?

 15              MR. FRAMPTON:    Object to the form.              01:29:36

 16              THE WITNESS:    Yes, I think those all indicate

 17    that women deserve to compete in a protected category.

 18    BY MR. BLOCK:

 19         Q    Okay.   And then which of the sources cited in

 20    paragraph 8 advocate in favor of having a categorical       01:29:49

 21    rule that apply to all sports instead of

 22    differentiating based on what sport is at issue?

 23              MR. FRAMPTON:    Object to the form.

 24              THE WITNESS:    So World Rugby is speaking

 25    specifically about rugby; and, therefore, I would not       01:30:14

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  1    expect it to talk too much about other sports.

  2              If I recall correctly, Hamilton states

  3    specifically that women deserve to compete in a

  4    protected category, which implies all sports.

  5              Hilton and Lundberg advocate for sex              01:30:31

  6    segregation of sports, and, as far as I know, it's for

  7    all sports.

  8              And Harper indicates that trans women have a

  9    retained athletic advantage compared to cisgender

 10    women.                                                      01:30:45

 11    BY MR. BLOCK:

 12         Q    And so just to clarify, my question isn't

 13    whether or not there should be separation in those --

 14    in all sports; the question is whether or not there

 15    should be the same rules for excluding transgender          01:30:58

 16    girls and women in all sports.

 17              MR. FRAMPTON:    Objection; form.

 18              THE WITNESS:    I guess you'll need to rephrase

 19    the question because I thought I answered it.

 20    BY MR. BLOCK:                                               01:31:17

 21         Q    Yeah.   So IOC used to have a single standard

 22    that applied to all sports.     They then changed their

 23    policy so that individual standards could be crafted

 24    for different sports.

 25              H.B. 3293 has a single standard that applies      01:31:30

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  1    to all sports.

  2                My question is which of the sources support

  3    having a single standard that applies to all sports

  4    instead of having individual standards crafted to

  5    different sports.                                             01:31:46

  6                MR. FRAMPTON:     Objection to the form.

  7                THE WITNESS:     I would need to review each of

  8    them to be specific and certain.          So going off of

  9    memory, Hilton and Lundberg, Hamilton, Women's

 10    Sport (sic) Policy Working Group, again, as I recall,         01:32:05

 11    without looking at them specifically, state that it

 12    should be categorical women's sports and men's sports.

 13                MR. BLOCK:     Okay.   Can we go off the record

 14    for a second?

 15                MR. FRAMPTON:     Sure.                           01:32:19

 16                THE VIDEOGRAPHER:      We are off the record at

 17    1:32 p.m.

 18                (Recess.)

 19                THE VIDEOGRAPHER:      We are on the record at

 20    2:08 p.m.                                                     02:08:00

 21    BY MR. BLOCK:

 22         Q      Good afternoon, Dr. Brown.

 23         A      Mr. Block, how are you doing?

 24         Q      I -- I'm good.

 25                Okay.   So, you know, we -- just before the       02:08:12

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  1    break, we had just a series of questions about some of

  2    the sources quoted in your report, and I'm trying to

  3    just pull back, again, the -- the paragraph where this

  4    was discussed.

  5                This is paragraph 8, page 7, from your expert         02:08:32

  6    report, you know, marked Exhibit 64.

  7         A      Yes.

  8         Q      And, you know, we -- we had a series of

  9    questions about them.      And if you recall, my questions

 10    focused on three features of H.B. 3293.          One is the       02:08:46

 11    fact that it excludes trans girls and women even if

 12    they've had blockers.      Two is that it includes trans

 13    girls and women if they've gone through puberty and

 14    suppressed their testosterone.       And three is that it

 15    has an across-the-board rule.       And I asked you a series      02:09:09

 16    of questions about those elements of it, and now I'm

 17    going to turn to looking at the sources cited in

 18    paragraph 8, with an eye towards those elements.          So

 19    that's not a question for you; that's just to orient

 20    you for the next couple of questions.                             02:09:27

 21                MR. BLOCK:   So if you could look in your

 22    exhibit file, Exhibit 75, that should be a PDF of

 23    Coleman -- of the first Coleman article.          Coleman 2020.

 24                (Exhibit 75 was marked for identification

 25             by the court reporter and is attached hereto.)           02:09:46

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  1               THE WITNESS:     Yes.     By Doriane Coleman and

  2    Michael Joyner and Donna L.

  3    BY MR. BLOCK:

  4           Q   Yes.   All right.       So if we look at that

  5    article -- if you could turn to page 130 of her                     02:10:12

  6    article.    Let me know when you're there.          It's near the

  7    end.

  8           A   Still scrolling.        Almost there.

  9               All right.     Page 130.     Duke Journal of Gender

 10    and Law Policy, Volume 27:69, 2020.                                 02:10:49

 11           Q   Yep.   Okay.

 12               Now, just to preface this, you know, this

 13    article uses the phrase "category affirming" and

 14    "category defeating."

 15               Are you familiar with those terms?                       02:11:01

 16           A   If I remember correctly, category affirming

 17    applies to male and female.          Is that correct?

 18           Q   So my understanding, which I'll represent to

 19    you, is that category affirming means that the

 20    participation is consistent with the purposes of having             02:11:20

 21    a female category, and category defeating means

 22    allowing someone to participate would sort of defeat

 23    the purpose of having a female category.

 24               So if -- does that ring a bell at all for you?

 25           A   Yes, it does.     It does.                               02:11:37

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  1         Q    Okay.     So if you look at the -- the paragraph

  2    beginning "In high school" --

  3         A    Uh-huh.

  4         Q    -- "In high school intramural."

  5              Do you see that?                                   02:11:48

  6         A    Yes, I do.

  7         Q    Okay.     So it says (as read):

  8              "In high school intramural, junior

  9              varsity, and regular season play,

 10              where institutional goals are                      02:11:57

 11              primarily related to health and

 12              fitness and to the development of

 13              social skills, unconditional inclusion

 14              of gender diverse students according

 15              to their gender identity rather than               02:12:06

 16              their sex will usually be category

 17              affirming."

 18              Do you see that?

 19         A    I do.

 20         Q    Okay.     So that sentence indicates that it       02:12:12

 21    would be consistent with the female category according

 22    to Coleman 2020 to have -- to allow trans girls to

 23    participate in intramural, junior varsity and regular

 24    season play without any medical interventions

 25    whatsoever.   Do you agree?                                  02:12:39

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  1              MR. FRAMPTON:     Object to the form.

  2              THE WITNESS:     I'm looking at the sentence

  3    after that, however, which has some exceptions, which

  4    would include invitational and postseason

  5    opportunities.                                                02:12:53

  6    BY MR. BLOCK:

  7         Q    Yes.     Is it your understanding that H.B. 3293

  8    is limited to excluding trans girls from invitational

  9    and postseason opportunities?

 10              MR. FRAMPTON:     Object to the form.               02:13:04

 11              THE WITNESS:     Yes, it is my understanding that

 12    the law in West Virginia states that biological females

 13    only compete in female sports.

 14    BY MR. BLOCK:

 15         Q    Right.     But not just -- not just the             02:13:22

 16    invitational and postseason opportunities of female

 17    sports; right?

 18              MR. FRAMPTON:     Same objection.

 19              THE WITNESS:     Yes, it is my understanding that

 20    it is all parts of the sports.                                02:13:31

 21    BY MR. BLOCK:

 22         Q    Right.     So the H.B. 3293 does not allow trans

 23    girls to participate on girls' teams in the regular

 24    season play of sports; correct?

 25              MR. FRAMPTON:     Object to the form.               02:13:46

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  1               THE WITNESS:     I will trust your interpretation

  2    on that.

  3    BY MR. BLOCK:

  4         Q     Would you support a policy of allowing trans

  5    girls to participate in regular season play?                      02:14:01

  6               MR. FRAMPTON:     Object to the form and scope.

  7               THE WITNESS:     Inasmuch as biological males

  8    have inherent athletic advantages over biological

  9    females, I think the category should be retained.

 10    BY MR. BLOCK:                                                     02:14:19

 11         Q     Yeah, I know.     I'm -- I'm sorry, I really just

 12    need like a clear answer to my questions.

 13               This article draws a distinction between

 14    allowing trans girls to play in regular season play

 15    versus in postseason opportunities.          I'm just trying to   02:14:30

 16    get an answer from you about whether you agree with

 17    that distinction or not.          So --

 18               MR. FRAMPTON:     Objection to the form that

 19    misstates the article.

 20               MR. BLOCK:     Okay.                                   02:14:44

 21    BY MR. BLOCK:

 22         Q     So --

 23               MR. FRAMPTON:     You can go ahead and answer.

 24    BY MR. BLOCK:

 25         Q     So do you think that trans girls should not be         02:14:45

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  1    allowed to play on girls' teams for regular season

  2    play?

  3                  MR. FRAMPTON:     Object to the form.

  4                  Go ahead.

  5                  THE WITNESS:     I think that whether it's          02:14:58

  6    regular season, preseason, postseason, males have

  7    inherent athletic advantages; therefore, we should

  8    protect women's sports and men's sports.

  9    BY MR. BLOCK:

 10            Q     So -- so that's a yes?                              02:15:13

 11                  MR. FRAMPTON:     Same objection.

 12                  THE WITNESS:     I think you could take that as a

 13    yes.

 14    BY MR. BLOCK:

 15            Q     Thank you.                                          02:15:17

 16                  All right.     Then if you go down, continuing in

 17    the article, the paragraph that says -- let me find

 18    this.       All right.     The paragraph above that begins with

 19    "where combined."          (As read):

 20                  Where combined teams or practices                   02:15:44

 21                  coupled with sex segregated

 22                  competition cannot be -- cannot

 23                  accomplish institutional goals, the

 24                  accommodations approach detailed in

 25                  Part IIIC4 should be adopted."                      02:15:55

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  1               And that cross references a section that I

  2    don't think we need to turn to for purposes of this

  3    question, but let me know if you disagree.

  4               Then the -- then the paragraph continues,

  5    so -- (as read):                                            02:16:08

  6               "This will be the case" --

  7               Meaning the accommodations approach should be

  8    adopted.

  9               (As read):

 10               -- "in circumstances where sex                   02:16:14

 11               segregated teams and events remain

 12               necessary to secure parity of

 13               opportunity for females.     Where the

 14               accommodations approach is adopted,

 15               trans students will train and compete            02:16:24

 16               consistent with their gender identity

 17               so long as their inclusion can be

 18               relevantly conditioned.    The NCAA

 19               transgender policy is illustrative of

 20               a hormonal condition in this category;           02:16:38

 21               others that do not require

 22               medicalization— such as handicaps,

 23               offsets, and quotas— exist as more

 24               appropriate models for the high school

 25               sports space.                                    02:16:45

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  1              Do you see that?

  2         A    Yes, I see that.

  3         Q    Okay.   So am I correct in saying that this

  4    article points to the NCAA transgender policy as

  5    illustrative of a model of allowing trans girls to            02:16:58

  6    participate so long as their inclusion can be

  7    relatively -- relevantly conditioned?

  8              MR. FRAMPTON:     Object to the form.

  9              THE WITNESS:     And I'm unclear what they mean

 10    by "relevantly conditioned," so I don't know how I can        02:17:21

 11    answer that.

 12    BY MR. BLOCK:

 13         Q    Okay.   Why do you think they're citing the

 14    NCAA transgender policy?

 15         A    This is the old NCAA policy, not the current        02:17:35

 16    NCAA policy, and the old NCAA policy did have a

 17    statement about testosterone suppression.

 18         Q    So -- and so they are citing testosterone

 19    suppression as an example of an accommodations approach

 20    that should be used in circumstances for sex-segregated       02:18:00

 21    teams and events remain necessary to secure parity of

 22    opportunity for females; right?

 23              MR. TRYON:     Objection.

 24              MR. FRAMPTON:     Object to the form.

 25              THE WITNESS:     And again, what -- I'm still not   02:18:19

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  1    sure what you're asking me here.

  2    BY MR. BLOCK:

  3         Q      Sure.   I'm -- I'm asking, does this article

  4    support a policy of -- of excluding trans girls and

  5    women from all female athletic events, even if they                02:18:28

  6    suppress testosterone after puberty?

  7                MR. FRAMPTON:     Same objection.

  8                THE WITNESS:     As I read it, this article is

  9    kind of confusing on that.

 10                MR. BLOCK:     Okay.   All right.    I'll -- I'll      02:18:50

 11    leave that article at that.

 12                Let's next look at the Hilton and Lundberg

 13    article, which I will cue up for you.           For some reason,

 14    Exhibit Share is being slow.

 15                (Exhibit 76 was marked for identification              02:19:43

 16             by the court reporter and is attached hereto.)

 17    BY MR. BLOCK:

 18         Q      Okay.   This should pop up on your exhibit list

 19    as Exhibit 76.

 20         A      All right.     Exhibit 076 - Hilton - Transgender      02:20:00

 21    Women...?

 22         Q      Yes.

 23         A      Okay.

 24         Q      So, you know, we discussed this, you know,

 25    as -- you -- you cited this as an exam- -- as,                     02:20:12

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  1    potentially, an example of an article supporting a

  2    categorical rule across sports; correct?

  3         A    That is correct.

  4         Q    Okay.     And you cited this, potentially, as an

  5    example of an article supporting an exclusion of trans       02:20:29

  6    girls and women even if they've suppressed

  7    testosterone; right?

  8              MR. FRAMPTON:       Same -- object to the form.

  9              THE WITNESS:       Yes.

 10    BY MR. BLOCK:                                                02:20:40

 11         Q    Okay.     Great.

 12              So let's look on page 211 of this article.

 13              Let me know when you're there.

 14         A    All right.     Yep, page 211.

 15         Q    Great.     All right.     Sorry.    One second.    02:21:08

 16              All right.     If you look on the right-hand

 17    column, the second -- the third sentence there, where

 18    it begins, "It is also," do you see that?

 19         A    So page 211, right-hand column?

 20         Q    Second full paragraph, third sentence.             02:21:44

 21         A    Yes.     "It is also important to recognize..."

 22         Q    Yeah.     So that says (as read):

 23              "It is also important to recognize the

 24              performance in most sports may be

 25              influenced by factors outside muscle               02:21:58

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  1              mass and strength, and the balance

  2              between inclusion, safety and fairness

  3              therefore differs between sports."

  4              Do you see that?

  5         A    Yes.                                              02:22:06

  6         Q    Okay.   Does that refresh your recollection at

  7    all about whether or not this article advocates for a

  8    single across-the-board rule?

  9              MR. FRAMPTON:    Object to the form.

 10              THE WITNESS:    It doesn't make a clear           02:22:21

 11    statement one way or the other, necessarily.

 12    BY MR. BLOCK:

 13         Q    Okay.   So let's continue reading.

 14              If you go to the final full paragraph.

 15         A    Okay.                                             02:22:47

 16         Q    The second sentence beginning with

 17    "regardless."

 18         A    Okay.

 19         Q    Okay.   It says (as read):

 20              "Regardless of what the future will               02:22:54

 21              bring in terms of revised transgender

 22              policies, it is clear that different

 23              sports differ vastly in terms of

 24              physiological determinants of success,

 25              which may create safety considerations            02:23:05

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  1               and may alter the importance of

  2               retained performance advantages.

  3               Thus, we argue against universal

  4               guidelines for transgender athletes in

  5               sport and instead propose that each               02:23:17

  6               individual sports federation evaluate

  7               their own conditions for inclusivity,

  8               fairness and safety."

  9               Do you see that?

 10         A     Yes, I do.                                        02:23:26

 11         Q     Okay.   So is it fair to say that this article,

 12    they state that they argue against universal guidelines

 13    for transgender athletes in sport?

 14               MR. FRAMPTON:    Object to form.

 15               THE WITNESS:    Yes, that would be a correct      02:23:42

 16    statement based on what is written right there.

 17    BY MR. BLOCK:

 18         Q     Okay.   So based on what is written right

 19    there, they do not support a single categorical rule

 20    that applies equally to all sporting events; correct?        02:23:52

 21               MR. FRAMPTON:    Same objection.

 22               THE WITNESS:    Based on that sentence, that is

 23    correct.

 24    BY MR. BLOCK:

 25         Q     Okay.   Let's go to page 209 of this.             02:23:59

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  1              At the top of the page, on the left-hand

  2    column.

  3         A    Okay.

  4         Q    Okay.   The paragraph beginning -- I mean, not

  5    the paragraph.    The sentence beginning with the word      02:24:28

  6    "however."

  7              Do you see that --

  8         A    Yes.

  9         Q    -- right in the middle of that first

 10    paragraph?                                                  02:24:35

 11              All right.   It says (as read):

 12              "However, given the plausible

 13              disadvantages with testosterone

 14              suppression mentioned in this section,

 15              together with the more marginal male              02:24:43

 16              advantage in endurance-based sports,

 17              the balance between inclusion and

 18              fairness is likely closer to

 19              equilibrium in weight-bearing

 20              endurance-based sports compared with              02:24:55

 21              strength-based sports where the male

 22              advantage is still substantial.

 23              Do you see that?

 24         A    Yes, I do.

 25         Q    All right.   So -- and feel free to read more     02:25:03

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  1    of that paragraph of which this is an excerpt, but is

  2    it fair to say that the authors of this article are

  3    saying there is a substantial advantage for

  4    strength-based sports for transgender women who

  5    suppress testosterone, but when it comes to -- when it      02:25:25

  6    comes to weightbearing endurance-based sports, the

  7    balance between inclusion and fairness is likely closer

  8    to equilibrium?

  9              MR. FRAMPTON:     Object to the form.

 10              MR. TRYON:     Objection.                         02:25:45

 11              THE WITNESS:     I think you need to take that

 12    particular statement in context of the other

 13    information presented in this article in which the

 14    authors clearly demonstrate a 10 to 13 percent

 15    advantage in endurance performance for males compared       02:25:57

 16    to females relative to the 30 to 60 percent -- I guess

 17    I could look up at the table and tell you exactly the

 18    percent -- that they're showing for advantage in

 19    strength-based sports.

 20              And then if you look at the para- -- the          02:26:10

 21    sentence right above what you've quoted, they mention

 22    about unknown effects on vari- -- a number of the

 23    determinants of endurance performance.

 24              And so I really can't say too much beyond that

 25    that is kind of a speculative statement.                    02:26:26

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  1    BY MR. BLOCK:

  2         Q     I see.     So if you look on page 208, there's a

  3    discussion about -- on the right-hand column, there's a

  4    discussion about hemoglob- -- hemoglobin levels being

  5    reduced with once testosterone is suppressed; correct?        02:26:48

  6         A     Yes.     Second paragraph down, page 208, starts

  7    "Circulating hemoglobin."

  8         Q     Right.     And if you -- and then if you look at

  9    the next paragraph, it also says (as read):

 10               "The typical increase in body fat                  02:27:07

 11               noted in transgender women may also be

 12               a disadvantage for sporting activities

 13               (e.g. running) where body weight (or

 14               fat distribution) presents a marginal

 15               disadvantage."                                     02:27:21

 16               Right?

 17         A     Correct.

 18         Q     Okay.     All right.   I'll leave it at that

 19    article.

 20               We already -- you mentioned the World Rugby        02:27:36

 21    policies, and you already noted that World Rugby allows

 22    girls and women -- trans girls and women to -- I guess

 23    I'll start over.

 24               You already mentioned that World Rugby allows

 25    trans women to participate in women's rugby if they've        02:27:55

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  1    had puberty blockers and, therefore, not experienced

  2    endogenous puberty; right?

  3              MR. FRAMPTON:     Object to form.

  4              Go ahead.

  5              I'm sorry.     I couldn't tell if you finished      02:28:11

  6    the question.

  7              Go --

  8              MR. FRAMPTON:     But objection.

  9              Go ahead and answer.

 10              THE WITNESS:     All right.    That is my           02:28:14

 11    understanding of what World Rugby has stated.

 12    BY MR. BLOCK:

 13          Q   Okay.   So you don't need me to put on the

 14    screen a -- a copy of the World Rugby policy to -- to

 15    point out that provision, do you?                             02:28:27

 16          A   I would ask you to put it on the screen so we

 17    can evaluate if they cite any sources to make that

 18    statement.

 19          Q   Sure.   Let's put that -- let's put it on the

 20    screen.   One second.                                         02:28:40

 21              MS. DUPHILY:     Did you say you wanted to put

 22    something on the screen or --

 23              MR. BLOCK:     No, I'll take -- I'll take care of

 24    it.   I'm just looking up which specific one I want to

 25    put up.                                                       02:29:03

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  1                MS. DUPHILY:     Okay.

  2                (Exhibit 77 was marked for identification

  3             by the court reporter and is attached hereto.)

  4    BY MR. BLOCK:

  5         Q      All right.     So this is going to pop up as        02:29:22

  6    marked as Exhibit 77.        Let me know when you see it.

  7         A      All right.     Exhibit 077 - World Rugby

  8    Transgender...?

  9         Q      Yes.     All right.     And you see it says, "Can

 10    transgender women play rugby?" right?                           02:29:58

 11         A      Yes.

 12         Q      Okay.     And the first bullet point says (as

 13    read):

 14                "Transgender women who transitioned

 15                pre-puberty and have not experienced                02:30:08

 16                the biological effects of testosterone

 17                during puberty and adolescence can

 18                play women's rugby (subject to

 19                confirmation of medical treatment and

 20                the timing thereof).                                02:30:18

 21                Right?

 22         A      Yes, I see that.

 23         Q      Okay.     The third bullet point also says (as

 24    read):

 25                "Transgender women can play                         02:30:22

                                                                       Page 217

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  1               mixed-gender non-contact rugby."

  2               Right?

  3         A     Yes.

  4         Q     Okay.    And if we -- scroll down.

  5               Do you know -- do you know if World Rugby at        02:31:00

  6    all talks about any advantages for -- between boys and

  7    girls before puberty?

  8         A     I don't recall this document from World Rugby

  9    evaluating differences between boys and girls

 10    prepuberty.                                                    02:31:25

 11         Q     Can you recall any document from World Rugby

 12    evaluating that?

 13         A     Sitting here right now, I cannot recall that

 14    World Rugby has evaluated and cited sources on

 15    differences before puberty or the effect of puberty            02:31:45

 16    blockers on those differences.

 17         Q     Okay.    All right.

 18               So that's -- that's World Rugby.        So we can

 19    put that down as not supporting a policy of excluding

 20    trans girls and women from participating in girls and          02:32:04

 21    women's sports if they've had puberty blockers;

 22    correct?

 23               MR. FRAMPTON:    Object to the form.

 24               THE WITNESS:    I think it's important that

 25    that's specific to rugby.                                      02:32:18

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  1    BY MR. BLOCK:

  2         Q      I -- I understand.      But the -- the answer to

  3    my question is correct; right?

  4                MR. FRAMPTON:     Object to the form.

  5                THE WITNESS:     Isn't that what I said?            02:32:26

  6    BY MR. BLOCK:

  7         Q      No.     You -- you've made a different statement,

  8    so I -- I just -- I need you to answer my question

  9    before you make a different statement.

 10                So it's fair to say that -- that                    02:32:35

 11    World Rugby -- this World Rugby policy does not support

 12    excluding trans girls and women from girls and women's

 13    teams in rugby if they have been on hormone blockers

 14    and not experien- -- puberty blockers and not

 15    experienced endogenous puberty; correct?                        02:32:58

 16                MR. FRAMPTON:     Object to the form.

 17                THE WITNESS:     Yes, that is correct, as you

 18    stated, the World Rugby statement is about rugby.

 19                (Exhibit 78 was marked for identification

 20             by the court reporter and is attached hereto.)         02:33:10

 21    BY MR. BLOCK:

 22         Q      Okay.     All right.   Now let's look at the

 23    Harper 2021 article.

 24                All right.     This is going to appear on your

 25    screen as Exhibit 78.        Please let me know once you have   02:33:36

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  1    it.

  2            A   All right.   Exhibit 078 - Harper.

  3            Q   All right.   See if I can grab -- all right.

  4    So if you go to page 7.        Let me know when you're there.

  5            A   All right.   Page 7 of 9.                           02:34:17

  6            Q   Yeah.   So if you look at the first full

  7    paragraph, beginning with "in contrast," do you see

  8    that?

  9            A   Yes.

 10            Q   Okay.   It says (as read):                          02:34:35

 11                "In contrast to strength-related data,

 12                blood cell findings revealed a

 13                different time course of change.

 14                After 3-4 months on GAHT" -- which is

 15                gender-affirming hormone therapy --                 02:34:48

 16                "the HCT or Hgb levels of transwomen

 17                matched those of cisgender women, with

 18                levels remaining stable within the

 19                'normal' female range for studies

 20                lasting up to 36 months."                           02:35:02

 21                Do you see that?

 22            A   Yes, I do.

 23            Q   Okay.   And then if you look at the bottom of

 24    the paragraph, so that's the top of the second column,

 25    it says (as read):                                              02:35:19

                                                                       Page 220

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  1              "Given this, and that the changes in

  2              Hgb/HCT follow a different time course

  3              than strength changes, sport-specific

  4              regulations for transwomen in

  5              endurance versus strength sports may               02:35:30

  6              be needed."

  7              Do you see that?

  8         A    Yes, I see that.

  9         Q    Okay.   So is this Harper article advocating

 10    for a single categorical rule that doesn't distinguish       02:35:41

 11    between endurance sports and strength sports?

 12              MR. FRAMPTON:    Object to the form.

 13              THE WITNESS:    That would appear to be correct.

 14    BY MR. BLOCK:

 15         Q    Okay.   Now, if you look at the bottom right,      02:35:53

 16    so the last paragraph, bottom right of page 7, it says

 17    (as read):

 18              "Although the data we present are

 19              meaningful, the effects of GAHT on

 20              these parameters, or indeed athletic               02:36:15

 21              performance in transgender people who

 22              engage in training and competition,

 23              remain unknown."

 24              Do you see that?

 25         A    Yes.                                               02:36:23

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  1            Q     Okay.    Great.

  2                  And then if we move down -- actually, never

  3    mind.       I'll come -- I'll come back to this article.

  4    I -- I have one more to quote for you, and then I'll

  5    come back to this article.                                  02:36:44

  6                  If you go to page 8, at the very end, the

  7    second to last sentence.

  8            A     Is that the one that starts "Whether

  9    transgender"?

 10            Q     Yes.    It says (as read):                    02:36:57

 11                  Whether --

 12            A     Okay.

 13            Q     (As read):

 14                  "Whether transgender and cisgender

 15                  women can engage in meaningful sport,         02:37:02

 16                  even after gender-affirming hormone

 17                  therapy, is a highly debated question.

 18                  However, before this question can be

 19                  answered with any certainty, the

 20                  intricacies and complexity of factors         02:37:12

 21                  that feed into the development of

 22                  high-performance athletes warrant

 23                  further investigation of attributes

 24                  beyond those assessed herein."

 25                  Do you see that?                              02:37:23

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  1         A    I see that.

  2         Q    Okay.    So do the authors of this article

  3    believe that the information they present here allows a

  4    policy maker to determine with any certainty whether

  5    transgender and cisgender women can engage in                 02:37:38

  6    meaningful sport after GAHT?

  7              MR. FRAMPTON:     Object to the form.

  8              MR. TRYON:     Objection.

  9              THE WITNESS:     The authors state that that

 10    question cannot be answered.                                  02:37:52

 11    BY MR. BLOCK:

 12         Q    Okay.    And you -- do you think the question

 13    can be answered?

 14              MR. FRAMPTON:     Object to the form.

 15              Go ahead.                                           02:38:05

 16              THE WITNESS:     I think that the question can be

 17    answered sufficiently that we should not do away with

 18    existing policies until further information

 19    demonstrating the removal of biological male advantage

 20    has been obtained.                                            02:38:18

 21    BY MR. BLOCK:

 22         Q    Okay.    Let me ask that again.

 23              So the -- the -- the -- because I'm just not

 24    sure it came out clearly.

 25              So the authors of this article say -- I'm just      02:38:32

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  1    going to read it again for the record.        (As read):

  2              "Whether transgender and cisgender

  3              women can engage in meaningful sport,

  4              even after gender-affirming hormone

  5              therapy, is a highly debated question.            02:38:47

  6              However, before this question can be

  7              answered with any certainty, the

  8              intricacies and complexity of factors

  9              that feed into the development of

 10              high-performance athletes warrant                 02:38:56

 11              further investigation of attributes

 12              beyond those assessed herein."

 13              Do you agree or disagree with that statement?

 14              MR. FRAMPTON:    Object to the form.

 15              Go ahead.                                         02:39:08

 16              THE WITNESS:    So what is the question I'm

 17    agreeing with or not agreeing with?

 18    BY MR. BLOCK:

 19         Q    I -- I believe the question is that until --

 20    until the intricacies and complexity of factors that        02:39:24

 21    feed into the development of high-performance

 22    athletes -- let me ask the question again in a -- in a

 23    clearer way.

 24              Do you -- the -- the question is, do you -- is

 25    the information presented in this article sufficient        02:39:37

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  1    for a policy maker to answer with any certainty whether

  2    transgender and cisgender women can engage in

  3    meaningful sport after gender-affirming hormone

  4    therapy?

  5               MR. FRAMPTON:     Same objection.                      02:39:55

  6               Go ahead.

  7               THE WITNESS:     What is meant by "meaningful

  8    sport"?

  9    BY MR. BLOCK:

 10         Q     What -- what do you think is meant by                  02:39:59

 11    "meaningful sport"?

 12         A     I asked first.

 13         Q     So you can't answer the question without

 14    knowing more what they mean by "meaningful sport"?

 15         A     Yes, I would like know what they mean more by          02:40:19

 16    "meaningful sport."

 17         Q     Okay.   Do you think that -- all right.       We can

 18    come back to this article later too.

 19               So a question about the Hamilton article.        You

 20    have several times, if I'm right, referenced a                    02:40:45

 21    statement in the Hamilton article about how women have

 22    a right to compete in a protected category; is that

 23    right?

 24         A     Yes, I have stated that.

 25         Q     Okay.   Is there any other portion of the              02:41:02

                                                                         Page 225

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  1    Hamilton article that you remember?

  2              MR. FRAMPTON:    Object to the form.

  3              THE WITNESS:    I remember there was a lot of

  4    statements in the Hamilton article that seemed

  5    confusing and contradictory.                                02:41:18

  6    BY MR. BLOCK:

  7         Q    What do you mean by "confusing and

  8    contradictory"?

  9         A    Again, if I'm remembering the article

 10    correctly, it seemed like they would make a statement       02:41:30

 11    in one place about how trans women retain significant

 12    advantages and then in another statement state

 13    something about how those advantages wouldn't influence

 14    sport performance and then come back and state that

 15    those are advantages that influence sport performance.      02:41:48

 16              I'm -- I'm grossly generalizing here, but that

 17    was my impression because I read a lot of the article.

 18         Q    Okay.   Which portions of the article did you

 19    decide to cite in your report?

 20              MR. FRAMPTON:    Object to the form.              02:42:06

 21              THE WITNESS:    The -- if I'm remembering

 22    correctly, that is a direct quote from Hamilton, that

 23    cisgender women deserve to compete in a protected

 24    category, and I thought that was a very clear statement

 25    from that article.                                          02:42:22

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  1    BY MR. BLOCK:

  2         Q    Okay.   But -- but you had said before that

  3    several statements in the article are contradictory;

  4    right?

  5         A    Yes.                                               02:42:30

  6         Q    Okay.   And in your report, you quoted the

  7    statements that you believe support excluding trans

  8    girls and women from female sports; is that right?

  9              MR. FRAMPTON:    Object to the form.

 10              THE WITNESS:    Yes, I quoted from Hamilton        02:42:56

 11    those parts that -- yeah, as you said.

 12    BY MR. BLOCK:

 13         Q    Okay.   But you didn't quote any of the

 14    portions of the Hamilton article that are contradictory

 15    with that; right?                                            02:43:19

 16              MR. FRAMPTON:    Object to the form.

 17              THE WITNESS:    I didn't put quotations in there

 18    that were confusing and contradictory to other

 19    quotations in the article.

 20    BY MR. BLOCK:                                                02:43:28

 21         Q    Well, so if there's two quotations in the

 22    article, one of them supports allowing trans women to

 23    participate and the other one opposes allowing

 24    transgender women to participate, you decided to cite

 25    to the quote that opposes allowing trans women to            02:43:42

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  1    participate; right?

  2                MR. FRAMPTON:     Object to the form.

  3                THE WITNESS:     Yes, that is what I quoted.

  4    BY MR. BLOCK:

  5         Q      Okay.   And why did you choose to cite the       02:43:55

  6    portions that you believe support opposing -- I'll ask

  7    again.

  8                Why did you choose to cite to the portions

  9    that would support excluding transgender women instead

 10    of the portions of the article that you think support        02:44:08

 11    including them?

 12                MR. FRAMPTON:     Object to the form.

 13                THE WITNESS:     Because as I read the article

 14    and evaluated the information, I thought it was a clear

 15    statement opposing the inclusion of trans women in           02:44:22

 16    women's sports.

 17                (Exhibit 79 was marked for identification

 18             by the court reporter and is attached hereto.)

 19    BY MR. BLOCK:

 20         Q      Okay.   So let's look at the -- let's look at    02:44:28

 21    the article.

 22                So this will appear on your screen in a second

 23    as Exhibit 79.      Let me know when it appears.

 24         A      All right.     Exhibit 079 - Hamilton.

 25         Q      Okay.   Is this article that you were            02:45:19

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  1    referencing when you cited to the 2021 Hamilton

  2    article?

  3         A     Yes.     I think I also refer to it in my

  4    declaration as the FIMS 2021 statement.

  5         Q     Yeah.     What -- what is FIMS?                         02:45:33

  6         A     It's the International Sports Medicine

  7    Federation.       I think it's French, is why it's like

  8    Federation International Medicine Sport.           That's why it

  9    becomes FIMS.

 10         Q     Uh-huh.                                                 02:45:46

 11         A     Beyond that, it's just a -- it's a

 12    professional organization of people interested in

 13    sports medicine.

 14         Q     Is -- in your -- your report, you say that the

 15    statement is "signed by more than 60 sports medicine               02:46:01

 16    experts from prestigious institutions around the

 17    world"; is that right?

 18         A     What page is that on my declaration so I make

 19    sure I'm agreeing to a number that --

 20         Q     Sure.     It's paragraph 167, which is page 56 of       02:46:16

 21    the PDF.    And it's page 51 of the bottom pagination.

 22         A     All right.     Yes, that is what I stated in my

 23    declaration.

 24         Q     Okay.     So the views expressed by this body,

 25    you think, are entitled to significant weight; right?              02:46:36

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  1              MR. FRAMPTON:    Object to the form.

  2              THE WITNESS:    It is an -- it is a statement

  3    from an organization that is, you know, a respected

  4    organization.

  5    BY MR. BLOCK:                                                02:46:58

  6         Q    Okay.   If you turn to page 2 of this, so

  7    page 1402, at the top left, there's a little box that

  8    says "Key Points."

  9              Do you see that?

 10         A    Yes.                                               02:47:08

 11         Q    Okay.   Key Points.    And the first point there

 12    is (as read):

 13              "The use of testosterone concentration

 14              limits of 5 nmol/L in transwomen and

 15              DSD women athletes is a justifiable                02:47:19

 16              threshold based on the best available

 17              scientific evidence."

 18              Did I read that right?

 19         A    You read that correctly.

 20         Q    And so of the points in this article               02:47:29

 21    highlighted as the key points, this is the first one;

 22    right?

 23              MR. FRAMPTON:    Object to the form.

 24              THE WITNESS:    Yes, that appears to be the

 25    first highlighted key point.                                 02:47:39

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  1    BY MR. BLOCK:

  2         Q    Okay.   But you didn't choose to mention this

  3    first key point in your report; right?

  4         A    That is correct.

  5         Q    Okay.   Why not?                                  02:47:49

  6         A    I disagree with that key point.

  7         Q    Okay.   So you only highlighted -- you only

  8    cited to the portions of this article that you agreed

  9    with; right?

 10              MR. FRAMPTON:      Object to the form.            02:47:58

 11              THE WITNESS:     I cited the information that I

 12    agree with after evaluating the other scientific

 13    information.

 14    BY MR. BLOCK:

 15         Q    Let's go to 1409.                                 02:48:22

 16              Do you see that?

 17         A    Yes.

 18         Q    Okay.   So the third bullet point here, when we

 19    get to -- this is -- I'm sorry, under -- this whole

 20    section of bullet points is under the subsection 5.7        02:48:41

 21    "FIMS Consensus Statements for the Integration of DSD

 22    Women and Transwomen Athletes into Elite Female Sport";

 23    right?

 24         A    That is correct.

 25         Q    All right.     So based on the foregoing          02:48:53

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  1    information discussed in the article, these are the

  2    consensus statements that FIMS agreed upon; right?

  3         A    That's a reasonable conclusion, yes.

  4         Q    Okay.   So the third bullet point on the

  5    right-hand column is (as read):                             02:49:13

  6              "Transwomen have a (sic) right to

  7              compete in sports.     However, cisgender

  8              women have the right to compete in a

  9              protected category."

 10              Is that right?                                    02:49:26

 11         A    That's correct.

 12         Q    Okay.   And this bullet point is a bullet point

 13    that you included in your report; right?

 14         A    Correct.

 15         Q    Okay.   Do you know if you included any of the    02:49:33

 16    other bullet points in your report?

 17         A    I don't think I included any of the other

 18    bullet points.

 19         Q    Okay.   So let's look at some of those other

 20    bullet points.                                              02:49:46

 21              If you go two bullet points down from the --

 22    the one we just looked at, it says (as read):

 23              "As each sport can vary greatly in

 24              terms of physiological demands, we

 25              support the view held also by others              02:49:58

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  1              stating that individual

  2              sport-governing bodies should develop

  3              their own individual policies based on

  4              broader guidelines developed on the

  5              best available scientific evidence,               02:50:09

  6              determined experimentally from a

  7              variety of sources with a particular

  8              preference for studies on transwomen

  9              and DSD women athletes."

 10              Did I read that right?                            02:50:19

 11         A    Yes.

 12         Q    Okay.   So this bullet point supports having

 13    different policies developed by different sport's

 14    governing bodies; right?

 15              MR. FRAMPTON:    Object to the form.              02:50:32

 16              THE WITNESS:    That is a great example of a

 17    bullet point that seems contradictory to a previous

 18    statement.

 19    BY MR. BLOCK:

 20         Q    Okay.   But this statement here does not          02:50:39

 21    support an across-the-board policy that applies to all

 22    difference types of sports; is that right?

 23              MR. FRAMPTON:    Same objection.

 24              Go ahead.

 25              THE WITNESS:    That is correct.                  02:50:54

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  1    BY MR. BLOCK:

  2         Q    And then two more bullet points down, it says

  3    (as read):

  4              "The use of serum testosterone

  5              concentrations as the primary                     02:51:17

  6              biomarker to regulate the inclusion of

  7              athletes into male and female

  8              categories is currently the most

  9              justified solution as it is supported

 10              by the available scientific literature            02:51:27

 11              and should be implemented at the elite

 12              level, where there is an emphasis on

 13              performance enhancement."

 14              Did I read that right?

 15         A    Yes, you read that correctly.                     02:51:38

 16         Q    Okay.   And that's -- that's similar to the key

 17    point that we talked about before, on the second page;

 18    right?

 19         A    That is similar to that previous key point.

 20         Q    Okay.   And then if you turn the page, the        02:51:46

 21    first full -- fir- -- excuse me -- the first full

 22    bullet point at the top, you know, again, is --

 23    essentially restates the -- the key point that we

 24    discussed before; is that right?

 25              MR. FRAMPTON:   Same objection.                   02:52:04

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  1              Go ahead.

  2              THE WITNESS:    Yes.   That reiterates the

  3    5 nmol/L threshold for testosterone.

  4    BY MR. BLOCK:

  5         Q    Okay.   And then the sentence also says that      02:52:14

  6    that threshold may be modified as new evidence arises

  7    for an event or sport-specific concentrations; is that

  8    right?

  9         A    Yes, that is what it says.

 10         Q    Okay.   And so -- so that -- that bullet point    02:52:28

 11    and the other bullet point we looked at about the use

 12    of serum testosterone and the other bullet point about

 13    having individual policies for individual sports are

 14    bullet points that you disagreed with; right?

 15         A    That is correct.                                  02:52:49

 16         Q    Okay.   And because you disagreed with them,

 17    you did not include them in your report?

 18              MR. FRAMPTON:    Object to the form.

 19              Go ahead.

 20              THE WITNESS:    That is correct.                  02:53:01

 21    BY MR. BLOCK:

 22         Q    Okay.   But at least according to this

 23    document, the -- all the authors of this statement had

 24    agreed on those bullet points as consensus statements;

 25    right?                                                      02:53:19

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  1                  MR. FRAMPTON:      Object to the form.

  2                  THE WITNESS:      Assuming that the authors, you

  3    know, agreed to it with their signature, that is a

  4    reasonable assumption.

  5    BY MR. BLOCK:                                                    02:53:31

  6            Q     Okay.    Great.

  7                  And actually -- in fact -- one second.

  8                  All right.     If you look at page 1403, it

  9    says -- at the bottom of that first paragraph, do you

 10    see where it says "all statements"?                              02:54:16

 11            A     The bottom of which paragraph?

 12            Q     Sorry.    On the right-hand column, on

 13    page 1403, under the "Methods" section, do you see

 14    that?       The paragraph begins with -- with "here."

 15    "Here, we present."                                              02:54:37

 16            A     Yes.

 17            Q     Okay.    So the last sentence -- the last two

 18    sentences say (as read):

 19                  "All statements received unanimous

 20                  approval by all named authors except               02:54:48

 21                  for the statement on the testosterone

 22                  limit of 5 nmol/L, which received

 23                  majority approval and the voting

 24                  result is included in this (sic)

 25                  article."                                          02:54:59

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  1              Do you see that?

  2         A    Yes, I see that.

  3         Q    All right.     So let's go down to what the

  4    voting results were for that.

  5              Okay.     It's actually on the bullet points that   02:55:20

  6    we looked at before, on 1410.

  7         A    On page 1410?

  8         Q    Uh-huh.

  9         A    All right.

 10         Q    Okay.     So beginning with -- so the first --      02:55:38

 11    the second full bullet point, it says (as read):

 12              "The statement on the testosterone

 13              concentration threshold for transwomen

 14              and DSD women athletes was the only

 15              point of contention for the FIMS                    02:55:48

 16              Panel.     All 70 authors voted, of whom

 17              87% were in favour of the 5 nmol/L

 18              threshold, 2% of the authors were in

 19              favour of a threshold of 8 nmol/L, 2%

 20              were in favour of a threshold around                02:56:04

 21              the upper testosterone concentration

 22              of normal healthy females of

 23              0.2-1.7 nmol/L, and 8% of authors were

 24              in favour of no change to the limit

 25              until further evidence was acquired."               02:56:18

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  1              Do you see that?

  2         A    Yes, I see that.

  3         Q    Okay.   So -- so based on this paragraph, it

  4    appears that none of the 70 authors supported a policy

  5    of prohibiting trans women from participating, you          02:56:35

  6    know, regardless of how low they suppressed their

  7    circulating testosterone levels; right?

  8              MR. FRAMPTON:    Object to the form.

  9              THE WITNESS:    Can you restate the question?

 10    BY MR. BLOCK:                                               02:56:58

 11         Q    Sure.   Did any of the 70 au- -- 70 authors

 12    vote in favor of prohibiting trans women completely

 13    from prohibiting -- from -- from participating in

 14    women's sports regardless of how low they -- they

 15    lowered their levels of circulating testosterone?           02:57:15

 16              MR. FRAMPTON:    Same objection.

 17              THE WITNESS:    I would really like to read the

 18    article more and not just look at this particular

 19    statement on their decision on what they thought were

 20    acceptable testosterone levels.                             02:57:27

 21    BY MR. BLOCK:

 22         Q    Okay.   But based on this paragraph, it appears

 23    that none of the 70 authors supported a policy

 24    analogous to H.B. 3293; right?

 25              MR. FRAMPTON:    Same objection.                  02:57:46

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  1              THE WITNESS:     And this is another example of

  2    something that is confusing and contradictory to me, is

  3    when they say that cisgender women deserve a protected

  4    category and then have this kind of a statement.

  5    BY MR. BLOCK:                                               02:57:57

  6         Q    Well, isn't one way to reconcile it that it's

  7    possible to have a protected category for cisgender

  8    women if appropriate conditions are placed on the

  9    participation of trans women?

 10              MR. FRAMPTON:     Object to the form.             02:58:17

 11              THE WITNESS:     My understanding of the

 12    intention of the authors is then it would no longer be

 13    a protected category.

 14    BY MR. BLOCK:

 15         Q    Well, it would be protected from participation    02:58:24

 16    by cisgender men or anyone else with circulating levels

 17    of testosterone over the threshold limit; right?

 18              MR. FRAMPTON:     Same objection.

 19              THE WITNESS:     Within the -- the field, a

 20    protected category of women typically means biological      02:58:38

 21    women.

 22    BY MR. BLOCK:

 23         Q    Okay.   Let's look at the next document.

 24              All right.     And, actually, we already marked

 25    this one as an exhibit.      This is the women's policy     02:58:57

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  1    briefing book.    So this is Exhibit 69, if you could

  2    pull it up again.

  3         A    All right.    Women's Sports Policy Working

  4    Group, Briefing Book?

  5         Q    Yes.                                              02:59:21

  6              All right.    If you look at page 15.

  7         A    All right.    Page 15.

  8         Q    So at the -- the top, you can see this is

  9    their Proposed Amendment to the Title IX Regulations.

 10              Do you see that?                                  03:00:04

 11         A    Yes.

 12         Q    Okay.   So if we scroll down to subsection C,

 13    Treatment of Transgender Athletes, do you see that?

 14         A    Yes.

 15         Q    Okay.   So -- so subsection (c)(1) says (as       03:00:12

 16    read):

 17              Because trans girls/women who have not

 18              begun male puberty do not have

 19              significant male linked -- male

 20              sex-linked advantages, they shall be              03:00:24

 21              included in girls' and women's sports

 22              without conditions or limitations.

 23              Do you see that?

 24         A    I see that.

 25         Q    All right.    So to the extent that H.B. 3293     03:00:33

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  1    prohibits trans girls and women from participating in

  2    women's sports, even if they have not experienced

  3    endogenous male puberty, the authors of this briefing

  4    book would disagree with H.B. 3293, to that extent?

  5              MR. FRAMPTON:    Object to the form.              03:00:56

  6              THE WITNESS:    I don't think that I can speak

  7    on behalf of these authors for what they agree or

  8    disagree with regarding H.B. 323 (sic) -- whatever it

  9    is.   Sorry.

 10    BY MR. BLOCK:                                               03:01:12

 11          Q   Okay.   So do you think that subsection (c)(1)

 12    is consistent with H.B. 3293?

 13              MR. FRAMPTON:    Object to the form.

 14              THE WITNESS:    Well, (c)(1) says they shall be

 15    included in girls and women's sports.                       03:01:28

 16    BY MR. BLOCK:

 17          Q   So the answer to my question is yes?

 18              MR. FRAMPTON:    Object to the form.

 19    BY MR. BLOCK:

 20          Q   I mean -- no, I'll just ask that again.           03:01:40

 21              Can you just give me a "yes" or "no" answer so

 22    I don't have to worry about getting a clean transcript?

 23              So just -- my question is, is section (c)(1)

 24    consistent with H.B. 3293?

 25              MR. FRAMPTON:    Same objection.                  03:01:52

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  1              Go ahead.

  2              THE WITNESS:    I think there is an

  3    inconsistency there.

  4    BY MR. BLOCK:

  5         Q    Okay.   Thank you.                                03:02:02

  6              If you look at section (c)(3), it says (as

  7    read):

  8              "Trans girls/women who have

  9              experienced all or part of male

 10              puberty and who have sufficiently                 03:02:14

 11              mitigated their male sex-linked

 12              advantages — through surgery and/or

 13              gender affirming hormones consistent

 14              with the rules of their international

 15              federations — may participate in                  03:02:25

 16              girls'/women's sport without

 17              additional conditions or limitations."

 18              Do you see that?

 19         A    I see that.

 20         Q    Okay.   And so section (c)(3) is also             03:02:32

 21    inconsistent with H.B. 3293; correct?

 22              MR. FRAMPTON:    Same objection.

 23              Go ahead.

 24              THE WITNESS:    I would say that it may or may

 25    not, apparently depending on the rules of the               03:02:44

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  1    international federations.

  2    BY MR. BLOCK:

  3         Q    Okay.    So are there any international

  4    federations, aside from rugby, that categorically

  5    exclude girls and women who are transgender from             03:02:58

  6    participating in the female category?

  7         A    There have been a lot of changes in those

  8    lately and a lot of organizations debating that, and so

  9    I can't say for certain whether there is or is not an

 10    organization or no organizations that specifically           03:03:16

 11    state that.

 12         Q    But you consider yourself an expert on this

 13    issue, don't you?

 14         A    Yes.    And there's at lot of organizations that

 15    are in process of making decisions, and so I can't say       03:03:29

 16    what their decisions are when they have not released

 17    their decisions.

 18         Q    All right.    Well, has any organization

 19    released a decision excluding trans girls and women

 20    from participating in the female category, even if they      03:03:43

 21    have lowered their circulating testosterone, besides

 22    rugby?

 23         A    I know swimming had a recent change, and I

 24    can't remember the exact wording on that, and -- again,

 25    that's what I can remember right now at this moment.         03:04:10

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  1         Q    All right.     Does -- did the recent change from

  2    swimming categorically exclude trans girls and women

  3    from participating in women's swimming events?

  4              MR. FRAMPTON:     Objection to the form.

  5              THE WITNESS:     I would need to look at the        03:04:28

  6    document to be sure.

  7    BY MR. BLOCK:

  8         Q    Isn't it true that the new swimming policy

  9    extended the period of hormone suppression to three

 10    years?   Does that sound familiar to you?                     03:04:46

 11         A    As you say it, it sounds familiar, but I can't

 12    be sure if I'm remembering it because you told me I

 13    should remember it.

 14         Q    Okay.   Well, we'll -- we'll get you a -- a

 15    copy of that.                                                 03:05:05

 16              And then subsection (4) says (as read):

 17              "Trans girls/women who have

 18              experienced all or part of male

 19              puberty and who have not, or only

 20              insufficiently, mitigated their male                03:05:19

 21              sex-linked advantages according to the

 22              international federation standards in

 23              their sport may be accommodated within

 24              girls'/women's sports but not in

 25              head-to-head competition with female                03:05:31

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  1              athletes."

  2              Do you see that?

  3         A    I see that.

  4         Q    Okay.   And so that also is inconsistent with

  5    H.B. 3293; correct?                                         03:05:39

  6              MR. FRAMPTON:    Object to the form.

  7              THE WITNESS:    This is somewhat of a confusing

  8    statement because how is somehow included in women's

  9    sports if they're not competing head-to-head with

 10    women.                                                      03:05:50

 11    BY MR. BLOCK:

 12         Q    Well, there's scrimmages and, you know, team

 13    practices and other events that are not for trophies.

 14              Those are some examples; right?

 15         A    And I would ask, are they really included,        03:06:07

 16    then, if they can only participate in limited aspects

 17    of the sport.

 18         Q    Okay.   But my question is whether or not this

 19    is consistent with H.B. 3293.

 20              And so section (c)(4) is inconsistent with        03:06:22

 21    H.B. 3293; correct?

 22              MR. FRAMPTON:    Object to the form.

 23              THE WITNESS:    I would need to refer back to

 24    the bill to be certain, but I think that your statement

 25    is, yes, this is an inconsistency.                          03:06:39

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  1    BY MR. BLOCK:

  2         Q    Okay.     Let's go back to your report.          So

  3    that's Exhibit -- oh, I'm sorry, I just want to make

  4    sure we got through all of the sources cited in that

  5    paragraph of your report.      So let me -- let's turn to            03:07:09

  6    your report and just make sure we've -- we've looked at

  7    all of them because I don't want to leave any out.

  8              I believe -- is this on page 8?         Or

  9    paragraph 8?      It's paragraph 8, I believe.          On page 7,

 10    paragraph 8.                                                         03:07:30

 11              Let me know when you're there.

 12         A    I'm there.

 13         Q    Okay.     So we looked at Coleman 2020; correct?

 14         A    Yes.

 15         Q    And Hilton and Lundberg 2021; correct?                     03:07:42

 16         A    Yes.

 17         Q    And World Rugby?

 18         A    Yes.

 19         Q    And Harper 2021?

 20         A    Yes.                                                       03:07:53

 21         Q    And Hamilton 2021?

 22         A    Yes.

 23         Q    And a briefing book prepared by the Women's

 24    Sports Policy Working Group 2021; right?

 25         A    Yes.                                                       03:08:00

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  1         Q    Okay.   So now that we've looked at all of

  2    those, do any of them advocate in favor of excluding

  3    girls and women who are trans from participating in

  4    women's sports if they have had puberty blockers and

  5    not gone through endogenous puberty?                        03:08:17

  6              MR. FRAMPTON:    Object to the form.

  7              Go ahead.

  8              THE WITNESS:    I still think that that

  9    statement from Hamilton, where they say women deserve a

 10    protected category, with the understanding that             03:08:24

 11    protected category, as it is used in the field, means

 12    biological women only.

 13    BY MR. BLOCK:

 14         Q    Okay.   But other portions of the -- the

 15    Hamilton statement don't support that; correct?             03:08:39

 16         A    Correct.

 17         Q    Okay.   So after reviewing all these sources,

 18    let's see, how -- how many of them do we think support

 19    excluding girls and women who are transgender if

 20    they've experienced puberty and then suppressed their       03:09:04

 21    testosterone?

 22              MR. FRAMPTON:    Object to the form.

 23              THE WITNESS:    So as we've reviewed these

 24    sitting here, I would say Hamilton supports it, with

 25    the caveat that it is, at times, contradictory.             03:09:20

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  1    BY MR. BLOCK:

  2         Q    Okay.    And did any of these sources support

  3    having a single across-the-board rule that applied to

  4    all sporting events?

  5              MR. FRAMPTON:     Object to the form.             03:09:37

  6              THE WITNESS:     Again, the same statement with

  7    Hamilton seems to state that, with the caveat that, I

  8    guess, you and I can agree there is some contradiction

  9    or confusion there.

 10    BY MR. BLOCK:                                               03:09:51

 11         Q    Okay.    Let's look at page 4 of your report.

 12         A    All right.     Page 4, Overview.

 13         Q    Yes.    If you look at the second bullet point.

 14         A    Okay.

 15         Q    It says (as read):                                03:10:13

 16              "Biological male physiology is the

 17              basis for the performance advantage

 18              that men, adolescent boys, or male

 19              children have over women, adolescent

 20              girls, or female children in almost               03:10:25

 21              all athletic events."

 22              Did I read that right?

 23         A    Yes, you read that correctly.

 24         Q    Okay.    And so your expert opinions about

 25    transgender women are based on the premise that             03:10:34

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  1    transgender women who have not had any gender-affirming

  2    medical interventions will have the same physiology as

  3    cisgender men; right?

  4              MR. FRAMPTON:     Object to the form.

  5              THE WITNESS:     Yes, they are still biological   03:10:51

  6    males.

  7    BY MR. BLOCK:

  8         Q    And will have the same physiological

  9    characteristics that are the basis for the performance

 10    advantage; correct?                                         03:10:59

 11              MR. FRAMPTON:     Same objection.

 12              THE WITNESS:     That is correct.      Male

 13    physiology is the basis of the performance advantage.

 14    BY MR. BLOCK:

 15         Q    So let's go back to that Hamilton article we      03:11:09

 16    were discussing.     So that is, I believe, Exhibit 79.

 17         A    All right.

 18         Q    Okay.    Can you go to page 1402, please.

 19         A    All right.     1402.

 20         Q    Okay.    Pull that up.                            03:11:39

 21              If you look on the right-hand column, on this

 22    little table 1 --

 23         A    Yes.

 24         Q    -- do you see that?

 25              And then you go -- one, two, three, four --       03:11:54

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  1    five items down there, there's a line that begins with

  2    "the assumption."

  3              Do you see that?

  4         A    I do see that.

  5         Q    Okay.   And that sentence says (as read):           03:12:04

  6              "The assumption that the physiology of

  7              elite DSD women and transwomen

  8              athletes is the same as elite male

  9              athletes is an oversimplified view."

 10              Do you see that?                                    03:12:15

 11         A    I see that statement.

 12         Q    Okay.   And you didn't cite to that statement

 13    in your report; right?

 14         A    I disagree with that statement.

 15         Q    And, therefore, because you disagreed with it,      03:12:23

 16    you chose not to cite it in your report?

 17              MR. FRAMPTON:     Object to the form.

 18              THE WITNESS:     I don't think it's appropriate

 19    to cite a statement that I don't think I can defend.

 20    BY MR. BLOCK:                                                 03:12:36

 21         Q    Okay.   Do you think it's appropriate to cite

 22    an article who -- that contains many statements that --

 23    that you don't think you can defend?

 24              MR. FRAMPTON:     Object to the form.

 25              THE WITNESS:     Yes.   Trying to cite that there   03:12:53

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  1    is a lot of information out there.

  2    BY MR. BLOCK:

  3         Q     I see.

  4               If we go to page 1406 -- well, actually,

  5    before going there, were you aware of this statement in          03:13:07

  6    the Hamilton article at the time that you wrote your

  7    report?

  8         A     Yes.     I cited the Hamilton article.        I had

  9    read it.

 10         Q     All right.     You -- okay.    So you read the        03:13:22

 11    whole thing, and then you picked out certain statements

 12    to cite?

 13         A     Correct.

 14         Q     Okay.     So if you go to page 1406.

 15               Do you -- do you see your role in this case as        03:13:45

 16    an advocate for one side or the other?

 17               MR. FRAMPTON:     Object to the form.

 18               THE WITNESS:     I have been retained to give my

 19    expert opinion, my expert analysis of the data.

 20    BY MR. BLOCK:                                                    03:14:01

 21         Q     All right.     And to -- but do -- do you see

 22    your role in this case as presenting the portions of

 23    the data that support one side?

 24               MR. FRAMPTON:     Object to the form.

 25               THE WITNESS:     I think my role is to present        03:14:19

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  1    the data and the information with which I agree with as

  2    an expert.

  3    BY MR. BLOCK:

  4         Q    Okay.   So you -- you don't see your role in

  5    this case as prevent- -- presenting an overview of the        03:14:32

  6    data for and against H.B. 3293; right?

  7              MR. TRYON:     Objection.

  8              MR. FRAMPTON:     Object to form.

  9              THE WITNESS:     I think I'm suppo- -- my role is

 10    presenting the information from the best of my                03:14:52

 11    expertise and analysis of it, which -- what I think is

 12    the correct information.

 13    BY MR. BLOCK:

 14         Q    Okay.   Not -- so -- so you don't think -- if

 15    the Court wanted just an overview of the information          03:15:07

 16    out there for and against H.B. 3293, your expert report

 17    wouldn't be the source of getting that; right?

 18              MR. FRAMPTON:     Object to the form.

 19              MR. TRYON:     Objection.

 20              THE WITNESS:     I would think that would be a      03:15:27

 21    specific request made by the Court to get information.

 22    BY MR. BLOCK:

 23         Q    So -- but you saw -- but you said, when you

 24    wrote your blog post, that, you know, the purpose of

 25    that blog post was to provide information for educators       03:15:46

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  1    to use on their own, to teach the subject; right?

  2         A    That is correct.

  3         Q    Okay.    And so you wrote that blog post with a

  4    different purpose in mind than you wrote this document;

  5    right?                                                        03:16:03

  6         A    Yes.    The blog post was intended for

  7    educators.

  8         Q    And do you think that it's important for

  9    educators to have accurate information?

 10              MR. FRAMPTON:     Object to the form.               03:16:20

 11              THE WITNESS:     Yes, educators need accurate

 12    information.

 13    BY MR. BLOCK:

 14         Q    Okay.    So do -- do you think educators need

 15    information different from what the court needs?              03:16:26

 16              MR. FRAMPTON:     Object to the form.

 17              THE WITNESS:     Truthful information is truthful

 18    information, and I've done my best to present truthful

 19    information.

 20    BY MR. BLOCK:                                                 03:16:40

 21         Q    Okay.    So let's go to 1406 of -- of Hamilton.

 22              MR. TRYON:     Before you go on.

 23              Mr. Frampton, I can't hear you when you're

 24    objecting.     If you could speak a little louder, please.

 25              MR. FRAMPTON:     Sure.                             03:17:08

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  1    BY MR. BLOCK:

  2         Q    So in -- in 1406, in the paragraph beginning

  3    with the words "despite the lack," do you see that?

  4         A    Page 1406?

  5         Q    Left -- left-hand column --                       03:17:23

  6         A    Okay.   Yeah.   That's three down?

  7         Q    Yes.

  8         A    Okay.

  9         Q    Okay.   If you look at, I think, the third

 10    sentence, after it says "Table 1," in parentheses, it       03:17:39

 11    says (as read):

 12              "Data showing lower baseline isometric

 13              torque and muscle volume in transwomen

 14              compared to cisgender males highlight

 15              the problematic nature of inferring               03:17:50

 16              that transwomen and cisgender males

 17              are the same, as this ignores the

 18              impact of gender-affirming treatments

 19              such as HRT and GAS and the

 20              psychological effects of gender                   03:18:00

 21              dysphoria such as low self-esteem,

 22              anxiety and/or depression, and

 23              becoming socially isolated."

 24              Do you see that?

 25         A    I see that.                                       03:18:09

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  1         Q    Okay.   Do you disagree that there is data

  2    showing lower baseline isometric torque and muscle

  3    volume for trans women compared to cisgender women?

  4         A    So if I'm remembering correctly, reference 51

  5    here is probably to the -- the article by Wiik and          03:18:26

  6    Lundberg and others.    That is the only paper I'm aware

  7    of that evaluated isometric torque and muscle volume in

  8    transgender individuals.

  9              Can I refer to that paper to verify?

 10         Q    Yeah.   If you look at 51, it -- it does go       03:18:40

 11    back to the -- the Wiik article.

 12              You're saying you want to look directly at the

 13    Wiik article?

 14         A    I would like to.

 15         Q    All right.   Well, we can try to make time for    03:18:51

 16    that later.

 17              So -- but sitting here, you're saying you're

 18    not sure that that sentence accurately reports the --

 19    the findings of the Wiik article?

 20         A    Yeah, I can't remember for -- right now what      03:19:08

 21    the baseline data were in the Wiik article, whether

 22    they were statistically significant or just numerically

 23    different or what.

 24         Q    Okay.

 25         A    I can see the graph in my mind, but not in        03:19:22

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  1    enough detail to completely answer that.

  2         Q    Okay.   Hold on one second.       All right.

  3              Let's go to the Harper article again.          So that

  4    is Exhibit 78.

  5         A    All right.                                               03:20:13

  6         Q    So if you go to page 7 of the Harper.

  7         A    All right.

  8         Q    All right.   There's a paragraph that begins

  9    with "of interest."

 10              Do you see that?                                         03:20:42

 11         A    Right-hand side, first full paragraph, under

 12    the table?

 13         Q    Yes.

 14         A    Okay.

 15         Q    All right.   Where it says (as read):                    03:20:48

 16              "Of interest, compared with cisgender

 17              men, hormone-naive transwomen

 18              demonstrate 6.4%-8.0% lower lean body

 19              mass, 6.0%-11.4% lower muscle CSA and

 20              approximately 10%-14% lower handgrip                     03:21:05

 21              strength."

 22              Do you see that?

 23         A    Yes.

 24         Q    And then it says (as read):

 25              "This disparity is noteworthy given                      03:21:14

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  1              that hormone-naive transwomen and

  2              cisgender men have similar

  3              testosterone levels."

  4              Do you see that?

  5         A    Yes.                                              03:21:20

  6         Q    Okay.   So do you have any reason to disagree

  7    with those reported findings?

  8         A    I would like to include the next sentence,

  9    where it says "explanations for this strength

 10    difference are unclear," and continuing on with that,       03:21:37

 11    indicating that the trans women may actively refrain

 12    from building muscle and/or engaging in disordered

 13    eating.

 14              So there's a whole statement of speculative

 15    explanations for that.                                      03:21:51

 16         Q    So do you -- do you have any explanations for

 17    those differences?

 18         A    Well, we have no known biological markers in

 19    which we can draw blood or a sample of something to say

 20    that a person is transgender.       And so it would         03:22:10

 21    apparently be a social explanation for why the

 22    transgender individuals have lower handgrip strength

 23    and smaller muscles.

 24         Q    Okay.   And so does that -- does that affect

 25    whether or not having lower handgrip strength and           03:22:31

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  1    stronger (sic) muscles gives an advantage in athletic

  2    performance?

  3               MR. FRAMPTON:     Object to the form.

  4               Go ahead.

  5               THE WITNESS:     In those cited studies, the        03:22:43

  6    handgrip strength of the trans women was in the 90 to

  7    95th percentile for cisgender women.

  8               So while they may be slightly less strong than

  9    a typical male, they are considerably stronger than the

 10    typical female.                                                03:22:57

 11         Q     Okay.   Right.    But my -- but my question is,

 12    in terms of comparing the strength of trans women to

 13    the strength of cis men, don't those studies show that,

 14    with respect to those indicators of athletic

 15    performance, the trans women are not the same as the           03:23:19

 16    cis men?

 17               MR. FRAMPTON:     Object to the form.

 18               THE WITNESS:     So, Mr. Block, are you trying to

 19    say that smaller, weaker men are trans women?

 20    BY MR. BLOCK:                                                  03:23:37

 21         Q     I'm -- I'm asking my question.

 22               Can you answer my question, please?

 23         A     Could you please clarify the question?

 24         Q     Yes.

 25               Don't those -- doesn't that data show that --       03:23:47

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  1    to use the words of Harper -- hormone-naive trans women

  2    may not, on average, have the same athletic attributes

  3    as cisgender men?

  4               MR. FRAMPTON:    Object to the form.

  5               Go ahead.                                          03:24:05

  6               THE WITNESS:    I think there are a whole lot of

  7    qualifying statements that need to be included in that.

  8    BY MR. BLOCK:

  9           Q   Okay.   And so putting aside the cause of these

 10    differences, putting aside whether those causes are,          03:24:22

 11    you know, physiological or as a result of social

 12    factors, all right, at the end of the day, regardless

 13    of the cause, doesn't this data reflect that on a

 14    population level, hormone-naive trans women may not, on

 15    average, have the same athletic attributes as cisgender       03:24:46

 16    men?

 17               MR. FRAMPTON:    Same objection.

 18               Go ahead.

 19               THE WITNESS:    Those studies were not

 20    attempting to evaluate baseline population-wide               03:24:57

 21    strength for trans women, and so I don't think that we

 22    can accurately extrapolate them to the population of

 23    trans women.

 24    BY MR. BLOCK:

 25           Q   Okay.   If the participa- -- in the                03:25:08

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  1    participants on -- in those studies had performed

  2    physical fitness tests alongside cisgender men, would

  3    it be reasonable to assume that the participants in

  4    these studies would not have performed as well on those

  5    physical fitness tests?                                     03:25:26

  6              MR. FRAMPTON:    Object to form.

  7              THE WITNESS:    So if we are stating these

  8    participants, yes, these participants were not as

  9    strong as their comparison group.

 10              But I do again want to caveat that neither of     03:25:40

 11    these groups really were designed to represent

 12    population-wide strength or body mass distributions.

 13    BY MR. BLOCK:

 14         Q    Now, you've discussed in your article -- or

 15    your article -- you've discussed in your report, you        03:25:57

 16    know, your view that once you have acquired muscle

 17    mass, that lowering your circulating testosterone does

 18    not sufficiently reduce that muscle mass to eliminate a

 19    performance advantage; is that right?

 20         A    I think you've appropriately characterized        03:26:20

 21    what I've stated.

 22         Q    Thank you.

 23              And so in your article, do -- or in your

 24    report, do you discuss at all whether if someone lowers

 25    their circulating testosterone before acquiring a lot       03:26:37

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  1    of muscle mass or doing exercises or training, whether

  2    having a lower level of testosterone would restrict

  3    their ability to add new muscle mass?

  4              MR. FRAMPTON:    Object to the form.

  5              THE WITNESS:    I don't think I addressed that    03:27:04

  6    topic specifically, as far as how much reducing

  7    testosterone and then engaging in training can

  8    compensate for reduced testosterone.

  9    BY MR. BLOCK:

 10         Q    Okay.   So let's say the -- the trans women in    03:27:16

 11    this study and the cis men in the study both engage in

 12    the same types of exercise regimens, but the trans

 13    women, given their lower baselines and -- have these

 14    lower baselines and have lowered their testosterone

 15    before engaging in these exercise regimens, is it -- do     03:27:49

 16    you have an expert opinion on whether you would expect

 17    that these trans women, having lowered their

 18    testosterone levels, would be able to acquire new

 19    muscle mass at the same degree as the cis men who had

 20    not lowered their testosterone levels?                      03:28:05

 21              MR. FRAMPTON:    Object to the form.

 22              THE WITNESS:    Based on research not cited in

 23    my article, because I didn't think it was worth going

 24    into in that particular publication -- or that expert

 25    declaration, there is information that in middle-aged       03:28:20

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  1    men who suppress their testosterone and such as a

  2    treatment for prostate health problems, they're able to

  3    engage in strength training to overcome the lost

  4    testosterone.        And so that is the closest to a

  5    speculative statement we can make regarding of how              03:28:43

  6    transgender women, or trans women, would respond to

  7    training.

  8    BY MR. BLOCK:

  9         Q      Okay.     If we go back to the Hamilton article

 10    for a second.        I apologize.    If you go to 1407 of the   03:29:05

 11    Hamilton article.

 12                Let me know when you're there, okay?

 13         A      All right.     1407.    I'm there.

 14         Q      Uh-huh.     It says -- halfway through the -- the

 15    first paragraph there, there's a sentence that begins           03:30:11

 16    "in contrast."

 17                Do you see that?

 18         A      Page 1407.     Are we on the left-hand side?

 19         Q      I'm sorry, on the right-hand side.

 20         A      Ah, okay.     I wondered.                           03:30:26

 21                There we go.     Right-hand side, just after

 22    citation to 61, it says, "In contrast."

 23         Q      Right.     It says (as read):

 24                "In contrast, when bioavailable

 25                testosterone was reduced to castrate                03:30:34

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  1              levels in young men, isometric

  2              strength did not increase after

  3              resistance exercise training."

  4              Are you familiar with that study that --

  5    that's being referred to?                                   03:30:48

  6         A    I am not familiar with that study.

  7         Q    Okay.   If you look at footnote 62 of the

  8    article, it says it's a study by Kvorning,

  9    K-V-O-R-N-I-N-G, from 2006.

 10              Just sitting here today, does -- are you          03:31:09

 11    familiar with the Kvorning study from 2006?

 12         A    That -- that study is not ringing a bell.

 13         Q    Okay.

 14              Okay.   The -- the name of the study is

 15    "Suppression of endogenous testosterone production          03:31:27

 16    attenuates the response to strength training: a

 17    randomized, placebo-controlled, and blinded

 18    intervention study."

 19              Still doesn't ring a bell?

 20         A    Still not ringing a bell.                         03:31:40

 21         Q    Okay.   So if -- if -- from the title of that

 22    study, does the study seem to be in tension with the

 23    study you just cited to me about how people, the

 24    cisgender men, who are on therapies that lower their

 25    tosterone -- testosterone being able to have strength       03:32:01

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  1    training to overcome the deficit?

  2              MR. FRAMPTON:    Object to the form.

  3              THE WITNESS:    Looking at that study and the

  4    study I was referring to, it appears that the two are

  5    somewhat contradictory, but it's also hard to say with      03:32:21

  6    this saying young men and the older -- the other one

  7    was dealing with older men.

  8              Without looking at both studies side by side,

  9    it's really hard to make a comparison.

 10    BY MR. BLOCK:                                               03:32:32

 11         Q    Okay.   So in the -- in the Hamilton article,

 12    after the sentence I read, it says (as read):

 13              "Assuming these findings are

 14              replicated and if extrapolated to

 15              elite DSD women athletes and                      03:32:46

 16              transwomen athletes, they would imply

 17              that decreasing bioavailable

 18              testosterone concentrations would

 19              mitigate to some extent any previous

 20              sporting advantage due to the                     03:32:57

 21              previously high testosterone

 22              concentrations."

 23              Do you agree with that sentence?

 24              MR. FRAMPTON:    Object to the form.

 25              THE WITNESS:    Would mitigate to some extent,    03:33:12

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  1    yes.

  2    BY MR. BLOCK:

  3           Q    Okay.

  4                MR. BLOCK:    Can we take a break and go off the

  5    record?                                                        03:33:19

  6                THE VIDEOGRAPHER:       We are off -- off the

  7    record at 3:33 p.m.

  8                (Recess.)

  9                THE VIDEOGRAPHER:       We are on the record at

 10    3:43 p.m.                                                      03:43:29

 11    BY MR. BLOCK:

 12           Q    Hi, Dr. Brown.    I -- I won't keep you too much

 13    longer, but -- but I do have some -- I'm going to keep

 14    you a little bit longer, though.

 15                If --                                              03:43:39

 16           A    No worries.

 17           Q    If we could go to the Hilton article again,

 18    which is marked as Exhibit -- I can't see it on my

 19    computer.     One sec.    The Hilton article is Exhibit 76.

 20           A    All right.                                         03:44:05

 21           Q    All right.    Thanks.

 22                If you look at page 208, under 4.3.

 23           A    Yes.

 24           Q    All right.    Just the second sentence there, it

 25    says (as read):                                                03:44:35

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  1              "Sex differences in endurance

  2              performance are generally smaller than

  3              for events relying more on muscle mass

  4              and explosive strength."

  5              Do you see that?                                  03:44:43

  6         A    Yes, I see that.

  7         Q    Okay.   Do you -- do you agree with that

  8    statement?

  9         A    Typically, the differences between males and

 10    females for endurance running events or swimming events     03:44:52

 11    are somewhere in the range of 10 to 13 percent compared

 12    to the 25 percent or more in strength sports.

 13         Q    So -- so that means you agree with that

 14    statement?

 15         A    Yes.                                              03:45:08

 16         Q    Okay.   Thanks.

 17              All right.   If you look at, again, 208, it

 18    says -- the paragraph before 4.3.

 19         A    That big long one?

 20         Q    Yep.                                              03:45:49

 21              And near -- like two-thirds down, there's a

 22    sentence that begins with "furthermore."

 23              Do you see that?

 24         A    Okay.   Furthermore, given the (sic) cohorts?

 25         Q    Yeah.   So I -- I just want to direct your        03:46:01

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  1    attention to the first half of the sentence.            This is

  2    the Hilton article.     And it says (as read):

  3              "Furthermore, given that cohorts of

  4              transgender women often have slightly

  5              lower baseline measurements of muscle                   03:46:15

  6              and strength than control males."

  7              Do you see that?

  8         A    Yes.

  9         Q    Okay.    And then if you follow that footnote,

 10    it goes to footnote 53, and there's an article by                 03:46:25

 11    someone whose name I can't pronounce.         It's Van

 12    C-A-E-N-E-G-E-M.

 13              Are you able to click through to footnote 53?

 14         A    Can we agree to call that Van C?

 15         Q    Oh, good -- good call.       Yes.                       03:46:46

 16         A    Yeah, I don't know how to say the last name

 17    either.

 18         Q    Okay.    All right.

 19              And so could you -- you see the footnote?

 20         A    Yes.                                                    03:46:52

 21         Q    Okay.    And the footnote is to an article that

 22    says, "Preservation of volumetric bone density and

 23    geometry in trans women during cross-sex hormonal

 24    therapy: a prospective observational study"; right?

 25         A    Yes.                                                    03:47:06

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  1         Q    Okay.    And so Hilton cites this article for

  2    the proposition that -- I have to get -- I don't want

  3    to misquote her.     Hold on -- it says -- cites for the

  4    proposition that cohorts of transgender women often

  5    have slightly lower baseline measurements of muscle and         03:47:36

  6    strength than control males; right?

  7         A    Yes, that is what it says.

  8         Q    Okay.    And so that's a sim- -- that's similar

  9    to the statement in the Hamilton article; right?

 10              MR. FRAMPTON:    Object to the form.                  03:47:47

 11              THE WITNESS:    I'm sorry, can we go back to

 12    what the Hamilton article says, or could you --

 13    BY MR. BLOCK:

 14         Q    Sorry, I'm -- I just want to -- you know, we

 15    looked at two sources that talk about how the baseline          03:47:54

 16    measurements of trans women are not always the same as

 17    the baseline measurements of control cis men.          And we

 18    looked at two studies saying that, one was the Hamilton

 19    study and one was the Harper study.        And all I want to

 20    do is add this study as -- this article as a third              03:48:13

 21    article making that observation.

 22              Would you agree that this article is another

 23    article that at least makes the observation that the

 24    baseline measurements for trans women appear to often

 25    be lower than the baseline measurements for cisgender           03:48:36

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  1    men who are used as controls?

  2               MR. FRAMPTON:    Object to the form.

  3               THE WITNESS:    I -- I think in this article by

  4    Hilton, a couple of key points here is where it says

  5    "cohorts of transgender women," not saying population         03:48:53

  6    representative sampling or anything like that.          And

  7    then there's a lot of further qualifications that you

  8    go on in that sentence emphasizing caution with

  9    interpreting these data.

 10    BY MR. BLOCK:                                                 03:49:10

 11           Q   Yeah.   Well, so, actually, I have a question

 12    for you.

 13               So you talk about how these are just cohorts

 14    of trans women, not population samples, but you cite to

 15    these same articles in support of your argument that --       03:49:20

 16    about the effects of gender-affirming hormones, don't

 17    you?

 18           A   Yes, I cite these articles.

 19           Q   Okay.   So how come -- can't the same caveat be

 20    made that whatever conclusions you're drawing about           03:49:39

 21    trans women from these articles don't necessarily apply

 22    to trans women at a population level?

 23               MR. FRAMPTON:    Object to the form.

 24               THE WITNESS:    These are the best sources of

 25    information that we have, and the studies looking at          03:49:54

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  1    changes over time or changes in strength, muscle mass

  2    and such that I've cited, that was the purpose of the

  3    study, was to evaluate those changes and then

  4    statistically apply it to a population whereas those

  5    studies were not designed to get a population baseline      03:50:13

  6    sampling for normative data.

  7    BY MR. BLOCK:

  8         Q    Okay.    Well, that -- I'm glad you made that

  9    point because -- let's go to -- to your expert report

 10    where -- on page -- on page -- let me make sure I have      03:50:28

 11    the right page.

 12              So page 2 -- actually, go to page 1, so I'm

 13    not missing anything.

 14              Let me know when you're at page 1.

 15         A    So is page 1 Personal Qualifications and          03:51:02

 16    Disclosure?

 17         Q    It is.

 18         A    Okay.

 19         Q    So right before the bullet points, you say (as

 20    read):                                                      03:51:08

 21              "Articles that I have published that

 22              are closely related to topics that I

 23              discuss in this white paper

 24              include..."

 25              And then there's a list.      Right?              03:51:14

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  1         A    Yes.

  2         Q    And -- and then if you go to the -- the second

  3    to last bullet point.

  4         A    Yes.

  5         Q    Do you see that?                                  03:51:26

  6              That says (as read):

  7              "A study finding (among other things)

  8              that height, body mass, and maximal

  9              oxygen consumption were higher in a

 10              group of male NCAA Division 2 distance            03:51:36

 11              runners, while women NCAA Division 2

 12              distance runners had higher percent

 13              body fat."

 14              Do you see that?

 15         A    Yes.                                              03:51:48

 16         Q    Okay.   And we discussed this study during our

 17    previous deposition.    Do you remember that?

 18         A    Yeah.   It's a fun paper.

 19         Q    Yeah.   But we discussed how this data about

 20    height, body mass and oxygen consumption was base- --       03:52:00

 21    was data -- baseline data that you took of -- of these

 22    athletes, but the purpose of the study was not to do a

 23    population-wide, you know, sampling of -- of height,

 24    body mass and oxygen consumption; right?

 25         A    Yes, that is correct.                             03:52:22

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  1         Q    Okay.   So -- so what you just said before,

  2    when we were talking about the -- the cohorts of trans

  3    women, you had said, well, the purpose of those studies

  4    was not to provide population sampling on, you know,

  5    the physiological characteristics of -- of the trans        03:52:43

  6    women in the study; therefore, you couldn't extrapolate

  7    that as a general matter, all trans women were likely

  8    to have similar characteristics.

  9              Is that -- is that a fair summary of what you

 10    had just said?                                              03:52:59

 11              MR. FRAMPTON:    Object to the form.

 12              THE WITNESS:    Yes, that is a fair summary.

 13    BY MR. BLOCK:

 14         Q    But in your description of your study here, do

 15    you think a reader, reading that sentence, would think      03:53:10

 16    that you are making the statement that as a general

 17    matter, on a population-wide basis, you found in your

 18    study that height, body mass and mox -- maximal oxygen

 19    consumption were higher for the male NCAA competitors

 20    compared to female NCAA competitors?                        03:53:32

 21              MR. FRAMPTON:    Object to the form.

 22              THE WITNESS:    I'm kind of unclear with what

 23    you're trying to ask.

 24    BY MR. BLOCK:

 25         Q    Yeah, so I'm saying that this happened to be      03:53:45

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  1    the data for a particular cohort that you're doing a

  2    different study on; correct?

  3                MR. FRAMPTON:    Object to the form.

  4                THE WITNESS:    So, yes, as I've stated, this is

  5    a group of male and female Division II distance                03:53:57

  6    runners.

  7    BY MR. BLOCK:

  8          Q     Okay.   And so that study wouldn't allow you to

  9    draw any conclusions generalizable to other males and

 10    females about, you know, what their comparative height,        03:54:10

 11    body mass and oxygen consumption would be; right?

 12                MR. FRAMPTON:    Same objection.

 13                THE WITNESS:    I don't think I've ever

 14    purported that that was the purpose of this study.

 15    BY MR. BLOCK:                                                  03:54:24

 16          Q     You don't think that someone reading that

 17    sentence, where it says the study -- a study finding

 18    these things, you don't think someone reading that

 19    sentence would have the impression that that was the

 20    purpose of the study?                                          03:54:40

 21                MR. FRAMPTON:    Object to the form.

 22                THE WITNESS:    Those were findings of the

 23    study.     That's what I have states, is those are

 24    findings of the study.

 25    ///

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  1    BY MR. BLOCK:

  2         Q    Was the rest of the -- is the rest of the

  3    study relevant to the topic of this case?

  4         A    You mean is that the male athletes were faster

  5    than the female athletes?                                     03:55:10

  6         Q    I mean -- what -- what I mean is you -- you --

  7    you select this finding from the study, but were any

  8    other findings from that study relevant to this case?

  9         A    Yes, we could say that.       For the same heart

 10    rate, the men were faster than the women.                     03:55:32

 11         Q    Okay.    Okay.   Let's go to -- to page 4.

 12         A    On my declaration?

 13         Q    Yeah.    Or your report.

 14         A    Yeah, just make sure we're on the same -- so

 15    this is the overview?                                         03:55:54

 16         Q    Yes.    And I just want to direct your attention

 17    to the three bullet points that you've listed there.

 18              Do you see them?

 19         A    Yes, I do.

 20         Q    Okay.    Are you offering any expert opinions in    03:56:11

 21    this case other than the opinions contained in those

 22    three bullet points?

 23              MR. FRAMPTON:     Object to the form.

 24              THE WITNESS:     Well, I -- I mean, those are the

 25    basis for everything else, those three bullet points,         03:56:35

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  1    and most of the other information is trying to support

  2    and substantiate why I drew those conclusions.

  3    BY MR. BLOCK:

  4            Q   Okay.   So -- but there are no -- I appreciate

  5    that.                                                            03:56:48

  6                There's -- you're not offering an opinions on

  7    any other issue, are you?

  8                MR. FRAMPTON:    Object to the form.

  9                THE WITNESS:    Kind of unclear what you're

 10    asking.                                                          03:57:07

 11                I think it states there fairly clearly what

 12    I'm -- the -- the statements I'm trying to make.

 13    BY MR. BLOCK:

 14            Q   Yeah, I'm just trying to nail down the full

 15    scope of the expert opinions you're offering here.         And   03:57:24

 16    so you're not offering any expert opinions on the

 17    appropriateness of particular modes of healthcare for

 18    trans people; is that right?

 19            A   That is correct, I'm not offering an opinion

 20    on healthcare for transgender individuals.                       03:57:45

 21            Q   Okay.   And you are not -- you discuss these

 22    bullet points, what you say are advantages, but you are

 23    not offering an opinions on whether particular policies

 24    are fair or unfair in light of the data that you

 25    present here, are you?                                           03:58:08

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  1                MR. FRAMPTON:    Object to the form and scope.

  2                Go ahead.

  3                THE WITNESS:    So I think this comes back to

  4    our previous discussion where we discuss the

  5    irreconcilable differences between inclusion and             03:58:21

  6    fairness.

  7    BY MR. BLOCK:

  8          Q     Yes, it does, which is why I'm coming back to

  9    it.

 10                So I -- I -- you know, I understand that, you    03:58:37

 11    know, you have laid out your criteria, your -- excuse

 12    me -- your credentials for proving -- for providing an

 13    expert opinion on whether an advantage exists, and so

 14    I -- I -- I just want to find out whether or not, you

 15    know, the -- in light of that information you present        03:58:58

 16    regarding the existence or nonexistence of an

 17    advantage, whether a particular policy maker will then

 18    decide that something is fair or unfair, is not -- is

 19    not something that you are providing an expert opinion

 20    on; right?                                                   03:59:18

 21                MR. FRAMPTON:    Same objection.

 22                Go ahead.

 23                THE WITNESS:    So I'm trying to detail the

 24    advantages, the differences between males and females

 25    biologically, documenting the advantages in athletic         03:59:30

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  1    performance the males have over female, documenting

  2    what we know regarding transgender individuals and

  3    their -- the treatments that they might receive and how

  4    that would affect athletic advantages, and then

  5    bringing up the point that there is, apparently, some       03:59:47

  6    irreconcilable differences -- I'm not sure if that's

  7    the best way to state it, but I state it in the

  8    document -- between goals of inclusion and fairness.

  9    BY MR. BLOCK:

 10         Q    Yeah, I guess -- someone reading your             04:00:00

 11    report -- you know, let's say someone reads all the

 12    information in the report, absorbs all the facts, you

 13    know, and then, you know, is asked, based on all the

 14    facts presented in your report, is it fair to include

 15    trans girls and women or not to include them, would you     04:00:21

 16    have any greater expertise in answering that ultimate

 17    question than anyone else who has absorbed the facts

 18    you presented in your report?

 19              MR. FRAMPTON:    Object to the form.

 20              THE WITNESS:    Are you saying does every piece   04:00:46

 21    of knowledge I've ever written put on -- on this

 22    document and someone would know everything that I know?

 23    BY MR. BLOCK:

 24         Q    No.   I'm saying that based on these facts, you

 25    know, someone needs to draw a conclusion about what's       04:01:02

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  1    fair, okay?     And so my question is -- you know, I

  2    understand that you're providing an expert -- you know,

  3    opinions on the -- the -- the -- the facts you say in

  4    your report.     All my question is that, you know, the

  5    second step of drawing a conclusion about what's fair          04:01:18

  6    or unfair is not something that you are an expert on;

  7    right?

  8              MR. FRAMPTON:     Object to the form.

  9              Go ahead.

 10              THE WITNESS:     I would hope that someone would     04:01:33

 11    read my document, and they're also going to read the

 12    document from the other experts, weigh the evidence and

 13    make a decision on what is -- what is fair.

 14    BY MR. BLOCK:

 15         Q    And -- and you are not offering, you know,           04:01:52

 16    that decision, that ultimate decision, as part of your

 17    expert report; right?      That's for someone else to

 18    decide?

 19              MR. FRAMPTON:     Object to the form.

 20              THE WITNESS:     Yes, that is my intention, is       04:02:16

 21    that someone else will weigh the information, weigh the

 22    data and make their decision.

 23              MR. BLOCK:     All right.    Thank you, Dr. Brown.

 24    I have no further questions.

 25              MR. FRAMPTON:     Anyone else?                       04:02:37

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  1              MS. GREEN:     This is Roberta Green on behalf of

  2    WVSSAC.   No questions.

  3              THE VIDEOGRAPHER:      Can we go off the record,

  4    Attorney Block?

  5              MR. BLOCK:     Sure.   Unless anyone else wants to     04:02:52

  6    say on the record that they don't have any other

  7    questions.

  8              MR. CROPP:     This is Jeffrey Cropp with

  9    Harrison County Board of Education and Dora Stutler.         I

 10    have no question.                                                04:02:57

 11              MR TAYLOR:     Michael Taylor on behalf of the

 12    State BOE and Superintendent Burch.         No questions.

 13              MR. TRYON:     Dave Tryon.    No questions.

 14              MR. FRAMPTON:     Hal Frampton for the

 15    intervenor.   No questions.

 16              It sounds like we're done.

 17              MR. BLOCK:     See you in another two years,

 18    Dr. Brown.

 19              (Simultaneous speaking.)

 20              MS. DUPHILY:     Hold on.    Let's take this off       04:03:24

 21    the record.   One second.

 22              THE VIDEOGRAPHER:      We are off the record at

 23    4:03 p.m., and this concludes today's testimony given

 24    by Gregory Brown.

 25              The total number of media used was eight and           04:03:31

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  1    will be retained by Veritext Legal Solutions.
  2                            (TIME NOTED:                 4:03 p.m.)
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  1               I, GREGORY BROWN, Ph.D., do hereby declare
  2    under penalty of perjury that I have read the foregoing
  3    transcript; that I have made any corrections as appear
  4    noted, in ink, initialed by me, or attached hereto;
  5    that my testimony as contained herein, as corrected, is
  6    true and correct.
  7               EXECUTED this _____ day of _______________,
  8    20____, at ______________________, ________________.
                                  (City)                       (State)
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12                       ____________________________________
                                 GREGORY BROWN, Ph.D.
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  1
  2
  3                I, the undersigned, a Certified Shorthand
  4    Reporter of the State of California, do hereby certify:
  5               That the foregoing proceedings were taken
  6    before me at the time and place herein set forth; that
  7    any witnesses in the foregoing proceedings, prior to
  8    testifying, were placed under oath; that a record of
  9    the proceedings was made by me using machine shorthand
10     which was thereafter transcribed under my direction;
11     further, that the foregoing is an accurate
12     transcription thereof.
13                I further certify that I am neither financially
14     interested in the action nor a relative or employee of
15     any attorney of any of the parties.
16                IN WITNESS WHEREOF, I have this date subscribed
17     my name.
18
19     Dated: April 5, 2022
20
21
22                                       <%11776,Signature%>
                                              ALEXIS KAGAY
23                                            CSR NO. 13795
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25

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